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James I. Stang (admitted pro hac vice)
John W. Lucas
Gillian N. Brown
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, NY 10017-2024
Tel: 212.561.7700; Fax: 212.561.7777
Emails: jstang@pszjlaw.com
        jlucas@pszjlaw.com
        gbrown@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                      Chapter 11

    MADISON SQUARE BOYS & GIRLS CLUB,                           Case No. 22-10910-SHL
    INC.,1
                 Debtor.


    SUMMARY COVER SHEET TO THE THIRD INTERIM AND FINAL APPLICATION
          OF PACHULSKI STANG ZIEHL & JONES LLP FOR ALLOWANCE
       OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
     REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED AS
    COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
          THE PERIOD FROM JULY 16, 2022 THROUGH OCTOBER 4, 2023

             In accordance with the Local Rules for the Southern District of New York, Pachulski

Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), counsel for the Official Committee of

Unsecured Creditors (the “Committee”) for the above-captioned debtor and debtor in possession

(the “Debtor”), submits this summary (this “Summary”) of fees and expenses sought as actual,




1
    The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is
250 Bradhurst Avenue, New York, New York 10039.




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reasonable, and necessary in the fee application to which this Summary is attached (the

“Application”)2 for the period from July 16, 2022 through October 4, 2023.

         PSZJ submits the Application as a final fee application in accordance with the Order

Pursuant to 11 U.S.C. §§ 105(A) and 331 Establishing Procedures for Monthly Compensation and

Reimbursement of Expenses of Professionals dated and entered August 12, 2022 [Docket No.

125] (the “Interim Compensation Order”).


    Name of Applicant                                     Pachulski Stang Ziehl & Jones LLP

    Name of Client                                        Official Committee of Unsecured Creditors


                                                          Third Interim Period: 3/1/2023 through 9/21/2023

    Time Period Covered by this Application               Final Application Period: 7/16/2022 through 8/21/2023

                                                          Post-Effective Date Period: 8/22/2023 through 10/4/2023

                                                         Third Interim Period: $440,510.003
    Total Compensation Sought                            Final Application Period: $1,438,040.004
                                                         Post-Effective Date Period: $16,030.005
                                                         Third Interim Period: $6,987.59
    Total Expenses Sought                                Final Application Period: $22,643.74
                                                         Post-Effective Date Period: $0
    Petition Date                                        June 29, 2022

    Retention date                                        July 16, 2022


2
    Capitalized terms used but not otherwise defined in this Summary shall have the meanings ascribed to such
terms in the Application.
3
     PSZJ is utilizing its standard rates but discounting fees to the extent that attorney time exceeds $900 per hour.
Separately, no paralegal’s hourly rate exceeds $400 per hour. Fees billed by attorneys and paralegals for the Third
Interim Period originally totaled $600,739.00. After applying this discount of $160,229.00, PSZJ seeks allowance
and payment of total fees for the Third Interim Period in the amount of $440,510.00.
4
    Fees billed by attorneys and paralegals for the Final Application Period originally totaled $1,886,418.50. After
applying its discount of $448,378.50, PSZJ seeks allowance and payment of total fees for the Final Application
Period in the amount of $1,438,040.00. PSZJ will remit 10% of the fees it is paid in this case to the MSBGC
Compensation Trust for the benefit of sexual abuse survivors.
5
     Fees billed by attorneys and paralegals during the Post Effective Date Period preparing this Application and the
final fee applications of the other Committee professionals. These fees originally totaled $20,057.00. After factoring
discounts of $4,027.00, PSZJ seeks total fees for the Post Effective Date Period in the amount of $16,030.00.


                                                           2
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   Name of Applicant                                Pachulski Stang Ziehl & Jones LLP
                                                    September 12, 2022 [Docket No. 196], effective as of July
   Date of Order Approving Employment
                                                    16, 2022
                                                    First Interim Period: $631,220.00 [Order entered 1/18/23;
  Total Compensation Approved by Interim            Docket No. 357]
  Order to Date                                     Second Interim Period: $366,310.00 [Order entered
                                                    5/24/23; Docket No. 504]
  Total Expenses Approved by Interim Order          First Interim Period: $9,369.57
  to Date                                           Second Interim Period: $6,286.58
  Total Allowed Compensation Paid to Date           $997,530.00
  Total Allowed Expenses Paid to Date                $15,656.15

   Blended Rate in this Application for all         Third Interim Period: $900.00
   attorneys                                        Final Application Period: $900.00

   Blended rate in this application for All         Third Interim Period: $866.46
   Timekeepers                                      Final Application Period: $817.98

  Compensation Sought in this
  Application Already Paid Pursuant to a
                                                    $235,808.00
  Monthly Compensation Order But Not
  Yet Allowed
  Expenses Sought in this Application
  Already Paid Pursuant to a Monthly                $2,114.71
  Compensation Order But Not Yet Allowed

This is a:           Monthly        Interim         x Final Application.

 Dated: October 5, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ John W. Lucas
                                              James I. Stang (admitted pro hac vice)
                                              John W. Lucas
                                              Gillian N. Brown
                                              780 Third Avenue, 34th Floor
                                              New York, NY 10017-2024
                                              Tel: 212.561.7700; Fax: 212.561.7777
                                              Emails: jstang@pszjlaw.com
                                                      jlucas@pszjlaw.com
                                                      gbrown@pszjlaw.com

                                              Counsel to the Official Committee of Unsecured
                                              Creditors




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SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS
      THIRD INTERIM PERIOD (MARCH 1, 2023 – AUGUST 21, 2023)

                                                                            TOTAL
       NAME OF                                YEAR   HOURLY                           TOTAL
                              TITLE                                         HOURS
     PROFESSIONAL                           ADMITTED  RATE                         COMPENSATION
                                                                            BILLED
    James I. Stang           Partner         1980             $1,695.00      16.40    $27,798.00
    Henry C. Kevane          Partner         1986             $1,550.00       0.20       $310.00
    Iain A. W. Nasatir       Partner         1983             $1,395.00      15.30    $21,343.50
    Karen B. Dine            Counsel         1984             $1,395.00       7.40    $10,323.00
    Malhar S. Pagay          Partner         1997             $1,295.00     192.00   $248,640.00
    John W. Lucas            Partner         2005             $1,150.00     210.00   $241,500.00
    Gillian N. Brown         Counsel         1999              $975.00       33.00    $32,175.00
    Leslie A. Forrester      Other           N/A               $595.00        2.40     $1,428.00
    Beth D. Dassa            Paralegal       N/A               $545.00       22.30    $12,153.50
    Patricia J. Jeffries     Paralegal       N/A               $545.00        0.20       $109.00
    La Asia Canty            Paralegal       N/A               $545.00        0.1         $54.50
    Yves P. Derac            Paralegal       N/A               $545.00        8.0      $4,360.00
    Mike A. Matteo           Paralegal       N/A               $495.00        1.10       $544.50
    TOTAL                                                                   508.40   $600,739.001

SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS
     FINAL APPLICATION PERIOD (JULY 16, 2022 – AUGUST 21, 2023)

                                                                              TOTAL
      NAME OF                                YEAR             HOURLY                           TOTAL
                              TITLE                                           HOURS
    PROFESSIONAL                           ADMITTED            RATE                         COMPENSATION
                                                                              BILLED
James I. Stang               Partner         1980               $1,695.00       28.00             $47,460.00
James I. Stang               Partner         1980               $1,525.00       84.50            $128,862.50
Alan J. Kornfeld             Partner         1987               $1,675.00        0.60              $1,005.00
Henry C. Kevane              Partner         1986               $1,550.00        0.50                $775.00
Jeffrey N. Pomerantz         Partner         1989               $1,445.00        0.30               $433.50
Iain A.W. Nasatir            Partner         1983               $1,395.00       26.40             $36,828.00
Iain A.W. Nasatir            Partner         1983               $1,295.00      147.00            $190,365.00
Kenneth H Brown              Partner         1981               $1,395.00        1.40              $1,953.00
Karen B. Dine                Counsel         1984               $1,395.00        7.40             $10,323.00
Malhar S. Pagay              Partner         1997               $1,295.00      246.60            $319,347.00
Malhar S. Pagay              Partner         1997               $1,095.00      202.20            $221,409.00
Maxim B. Litvak              Partner         1997               $1,275.00       21.40             $27,285.00
John W. Lucas                Partner         2005               $1,150.00      270.60            $311,190.00
John W. Lucas                Partner         2005               $1,095.00      273.10            $299,044.50
Beth E. Levine               Partner         1993               $1,045.00        3.20              $3,344.00
Robert M. Saunders           Counsel         1984               $1,025.00        5.30              $5,432.50
Gina F. Brandt               Counsel         1976                 $995.00        1.20              $1,194.00


1
     Fees billed by attorneys and paralegals for the Third Interim Period originally totaled $600,739.00. After
applying its discount of $160,229.00, PSZJ seeks approval and payment of total fees for the Third Interim Period in
the amount of $440,510.00.



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                                                                                   TOTAL
        NAME OF                                 YEAR              HOURLY                            TOTAL
                                 TITLE                                             HOURS
      PROFESSIONAL                            ADMITTED             RATE                          COMPENSATION
                                                                                  BILLED
  Gillian N. Brown             Counsel           1999                 $975.00        53.40             $52,065.00
  Gillian N. Brown             Counsel           1999                 $925.00      139.50            $129,037.50
  Steven W. Golden             Partner           2015                 $775.00         0.80                $620.00
  Leslie A. Forrester          Other             N/A                  $595.00         2.40              $1,428.00
  Leslie A. Forrester          Other             N/A                  $495.00         3.10              $1,534.50
  Beth D. Dassa                Paralegal         N/A                  $545.00        28.80             $15,696.00
  Beth D. Dassa                Paralegal         N/A                  $495.00        70.60             $34,947.00
  Patricia J. Jeffries         Paralegal         N/A                  $545.00         0.60                $327.00
  Patricia J. Jeffries         Paralegal         N/A                  $495.00        17.30              $8,563.50
  LaAsia S. Canty              Paralegal         N/A                  $545.00         0.10                 $54.50
  LaAsia S. Canty              Paralegal         N/A                  $495.00         2.30              $1,138.50
  Yves P. Derac                Paralegal         N/A                  $545.00         8.00              $4,360.00
  Kerri L. LaBrada             Paralegal         N/A                  $495.00        21.20             $10,494.00
  Mike A. Matteo               Paralegal         N/A                  $495.00         4.80              $2,376.00
  Mike A. Matteo               Paralegal         N/A                  $460.00        38.10             $17,526.00
  TOTAL                                                                           1,710.70          $1,886,418.502

                                                     Third Interim Period                  Final Application Period

Total Billed Hours for Attorneys:                        474.30                               1,513.40
Total Billed Hours for Paraprofessionals:                34.10                                197.30
Total Billed Hours:                                      508.40                               1,710.70

Total Fees Requested:                                    $440,510.00                          $1,438,040.00
Blended Rate for All Timekeepers:                        $1,181.623                           $1,102.714
Blended Rate for Attorneys:                              $1,227.005                           $1,181.436


                               TASK CODE SUMMARY
               THIRD INTERIM PERIOD (MARCH 1, 2023 – AUGUST 21, 2023)

            Code                               Description                               Hours            Amount
             AA           Asset Analysis                                                  0.40             $548.00
             AD           Asset Disposition                                               1.10            $1,337.50

  2
      Fees billed by attorneys and paralegals for the Final Application Period originally totaled $1,886,418.50. After
  applying a discount of $448,378.50, PSZJ seeks allowance and payment of total fees for the Final Application
  Period in the amount of $1,438,040.00.
  3
      As stated above, PSZJ is utilizing its standard rates but discounting fees to the extent that attorney time exceeds
  $900 per hour. Separately, no paralegal’s hourly rate exceeds $400 per hour.
  4
       See FN 6 above.
  5
       See FN 6 above.
  6
       See FN 6 above.


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         Code                           Description                                   Hours            Amount
          BL           Bankruptcy Litigation                                            7.20           $7,151.00
          CA           Case Administration                                              0.70             $510.50
          CO           Claims Administration/Claim Objections                           5.40           $6,499.50
          CP           Compensation of Professionals                                   29.00          $18,438.00
         CPO           Compensation of Professionals/Others                             6.10           $5,216.50
          EC           Executory Contracts                                              0.20            $109.00
          FN           Financing                                                        0.20             $152.00
          GC           General Creditors’ Committee                                    15.90          $20,073.00
          NT           Non-Working Travel                                              22.00          $25,912.50
          PD           Plan & Disclosure Statement                                    400.70         $491,923.00
           H           Hearings                                                         5.80           $6,777.00
          IN           Interviews                                                       3.50           $4,354.50
         ME            Mediation                                                       10.00          $11,585.00
          RP           Retention of Professionals                                       0.10              $54.50
         RPO           Retention of Professionals/Others                                0.10              $97.50
        TOTAL                                                                         508.40         $600,739.007

                          TASK CODE SUMMARY
          FINAL APPLICATION PERIOD (JULY 16, 2022 – AUGUST 21, 2023)

          Code                             Description                              Hours            Amount
           AA          Asset Analysis                                                 3.70            $4,672.50
           AD          Asset Disposition                                              5.50            $7,165.50
           AP          Appeals                                                        0.40              $490.00
           BL          Bankruptcy Litigation                                        402.20          $385,937.50
           CA          Case Administration                                           18.10           $12,576.50
           CO          Claims Administration/Claim Objections                        37.00           $41,114.50
           CP          Compensation of Professionals                                 74.50           $45,575.50
          CPO          Compensation of Professionals/Others                          18.50           $13,051.50
           EC          Executory Contracts                                            0.20              $109.00
           FN          Financing                                                     63.50           $74,743.50
           GC          General Creditors’ Committee                                 240.70          $280,546.00
            H          Hearings                                                      21.30           $26,301.50
           IC          Insurance Coverage                                            17.1            $15,578.00
           IN          Interviews                                                     3.50            $4,354.50
          MC           Meeting of Creditors                                           9.80           $12,709.00
          ME           Mediation                                                    141.80          $171,914.00
           NT          Non-Working Travel                                            35.00           $41,947.50
           PD          Plan & Disclosure Statement                                  578.60          $707,751.50

7
     Fees billed by attorneys and paralegals for the Third Interim Period originally totaled $600,739.00. After
factoring a discount of $160,229.00, PSZJ seeks total fees for the Third Interim Period in the amount of
$440,510.00.



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         Code                          Description                                  Hours             Amount
          RP           Retention of Professionals                                    13.70           $13,445.50
         RPO           Retention of Professionals/Others                             24.00           $24,425.00
          SL           Stay Litigation                                                1.60             $2,010.00
        TOTAL                                                                     1,710.70         $1,886,418.508


                        TASK CODE SUMMARY
      POST-EFFECTIVE DATE PERIOD (AUGUST 22, 2023 – OCTOBER 4, 2023)

         Code                           Description                                     Hours           Amount
          CP            Compensation of Professionals                                    25.40        $16,337.00
         CPO            Compensation of Professionals/Others                              5.80         $3,720.00
        TOTAL                                                                            31.20        $20,057.009




8
     Fees billed by attorneys and paralegals for the Final Application Period originally totaled $1,886,418.50. After
factoring discounts of $448,378.50, PSZJ seeks total fees for the Final Application Period in the amount of
$1,438,040.00.
9
  Fees billed by attorneys and paralegals for the Post Effective Date Period originally totaled $20,057.00. After
factoring discounts of $4,027.00, PSZJ seeks total fees for the Post Effective Date Period in the amount of
$16,030.00.


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James I. Stang (admitted pro hac vice)
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        jlucas@pszjlaw.com
        gbrown@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                         Chapter 11

 MADISON SQUARE BOYS & GIRLS CLUB,                              Case No. 22-10910-SHL
 INC.,1
               Debtor.


             THIRD INTERIM AND FINAL APPLICATION OF
        PACHULSKI STANG ZIEHL & JONES LLP FOR ALLOWANCE
    OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
  REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED AS
 COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
       THE PERIOD FROM JULY 16, 2022 THROUGH OCTOBER 4, 2023

          Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), attorneys for the Official

Committee of Unsecured Creditors (the “Committee”) appointed in the debtor and debtor in

possession in the above-captioned case (the “Debtor”), hereby submits its third and final fee

application (the “Application”) for the period from July 16, 2022 through October 4, 2023 in

accordance with the Order Pursuant to 11 U.S.C. §§ 105(A) and 331 Establishing Procedures for

Monthly Compensation and Reimbursement of Expenses of Professionals dated and entered August

12, 2022 [Docket No. 125] (the “Interim Compensation Order”). The final fee application period


1
    The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is
250 Bradhurst Avenue, New York, New York 10039.



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ran from July 16, 2022 through August 21, 2023 (the “Final Application Period”). The Plan of

Reorganization (the “Plan”) in this case went effective on August 21, 2023 at which point the

Committee was disbanded except for purposes of seeking approval of fees and reimbursement of

expenses on a final basis. During the period August 22, 2023 through October 4, 2023 (the

“Post-Effective Date Period”), PSZJ billed time for preparation of this Application and assisting

the Committee’s other professionals with their final fee applications.

        In support of the Application, PSZJ submits the declaration of John W. Lucas, attached

hereto as Exhibit A and incorporated herein by reference. In further support of the Application,

PSZJ respectfully states as follows:


                                           Preliminary Statement

                 1.          PSZJ requests (a) final allowance of compensation in the amount of

$440,510.00 for fees on account of reasonable and necessary professional services rendered and

reimbursement of actual and necessary costs and expenses in the amount of $6,987.59 for the

period from March 1, 2023 through August 21, 2023 (the “Third Interim Period”);2 (b) final

allowance of compensation in the amount of $1,438,040.00 for fees on account of reasonable and

necessary professional services rendered, and reimbursement of actual and necessary costs and

expenses in the amount of $22,643.74 for the Final Application Period; (c) final allowance of

compensation in the amount of $16,030.00 for fees incurred for the preparation of PSZJ’s final

fee application during the period August 22, 2023 through October 4, 2023 (the “Post-Effective




2
    A comprehensive invoice for the Third Interim Period, organized by billing code, is attached hereto as
Exhibit E.



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Date Period”);3 and (d) payment of any unpaid portion of all such allowed fees and expense in

the amount of $1,480,740.74.

                 2.          PSZJ will remit 10% of the fees it is paid in this case on a final basis to the

MSBGC Compensation Trust for the benefit of sexual abuse survivors.

                 3.          The United States Bankruptcy Court for the Southern District of New

York (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                 4.          Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                 5.          The bases for the relief requested in this Application are sections 330 and

331 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure, Rule 2016-1(a) of the Local Rules for

the Southern District of New York (the “Local Rules”), the Amended Guidelines for Fees and

Disbursements for Professionals in Southern District of New York Bankruptcy Cases (the “Local

Guidelines”), and the Interim Compensation Order.

                                                 Background

                 6.          On June 29, 2022 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code.

                 7.          On July 13, 2022, the Office of the United States Trustee (the “UST”)

appointed the Committee pursuant to section 1102 of the Bankruptcy Code. See Notice of

Appointment of Official Committee of Unsecured Creditors [Docket No. 53].




3
    The invoice covering the Post-Effective Date Period is attached hereto as Exhibit G.


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                 8.          On August 12, 2022, the Court entered the Interim Compensation Order,

which sets forth the procedures for interim compensation and reimbursement of expenses for all

retained professionals in these cases.

                 9.          On August 21, 2023, the Plan in this case went effective and the

Committee was disbanded [Docket No. 616].

A.      PSZJ Retention

                 10.         On July 16, 2022, the Committee selected PSZJ as its counsel in this case.

On August 15, 2022, the Committee filed The Official Committee of Unsecured Creditors’

Application to Retain and Employ Pachulski Stang Ziehl & Jones LLP as Counsel Effective as of

July 16, 2022 (the “Retention Application”) [Docket No. 130]. On September 12, 2022 the Court

entered an Order Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones

LLP as Counsel to the Official Committee of Unsecured Creditors Effective as of July 16, 2022

(the “Retention Order”) [Docket No. 196]. The Retention Order authorized PSZJ to be

compensated on an hourly basis, and to be reimbursed for actual and necessary out-of-pocket

expenses.

B.      Compensation Paid and Its Source

                 11.         All services for which PSZJ requests allowance and payment of

compensation were performed for or on behalf of the Committee. PSZJ has received no payment

and no promises for payment from any source other than the Debtor for services rendered in any

capacity whatsoever in connection with the matters covered by this Application. There is no

agreement or understanding between PSZJ and any other person other than the partners of PSZJ

for the sharing of compensation to be received for services PSZJ rendered in this case. PSZJ has

not received a retainer in this case.



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C.       Monthly Fee Statements for the Third Interim Period

                  12.        PSZJ filed and served the following monthly fee statements (the “Prior

Monthly Statements”) for the period March 1, 2023 through June 30, 2023, in accordance with

the Interim Compensation Order:4

         Date
       Monthly                                                                                         Expenses
                                                 Requested         Requested            Fees
         Fee            Period Covered                                                                    Paid
                                                   Fees            Expenses             Paid
      Statement                                                                                         (100%)
        Filed
       4/20/23          3/1/23 – 3/31/23         $178,180.00          $231.50 $142,544.00                 $231.50
       5/19/23          4/1/23 – 4/30/23          $66,150.00         $1,309.93 $52,920.00                $1,309.93
       6/20/23          5/1/23 – 5/31/23          $50,430.00          $573.28 $40,344.00                  $573.28
       7/24/23          6/1/23 – 6/30/23          $86,730.00          $116.50       $0.00                    $0.00


                  13.        PSZJ did not file a monthly fee statement for the period July 1, 2023

through August 21, 2023. The PSZJ invoice covering that time period is attached hereto as

Exhibit F.

                         Statement of Services Rendered and Time Expended

                  14.        Pursuant to the Local Guidelines, PSZJ has classified into one of several

major categories below all services it has performed for which it seeks allowance and payment of

compensation. PSZJ attempted to place the services performed in the category that best relates to

the service provided. However, because certain services may relate to one or more categories,

services pertaining to one category may be included in another category.

                  15.        Exhibit B sets forth a timekeeper summary that includes the name, job

title, bar admission date (where applicable), standard hourly billing rate, capped hourly rate in




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     PSZJ’s invoices containing a complete itemization of time records and expenses for PSZJ’s professionals and
paraprofessionals for the fee statements covering the period July 16, 2022 through June 30, 2023 were attached to all
filed Prior Monthly Statements.


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this case, total hours billed, and total compensation at the capped rate for each PSZJ professional

and paraprofessional who provided services to the Committee during the Third Interim Period

and Final Application Period. The Committee hired PSZJ on the condition that PSZJ would

utilize its standard rates but discount the total fees to the extent the blended rate of PSZJ

attorneys exceeds $900.00 per hour. As provided in the PSZJ Retention Order, PSZJ paralegal

hourly rates on this case has not exceeded $400.00 per hour.

                 16.         Exhibit C sets forth a task code summary that includes the aggregate

hours per task code spent by PSZJ professionals and paraprofessionals in rendering services to

the Committee during the Third Interim Period and Final Application Period.

                 17.         Exhibit D sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, which PSZJ has incurred in connection

with services rendered to the Committee during the Third Interim Period and Final Application

Period.

A.        Asset Analysis/Recovery

                 18.         PSZJ billed de minimus time to this category, involving the Debtor’s

questions about handling of a reimbursement check.

                 Fees: $548.00, after discount: $392.48                     Hours: 0.40

B.        Asset Disposition

                 19.         Time billed to this category relates to the disposition of estate assets.

During the Third Interim Period, PSZJ handled issues regarding the sale of the Navy Yard

property.

                 Fees: $1,337.50, after discount: $1,016.64                 Hours: 1.10




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C.      Bankruptcy Litigation

                 20.         Prior to this the Third Interim Period, PSZJ filed two Rule 2004 motions

(the “2004 Motions”) that sought documents from the Boys & Girls Club of America (“BGCA”),

Rockefeller University, and nearly three dozen insurers or insurance-related entities because the

Debtor had evidence of insurance only reaching back to 1968 when nearly half of the known

sexual abuse claims involved childhood sexual abuse committed prior to that year. During the

Third Interim Period, PSZJ followed up with BGCA and also reviewed additional documents

that insurers produced.

                 Fees: $7,151.00, after discount: $5,126.10 Hours: 7.20

D.      Case Administration

                 21.         During the Third Interim Period, PSZJ spent less than one hour on case

administration to review the Debtor’s third motion to extend exclusivity periods and prepare for

and attend the hearing regarding the same, and to review the Debtor’s ninth interim cash

management motion and order thereon.

                 Fees: $510.50, after discount: $374.68           Hours: 0.70

E.      Claims Administration/Objection

                 22.         Time billed to this category relates to work regarding claims

administration and claims objections. During the Third Interim Period, PSZJ, among other

things, researched the law relating to Rockefeller University’s claim; analyzed the objection to

that claim; reviewed documents produced by the Debtor relating to Rockefeller University; and

analyzed Summit’s administrative expense claim.

                 Fees: $6,499.50, after discount: $4,885.96 Hours: 5.40




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F.      Compensation of Professionals

                 23.         Time billed to this category relates to work regarding the compensation of

PSZJ for work it has performed in this case. During the Third Interim Period, PSZJ, among other

things: prepared its February 2023, March 2023, April 2023, May 2023, and June 2023 Monthly

Fee Statements and certificates of no objection thereto; prepared its second quarterly fee

application and exhibits thereto; began preparation of this Application; and corresponded with

Debtor’s counsel regarding the second quarterly fee application and this Application.

                 Fees: $19,364.50, after discount: $13,546.94             Hours: 30.70

G.       Compensation of Professionals--Others

                 24.         Time billed to this category relates to work regarding the compensation of

the Committee’s co-financial advisors at Island Capital Advisor LLC (“Island”) and Dundon

Advisers LLC (“Dundon Advisers”) (together, the “Committee Co-Financial Advisors”). During

the Third Interim Period, PSZJ, among other things, conferred with the Committee Co-Financial

Advisors regarding quarterly fee applications and monthly fee statements; prepared draft

quarterly fee application templates for the Committee Co-Financial Advisors, and conferred with

the Committee Co-Financial Advisors (together and separately) regarding the same; and

finalized Dundon Advisers’ March 2023, April 2023, May 2023, and June 2023 monthly fee

statements.

                 Fees: $5,979.50, after discount: $3,815.54               Hours: 7.50

H.      Executory Contracts

                 25.         PSZJ billed de minimus time to this category to review a stipulation

between landlords to extend time to assume or reject nonresidential real property leases.

                 Fees: $109.00, after discount: 78.78             Hours: 0.20



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I.      Financing

                 26.         PSZJ billed de minimus time to this category in the review of Debtor’s

monthly operating report and the order on Debtor’s eleventh motion relating to operation of its

cash management system.

                  Fees: $152.00, after discount: $114.29           Hours: 0.20

J.      General Creditors Committee

                 27.         During the Third Interim Period, PSZJ, among other things: prepared for

and attended meetings with the Committee and Committee members’ state court counsel,

involved Committee Co-Financial Advisors, or one of them, when necessary. These meetings

primarily related to the parties in interests’ Plan negotiations, Plan-related discussions, and

updates concerning the Plan process.

                 Fees: $20,073.00, after discount: $14,836.57              Hours: 15.90

K.      Hearings

                 28.         Time billed to this category relates to attending various hearings in the

Case. During the Third Interim Period, PSZJ, among other things: attended hearings on Debtor’s

third motion to extend exclusivity periods, conditional approval of the Disclosure Statement;

second interim fee applications; Plan confirmation; and a status conference with the Court

concerning the Plan.

                 Fees: $6,777.00, after discount: $4,992.16                Hours: 5.80




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L.       Insurance Coverage5

                 29.         Time billed to this category relates to the Committee’s final efforts to

locate and potential sources of Debtor’s insurance that could be used to fund the MSBGC

Settlement Trust for the benefit of creditors.

                 Fees: $4,354.50, after discount: $3,118.64                   Hours: 3.50

M.       Mediation

                 30.         During the Third Interim Period, PSZJ prepared for and attended

mediation in New York involving the Debtor and Rockefeller University.

                 Fees: $11,585.00, after discount: $8,787.36;                 Hours: 10.00

N.       Non-Working Travel

                 31.         Time spent in this category included attorney non-working travel time

from California to New York to participate in the Plan confirmation hearing and Plan mediation

with Rockefeller University, which was billed at half the actual hourly rate.

                 Fees: $25,912.50, after discount: $19,591.11                 Hours: 22.00

O.       Plan and Disclosure Statement

                 32.         Time billed to this category relates to the significant work PSZJ undertook

to negotiate all of the terms of Debtor’s Plan and its associated Disclosure Statement. PSZJ

conferred frequently with Debtor’s counsel, with counsel for Rockefeller University, and with

insurers to reach a consensual, ultimately confirmed, Plan. In addition, PSZJ drafted essential

components of the Plan, including the MSBGC Compensation Trust and Plan protocol that

provides for recovery to sexual abuse survivors in this case, and contributed integral edits to

Plan-related and Disclosure Statement-related pleadings that the Debtor filed. Critically, PSZJ



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     This category was erroneously described in the PSZJ March 2023 invoice as “Interviews.”


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spent considerable time in frequent discussions about all aspects of the Plan with the Committee

and the Committee members’ personal state court counsel, in groups and individually, to ensure

their concerns were addressed regarding a variety of issues, including, but not limited to, child

safety policies to protect children from sexual abuse going forward; the post-confirmation

settlement trust and Plan allocation protocols; significant and complicated issues involving

Rockefeller University, including, but not limited to, analyses of sexual abuse survivor claims

against Rockefeller University, Rockefeller University’s claim in this case, Rockefeller’s Plan

objection, and settlement negotiations and mediation efforts with Rockefeller University; the

negotiation of and evaluation of offers to purchase the valuable Navy Yard property as well as a

neighborhood association objection thereto; timing of payments to sexual abuse survivors under

the Plan and Compensation Trust; releases of claims under the Plan; Plan solicitation, balloting,

and voting; analyses of insurance issues in the Plan; revisions to the Plan supplement;

organization of Committee information for the settlement trustee; preparation for and attendance

at the disclosure statement hearing and Plan confirmation hearing; addressing Plan effective date

action items and the delay in of the Plan effective date;

                 Fees: $489,658.50, after discount: $359,717.41          Hours: 398.70

P.      Retention of Professionals/Other

                 33.         PSZJ billed de minimus time to this category to review Debtor’s motion to

retain Portage Point and confer internally regarding Debtor’s Application to Retain Triple RTS

as financial advisor.

                 Fees: $152.00, after discount: $115.45                  Hours: 0.20

                 34.         The nature of work performed by PSZJ is fully set forth in the invoices

attached to the Prior Monthly Statements, in Exhibits E and F. The reasonable and standard value

of the services PSZJ rendered for and on behalf of the Committee during the Third Interim

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Period is $600,739.00; however, as stated above, PSZJ has voluntarily discounted its attorneys’

billing rates to $900.00 per hour and its paralegal rates to $400.00 per hour, thereby discounting

the overall fees by $160,229.00. Accordingly, PSZJ seeks allowance and payment in the amount

of $440,510.00 for the fees incurred during the Third Interim Period.

                 35.         In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the fee amount for which PSZJ requests to be

compensated by this Application is fair and reasonable given (a) the complexity of the case, (b)

the time PSZJ professionals and paraprofessionals have expended, (c) the nature and extent of

the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZJ believes that this Application

complies with the Local Rules, the Local Guidelines, and the Interim Compensation Order.

                             Actual and Necessary Expenses Incurred by PSZJ

                 36.         As summarized in Exhibit D attached hereto, PSZJ has incurred a total of

$6,987.59 of expenses on behalf of the Committee during the Third Interim Period and

$22,643.74 in expenses during the Final Application Period.

                 37.         PSZJ customarily charges $0.20 per page for photocopying expenses, and

$0.10 per page for printing charges. However, in this case, PSZJ charged $.10 per page for

photocopying and printing. PSZJ’s photocopying machines automatically record the number of

copies made when the person who does the copying enters the client’s account number into a

device attached to the photocopier. PSZJ summarizes each client’s photocopying charges on a

daily basis.

                 38.         With respect to providers of on-line legal research services (e.g., LEXIS),

PSZJ charges the standard usage rates these providers charge for computerized legal research.



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PSZJ bills its clients the actual amounts charged by such services, with no premium. Any volume

discount PSZJ receives is passed on to the client.

                     39.      PSZJ believes the foregoing rates are the market rates that the majority of

law firms charge clients for such services. In addition, PSZJ believes that such charges are in

accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

charges.

                                                Reservation of Rights

                     40.      It is possible that some professional time expended or expenses that PSZJ

incurred during the Final Application Period are not reflected in this Application. PSZJ reserves

the right to file a supplemental fee application to submit additional fees and expenses not

previously included in the Application but incurred prior to the date of the hearing on the

Application.

                                                          Notice6

                     41.      Pursuant to the Interim Compensation Order, the Application will be

served upon the following: (a) the Debtor, Madison Square Boys and Girls Club, Inc., 250

Bradhurst Avenue, New York, New York 10039 (Attn.: Mr. Tim McChristian); (b) Debtor’s

counsel: Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New

York, New York 10019 (Attn.: Alan W. Kornberg, Esq.; Andrew M. Parlen, Esq.; John T.

Weber, Esq.; and Shafaq Hasan, Esq.); and (c) William K. Harrington, United States Trustee for

Region 2, U.S. Department of Justice, Office of the U.S. Trustee, 201 Varick Street, Room 1006,

New York, New York 10014 (Attn.: Andrea B. Schwartz, Esq., and Tara Tiantian, Esq.). PSZJ


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    Debtor’s counsel will file the Notice of Hearing on this Application and all other final fee applications in this case.


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submits that, in light of the nature of the relief requested, no other or further notice need be

provided.

                                              No Prior Request

                 42.         No prior application for the relief requested in this Application has been

made to this or any other court.

        WHEREFORE, PSZJ respectfully requests that this Court enter an order:

(i) allowing on an interim and final basis compensation in the amount of $440,510.00 for

reasonable and necessary professional services rendered and reimbursement of actual and

necessary costs and expenses in the amount of $6,987.59 for the Third Interim Period; (ii)

allowing on a final basis compensation in the amount of $1,438,040.00 for reasonable and

necessary professional services rendered and reimbursement of actual and necessary costs and

expenses in the amount of $22,643.74 for the Final Application Period; (iii) allowing on a final

basis compensation in the amount of $16,030.00 for fees incurred for the preparation of PSZJ’s

final fee application for the Post-Effective Date Period; (iv) authorizing and ordering the Debtor

to pay the unpaid balance of such amounts to PSZJ; and (v) granting any other relief that this

Court deems necessary and appropriate.


 Dated: October 5, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ John W. Lucas
                                              James I. Stang (admitted pro hac vice)
                                              John W. Lucas
                                              Gillian N. Brown
                                              780 Third Avenue, 34th Floor
                                              New York, NY 10017-2024
                                              Telephone: 212.561.7700; Fax: 212.561.7777
                                              Emails: jstang@pszjlaw.com
                                                      jlucas@pszjlaw.com
                                                      gbrown@pszjlaw.com



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                                      Counsel to the Official Committee of Unsecured
                                      Creditors




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James I. Stang (admitted pro hac vice)
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        jlucas@pszjlaw.com
        gbrown@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                        Chapter 11

 MADISON SQUARE BOYS & GIRLS CLUB,                             Case No. 22-10910-SHL
 INC.,1
               Debtor.


     ORDER GRANTING THIRD INTERIM AND FINAL APPLICATION OF
        PACHULSKI STANG ZIEHL & JONES LLP FOR ALLOWANCE
    OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
  REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED AS
 COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
       THE PERIOD FROM JULY 16, 2022 THROUGH OCTOBER 4, 2023


          This matter came before the Court on the Third Interim and Final Application of

Pachulski Stang Ziehl & Jones LLP for Interim Allowance of Compensation for Professional

Services Rendered and Reimbursement of Actual and Necessary Expenses Incurred as Counsel

for the Official Committee of Unsecured Creditors of the Debtor for the Period from July 16,

2022 through October 4, 2023 [Docket No. ___] (the “Application”), filed by Pachulski Stang

Ziehl & Jones LLP (“PSZJ”), counsel for the Official Committee of Unsecured Creditors. In the



1 The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is
250 Bradhurst Avenue, New York, New York 10039.



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Application, PSZJ requests that the Court: (i) allow on an interim and final basis compensation

in the amount of $440,510.00 for reasonable and necessary professional services rendered and

reimbursement of actual and necessary costs and expenses in the amount of $6,987.59 for the

Third Interim Period; (ii) allow on a final basis compensation in the amount of $1,438,040.00 for

reasonable and necessary professional services rendered and reimbursement of actual and

necessary costs and expenses in the amount of $22,643.74 for the Final Application Period, (iii)

allow on a final basis compensation in the amount of $16,030.00 for fees incurred for the Post-

Effective Date Period; (iv) authorize and order the Debtor to pay the unpaid balance of such

amounts to PSZJ; and (v) grant any other relief that this Court deems necessary and appropriate.

        The Court, having considered the Application and notice of the Application appearing

adequate, determines that the Application should be, and hereby is GRANTED. Accordingly,

                 IT IS THEREFORE ORDERED as follows:

        1.       The Application is GRANTED as set forth herein.

        2.       PSZJ’s compensation for professional services rendered during the Third Interim

Period is allowed on an interim and final basis in the amount of $440,510.00.

        3.       Reimbursement of PSZJ’s expenses incurred during the Third Interim Period is

allowed on an interim and final basis in the amount of $6,987.59.

        4.       PSZJ’s compensation for professional services rendered during the Final

Application Period is allowed on a final basis in the amount of $1,438,040.00.

        5.       Reimbursement of PSZJ’s expenses incurred during the Final Application Period

is allowed on a final basis in the amount of $22,643.74.

        6.       PSZJ’s compensation for professionals services rendered during Post-Effective

Date Period is allowed on a final basis in the amount of $16,030.00.




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        7.       The Debtor is authorized and ordered to pay the unpaid balance of fees and

expenses owed to PSZJ.

        8.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.

                                                  ###




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James I. Stang (admitted pro hac vice)
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        gbrown@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                      Chapter 11

    MADISON SQUARE BOYS & GIRLS CLUB,                           Case No. 22-10910-SHL
    INC.,1
                   Debtor.


  DECLARATION OF JOHN W. LUCAS IN SUPPORT OF THIRD INTERIM AND
   FINAL APPLICATION OF PACHULSKI STANG ZIEHL & JONES LLP FOR
ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
AND REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES INCURRED AS
 COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
       THE PERIOD FROM JULY 16, 2022 THROUGH OCTOBER 4, 2023

             I, John W. Lucas, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 and

pursuant to Rule 2016 of the Federal Rules of Bankruptcy Procedure and Rule 2016-1(a) of the

Local Rules for the Bankruptcy Court for the Southern District of New York (“LBR 2016-1(a)”)

that the following is true and correct:




1
    The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is
250 Bradhurst Avenue, New York, New York 10039.




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        1.       I am a partner in the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZJ” or

the “Firm”),2 with an office located at, among other locations, 780 Third Avenue, 34th Floor;

New York, New York 10017. I am duly admitted to practice law in the State of New York.

                 2.          PSZJ is counsel in this case to the Official Committee of Unsecured

Creditors (the “Committee”). I have read the Third Interim and Final Application of Pachulski

Stang Ziehl & Jones LLP for Allowance of Compensation for Professional Services Rendered

and Reimbursement of Actual and Necessary Expenses Incurred as Counsel for the Official

Committee of Unsecured Creditors for the Period From July 16, 2022 Through October 4, 2023

(the “Application”) for period from July 16, 2022 through August 21, 2023 (the “Final

Application Period”) and the period from August 22, 2023 through October 4, 2023 (the “Post-

Effective Date Period”). This Declaration is attached as Exhibit A to the Application. To the best

of my knowledge, information, and belief, the statements contained in the Application are true

and correct. In addition, I believe that the Application complies with LBR 2016-1(a) and the Fee

Guidelines.3

                 3.          In connection therewith, I hereby certify that:

                 (a)         I have read the Final Fee Application;

                 (b)         to the best of my knowledge, information and belief, formed after

                             reasonable inquiry, the fees and expenses sought in the Final Fee

                             Application are permissible under the relevant rules, court orders, and

                             Bankruptcy Code provisions;




2
    Capitalized terms not defined herein shall have the same meaning ascribed to them in the Fee Application.




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                 (c)         the fees and disbursements sought in the Final Fee Application are billed

                             at rates customarily employed by PSZJ and generally accepted by PSZJ’s

                             clients, however, PSZJ has capped the amount of each monthly invoice as

                             described in paragraph 7 below. In addition, none of the professionals

                             seeking compensation varied their hourly rate based on the geographic

                             location of the Debtor’s case;

                 (d)         in providing a reimbursable expense, PSZJ does not make a profit on that

                             expense; whether the service is performed by PSZJ in-house or through a

                             third party;

                 (e)         in accordance with Bankruptcy Rule 2016(a) and Section 504 of the

                             Bankruptcy Code, no agreement or understanding exists between PSZJ

                             and any other person for the sharing of compensation to be received in

                             connection with the above cases except as authorized pursuant to the

                             Bankruptcy Code, Bankruptcy Rules, or Local Rules; however, PSZJ will

                             contribute 10% of its allowed fees in this case to a settlement trust for the

                             benefit of survivors under a confirmed plan; and

                 (f)         all services for which compensation is sought were professional services

                             performed on behalf of the Committee and not on behalf of any other

                             person.

                 4.          PSZJ discussed its rates and fees with the Committee at the outset of, and

throughout, this chapter 11 case.




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        5.       Pursuant to Section B(2) of the Local Guidelines, and as required by the Interim

Compensation Order,4 I certify that PSZJ has complied with the provisions requiring PSZJ to

provide the Committee, counsel to the Debtor, and the U.S. Trustee with a statement of PSZJ’s

fees and expenses accrued during the previous month within the timetables set forth in the

Interim Compensation Order.

        6.       Pursuant to Section B(3) of the Local Guidelines, I certify that PSZJ has provided

the Committee, counsel to the Debtor, and the U.S. Trustee with a statement of PSZJ’s fees and

expenses incurred during the Final Application Period and the Post-Effective Date Period.

        7.       In accordance with the U.S. Trustee’s Guidelines, PSZJ responds to the questions

identified therein as follows:

                 Question 1: Did PSZJ agree to any variations from, or alternatives to, PSZJ’s

standard or customary billing rates, fees or terms of services pertaining to this engagement that

were provided during the Final Application Period? If so, please explain.

                 Answer: PSZJ charged its normally hourly rates but agreed to cap fees at $900

per hour for attorneys and $400.00 per hour for paralegals.

                 Question 2: If the fees sought in the Final Fee Application as compared to the

fees budgeted for the time period covered by the Final Fee Application are higher by 10% or

more, did PSZJ discuss the reasons for the variation with the client?

                 Answer: As counsel to the Committee, the Committee was not dictating the

course of the case or setting the agenda. In that regard, PSZJ was reacting and responding to the

Debtor’s agenda and prosecution of the case. In this context, PSZJ was not able to prepare a




4
    See Order Pursuant to 11 U.S.C. §§ 105(A) and 331 Establishing Procedures for Monthly Compensation and
Reimbursement of Expenses of Professionals [Docket No. 125].



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budget for the Final Application Period or the Post-Effective Date Period. PSZJ discussed all

case strategy with the Committee.

                 Question 3: Have any of the professionals included in the Final Fee Application

varied their hourly rate based on geographic location of the bankruptcy case?

                 Answer: No.

                 Question 4: Does the Final Fee Application include time or fees related to

reviewing or revising time records or preparing, reviewing or revising invoices? If so, please

quantify by hours and fees.

                 Answer: No.

                 Question 5: Does the Final Fee Application include time or fees for reviewing

time records to redact any privileged or other confidential information? If so, please quantify

hours and fees.

                 Answer: No.

                 Question 6: Does the Final Fee Application include any rate increases since

PSZJ’s retention in this case? If so, did the client review and approve those rate increases in

advance? Did the client agree when retaining the law firm to accept all future rate increases?

                 Answer: The regularly hourly rates of the Firm were increased during the course

of the representation but that did not result in any increased fees as a result of the capped fee

structure.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

Dated: October 5, 2023
       Chatsworth, California
                                                       /s/ John W. Lucas
                                                       John W. Lucas



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                     EXHIBIT B
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                                                      EXHIBIT B

                                               Timekeeper Summary
                               (Third Interim Period: March 1, 2023 – August 21, 2023)

                                                                             CAPPED
                                                                                                          TOTAL
                                                               STANDARD      HOURLY      TOTAL
    NAME OF                                       YEAR                                                COMPENSATION
                                  TITLE                         HOURLY       RATE IN     HOURS
  PROFESSIONAL                                  ADMITTED                                                AT CAPPED
                                                                 RATE         THIS       BILLED
                                                                                                           RATE
                                                                              CASE
James I. Stang             Partner                  1980        $1,695.00      $900.00        16.40        $14,760.00
Henry C. Kevane            Partner                  1986        $1,550.00      $900.00         0.20          $180.00
Iain A. W. Nasatir         Partner                  1983        $1,395.00      $900.00        15.30        $13,770.00
John W. Lucas              Partner                  2005        $1,150.00      $900.00       210.00       $189,000.00
Malhar S. Pagay            Partner                  1997        $1,295.00      $900.00       192.00       $172,800.00
Karen B. Dine              Counsel                  1994        $1,395.00      $900.00         7.40         $6,660.00
Gillian N. Brown           Counsel                  1999         $975.00       $900.00        33.00        $29,700.00
Leslie A. Forrester        Law Librarian            N/A          $595.00       $400.00         2.40          $960.00
Beth D. Dassa              Paralegal                N/A          $545.00       $400.00        22.30         $8,920.00
Patricia J. Jeffries       Paralegal                N/A          $545.00       $400.00         0.20            $80.00
Yves P. Derac              Paralegal                N/A          $545.00       $400.00         8.00         $3,200.00
La Asia S. Canty           Paralegal                N/A          $545.00       $400.00         0.10            $40.00
Mike Matteo                Paralegal                N/A          $495.00       $400.00         1.10          $440.00

TOTAL                                                                                        508.40       $440,510.00

                                                 Timekeeper Summary
                               (Final Application Period: July 16, 2022 – August 21, 2023

                                                                             CAPPED
                                                                                                          TOTAL
                                                               STANDARD      HOURLY      TOTAL
    NAME OF                                       YEAR                                                COMPENSATION
                                  TITLE                         HOURLY       RATE IN     HOURS
  PROFESSIONAL                                  ADMITTED                                                AT CAPPED
                                                                 RATE          THIS      BILLED
                                                                                                           RATE
                                                                               CASE
James I. Stang             Partner                  1980        $1,525.00     $900.00         84.50        $76,050.00
James I. Stang             Partner                  1980        $1,695.00     $900.00         28.00        $25,200.00
Alan J. Kornfeld           Partner                  1987        $1,695.00     $900.00          0.60          $540.00
Henry C. Kevane            Partner                  1986        $1,550.00     $900.00          0.50          $450.00
Jeffrey N. Pomerantz       Partner                  1989        $1,445.00     $900.00          0.30          $270.00
Iain A. W. Nasatir         Partner                  1983        $1,295.00     $900.00        147.00       $132,300.00
Iain A. W. Nasatir         Partner                  1983        $1,395.00     $900.00         26.40        $23,760.00
Kenneth H. Brown           Partner                  1981        $1,395.00     $900.00          1.40         $1,260.00
Karen B. Dine              Counsel                  1994        $1,395.00     $900.00          7.40         $6,660.00
Malhar S. Pagay            Partner                  1997        $1,095.00     $900.00        202.20       $181,980.00
Malhar S. Pagay            Partner                  1997        $1,295.00     $900.00        246.60       $221,940.00
Maxim B. Litvak            Partner                  1997        $1,275.00     $900.00         21.40        $19,260.00
John W. Lucas              Partner                  2005        $1,095.00     $900.00        273.10       $245,790.00
John W. Lucas              Partner                  2005        $1,150.00     $900.00        270.60       $243,540.00
Beth E. Levine             Counsel                  1993        $1,045.00     $900.00          3.20         $2,880.00
Robert M. Saunders         Counsel                  1984        $1,025.00     $900.00          5.30         $4,770.00
Gina F. Brandt             Counsel                  1976         $995.00      $900.00          1.20         $1,080.00
Gillian N. Brown           Counsel                  1999         $925.00      $900.00        139.50       $125,550.00
Gillian N. Brown           Counsel                  1999         $975.00      $900.00         53.40        $48,060.00
Steven W. Golden           Associate                2015         $775.00      $775.00          0.80          $620.00
Leslie A. Forrester        Law Librarian            N/A          $495.00      $400.00          3.10         $1,240.00
Leslie A. Forrester        Law Librarian            N/A          $595.00      $400.00          2.40          $960.00

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                                                                                            CAPPED
                                                                                                                            TOTAL
                                                                         STANDARD           HOURLY         TOTAL
    NAME OF                                             YEAR                                                            COMPENSATION
                                   TITLE                                  HOURLY            RATE IN        HOURS
  PROFESSIONAL                                        ADMITTED                                                            AT CAPPED
                                                                           RATE               THIS         BILLED
                                                                                                                             RATE
                                                                                              CASE
Beth D Dassa               Paralegal                       N/A              $495.00          $400.00            70.60               $28,240.00
Beth D Dassa               Paralegal                       N/A              $545.00          $400.00            28.80               $11,520.00
Patricia J. Jeffries       Paralegal                       N/A              $495.00          $400.00            17.70                $7,080.00
Patricia J. Jeffries       Paralegal                       N/A              $545.00          $400.00             0.20                   $80.00
La Asia Canty              Paralegal                       N/A              $495.00          $400.00             2.30                 $920.00
La Asia Canty              Paralegal                       N/A              $545.00          $400.00             0.10                   $40.00
Kerri L. LaBrada           Paralegal                       N/A              $495.00          $400.00            21.20                $8,480.00
Yves P. Derac              Paralegal                       N/A              $545.00          $400.00             8.00                $3,200.00
Michael A. Matteo          Paralegal                       N/A              $460.00          $400.00            38.10                      .00
Michael A. Matteo          Paralegal                       N/A              $495.00          $400.00             4.80                $1,920.00

TOTAL                                                                                                       1,710.00          $1,440.880.001

                                                Timekeeper Summary
                            (Post Effective Date Period: August 22, 2023 – October 4, 2023

                                                                                            CAPPED
                                                                                                                            TOTAL
                                                                         STANDARD           HOURLY         TOTAL
    NAME OF                                             YEAR                                                            COMPENSATION
                                   TITLE                                  HOURLY            RATE IN        HOURS
  PROFESSIONAL                                        ADMITTED                                                            AT CAPPED
                                                                           RATE               THIS         BILLED
                                                                                                                             RATE
                                                                                              CASE
Gillian N. Brown           Counsel                         1999             $975.00          $900.00             7.10                $6,390.00
Beth Dassa                 Paralegal                       N/A              $545.00          $400.00            24.10                $9,640.00

TOTAL                                                                                                           31.20               $16,030.00




          1
              In response to informal objections that the U.S. Trustee raised, PSZJ agreed voluntarily to further reduce its fees
          by an additional $2,840, thereby bringing the total amount requested for the Final Application Period to
          $1,438,040.00.

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                     EXHIBIT C
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                                                   EXHIBIT C

                                       Task Code Summary
                      (Third Interim Period: March 1, 2023 – August 21, 2023)

          Code                              Description                               Hours            Amount
           AA          Asset Analysis                                                    0.40             $548.00
           AD          Asset Disposition                                                 1.10           $1,337.50
           BL          Bankruptcy Litigation                                             7.20           $7,151.00
           CA          Case Administration                                               0.70             $510.50
           CO          Claims Administration/Claim Objections                            5.40           $6,499.50
           CP          Compensation of Professionals                                    29.00         $18,438.00
          CPO          Compensation of Professionals/Others                              6.10           $5,216.50
           EC          Executory Contracts                                               0.20             $109.00
           FN          Financing                                                         0.20             $152.00
           GC          General Creditors’ Committee                                     15.90         $20,073.00
           NT          Non-Working Travel                                               22.00         $25,912.50
           PD          Plan & Disclosure Statement                                    400.70         $491,923.00
            H          Hearings                                                          5.80           $6,777.00
           IN          Interviews                                                        3.50           $4,354.50
           ME          Mediation                                                        10.00         $11,585.00
           RP          Retention of Professionals                                        0.10               $54.50
          RPO          Retention of Professionals/Others                                 0.10               $97.50
        TOTAL                                                                         508.40         $600,739.001




1
     Fees billed by attorneys and paralegals for the Third Interim Period originally totaled $600,739.00. After
factoring a discount of $160,229.00, PSZJ seeks total fees for the Third Interim Period in the amount of
$440,510.00.


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                                        Task Code Summary
                     (Final Application Period: July 16, 2022 – August 21, 2023)

          Code                             Description                              Hours             Amount
           AA          Asset Analysis                                                 3.70              $4,672.50
           AD          Asset Disposition                                              5.50              $7,165.50
           AP          Appeals                                                        0.40                $490.00
           BL          Bankruptcy Litigation                                       402.20            $385,937.50
           CA          Case Administration                                          18.10             $12,576.50
           CO          Claims Administration/Claim Objections                       37.00             $41,114.50
           CP          Compensation of Professionals                                74.50             $45,575.50
          CPO          Compensation of Professionals/Others                         18.50             $13,051.50
           EC          Executory Contracts                                            0.20                $109.00
           FN          Financing                                                    63.50             $74,743.50
           GC          General Creditors’ Committee                                240.70            $280,546.00
            H          Hearings                                                     21.30             $26,301.50
           IC          Insurance Coverage                                           17.1              $15,578.00
           IN          Interviews                                                     3.50              $4,354.50
           MC          Meeting of Creditors                                           9.80            $12,709.00
           NT          Non-Working Travel                                           35.00             $41,947.50
           PD          Plan & Disclosure Statement                                 578.60            $707,751.50
           SL          Stay Litigation                                                1.60              $2,010.00
           ME          Mediation                                                   141.80            $171,914.00
           RP          Retention of Professionals                                   13.70             $13,445.50
          RPO          Retention of Professionals/Others                            24.00             $24,425.00
        TOTAL                                                                    1,710.70         $1,886,418.502




2
     Fees billed by attorneys and paralegals for the Final Application Period originally totaled $1,886,418.50. After
factoring discounts of $448,378.50, PSZJ seeks total fees for the Final Application Period in the amount of
$1,438,040.00.


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                        TASK CODE SUMMARY
      POST-EFFECTIVE DATE PERIOD (AUGUST 22, 2023 – OCTOBER 4, 2023)

          Code                               Description                                Hours           Amount
           CP           Compensation of Professionals                                     25.40       $16,337.00
          CPO           Compensation of Professionals/Others                               5.80         $3,720.00
        TOTAL                                                                             31.20       $20,057.003




3
  Fees billed by attorneys and paralegals for the Post Effective Date Period originally totaled $20,057.00. After
factoring discounts of $4,027.00, PSZJ seeks total fees for the Post Effective Date Period in the amount of
$16,030.00.



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                     EXHIBIT D
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                                           EXHIBIT D

                                     Disbursement Summary
                      (Third Interim Period: March 1, 2023 –August 21, 2023)

                           Expenses (by Category)            Amounts
                      Conference Call                             $8.70
                      Outside Services                        $3,010.32
                      Pacer (Legal Research)                     $87.40
                      Reproduction Expense                       $69.30
                      Federal Express                           $354.71
                      Postage                                    $57.98
                      Reproduction/Scan Copy                     $38.80
                      Transcript                                 $93.00
                      Air Fare                                $1,275.00
                      Auto Travel Expense                       $438.37
                      Business Meals                            $181.47
                      Hotel Expense                           $1,372.54
                      TOTAL                                   $6,987.59




                                                1
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                                      Disbursement Summary
                     (Final Application Period: July 16, 2022- August 21, 2023)

                             Expenses (by Category)                 Amounts
             Air Fare                                               $1,725.00
             Auto Travel Expense                                    $1,787.67
             Bloomberg (legal research)                                $30.00
             Business Meals                                           $431.31
             Conference Call                                           $11.01
             Delivery/Courier Service                               $2,666.66
             Facsimiles                                                $35.00
             Federal Express                                        $2,932.11
             Filing Fee                                               $400.00
             Hotel Expense                                          $2,399.24
             Lexis-Nexis (Legal Research)                             $775.14
             Outside Services                                       $5,556.97
             Pacer (Legal Research)                                   $113.20
             Postage                                                  $392.78
             Reproduction Expense                                     $836.00
             Reproduction/Scan Copy                                   $289.20
             Research                                               $1,510.25
             Transcript                                               $752.20
             TOTAL                                                 $22,643.74




                                                      2
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                     EXHIBIT E
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                                           EXHIBITE

                        Comprehensive Invoice for the Third Interim Period
                               (March 1, 2023 - August 21, 2023




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  Date       Timekeeper   Task   Hours     Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                 Narrative
                          Code                                        Hours          Quantity                  Amount        Discount       Total
03/01/2023   IAWN          AA        0.2     1395       279 132246             0.2           0.2        1395           279          79.18      199.82 Review Weber email re check issue
03/01/2023   IAWN         AA         0.1     1395     139.5 132246             0.1           0.1       1395         139.5          39.59       99.91 Telephone call with J. Lucas re Weber
03/01/2023   MSP          AA         0.1     1295     129.5 132246             0.1           0.1       1295         129.5          36.75       92.75 Email exchange with J. Weber, J. Lucas, et al. regarding Chubb
                                                                                                                                                     expense reimbursement check.
05/17/2023   JWL          AD         0.6     1150       690 132643             0.6           0.6       1150           690         165.53      524.47 Review Navy Yard sale summary and send to committee for review.
05/18/2023   MSP          AD         0.3     1295     388.5 132643             0.3           0.3       1295         388.5           93.2       295.3 Email exchange with J. Weber, J. Lucas, S. Landgraber, et al. re: Navy
                                                                                                                                                     Yard sale process.
05/19/2023   MSP          AD         0.2     1295       259 132643             0.2           0.2       1295           259          62.13      196.87 Telephone call with J. Lucas regarding Navy Yard property.
03/01/2023   GNB          BL         1.2      975      1170 132246             1.2           1.2        975          1170         332.06      837.94 Revise meet and confer letter to Michael J. Williams regarding BGCA
                                                                                                                                                     document production (.3); Review exemplars to attach to same (.9).
03/01/2023   GNB          BL         0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email with Malhar S. Pagay regarding Rockefeller University.
03/01/2023   MSP          BL         0.4     1295       518 132246             0.4           0.4       1295           518         147.02      370.98 Email exchange with J. Freeman, G. Brown, I. Nasatir, et al. regarding
                                                                                                                                                     insurance information.
03/02/2023   MSP          BL         1.6     1295      2072 132246             1.6           1.6       1295          2072         588.06     1483.94 Attention to BGCA and other discovery issue (1.3); email exchange
                                                                                                                                                     with J. Amala, G. Brown, J. Sandler, et al. regarding same (.30).
03/02/2023   GNB          BL         0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Finalize meet and confer letter to Michael J. Williams, counsel to
                                                                                                                                                     BGCA.
03/06/2023   BDD          BL         0.1      545      54.5 132246             0.1           0.1        545          54.5          15.47       39.03 Email G. Brown re Pillsbury production.
03/06/2023   GNB          BL         0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Review declaration of custodian of records of Allianz/Fireman’s Fund.
03/07/2023   MAM          BL         0.2      495        99 132246             0.2           0.2        495            99           28.1        70.9 Update virtual file and tracking chart regarding declaration received
                                                                                                                                                     from Fireman's Fund and Guaranty National.
03/07/2023   BDD          BL         0.6      545       327 132246             0.6           0.6        545           327          92.81      234.19 Review Pillsbury production and upload to Everlaw (.40); update log re
                                                                                                                                                     same (.10); emails G. Brown re same (.10)
03/09/2023   GNB          BL         0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email Michael J. Williams regarding meet and confer with BGCA.
03/09/2023   MSP          BL         0.1     1295     129.5 132246             0.1           0.1       1295         129.5          36.75       92.75 Email exchange with G. Brown, M. Williams, et al. regarding BGCA
                                                                                                                                                     meet and confer.
03/10/2023   MSP          BL         0.1     1295     129.5 132246             0.1           0.1       1295         129.5          36.75       92.75 Email exchange with M. Williams, G. Brown regarding BGCA meet and
                                                                                                                                                     confer.
03/10/2023   GNB          BL         0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email with staff regarding returned FedExs relating to Rule 2004
                                                                                                                                                     hearing notices.
03/12/2023   GNB          BL         0.2      975       195 132246             0.2           0.2        975           195          55.34      139.66 Review email from Michael J. Williams in response to meet and confer
                                                                                                                                                     letter (.15); Email state court counsel regarding same (.05).
03/12/2023   MSP          BL         0.3     1295     388.5 132246             0.3           0.3       1295         388.5         110.26      278.24 Email exchange with J. Amala, S. Gershowitz, D. Ellis, G. Brown, et al.
                                                                                                                                                     regarding BGCA documents.
03/14/2023   GNB          BL         0.5      975     487.5 132246             0.5           0.5        975         487.5         138.36      349.14 Review email from Jason Amala and Steven Gershowitz regarding
                                                                                                                                                     BGCA (.1); Telephone conference with Jason Amala regarding same (.
                                                                                                                                                     4).
03/14/2023   MSP          BL         0.2     1295       259 132246             0.2           0.2       1295           259          73.51      185.49 Email exchange with J. Amala, S. Gershowitz, G. Brown, et al.
                                                                                                                                                     regarding BGCA discovery issues.
03/21/2023   MSP          BL         0.1     1295     129.5 132246             0.1           0.1       1295         129.5          36.75       92.75 Email exchange with J. Amala, et al. regarding BGCA discovery.
04/03/2023   MSP          BL         0.1     1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Email exchange with L. Varga, et al. re: Protective Order.
04/04/2023   MSP          BL         0.1     1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Email exchange with J. Lucas, G. Brown, et al. re: Protective Order.
04/07/2023   MAM          BL         0.1      495      49.5 132389             0.1           0.1        495          49.5          13.72       35.78 Update virtual file regarding declaration received from Allianz.
04/07/2023   MAM          BL         0.1      495      49.5 132389             0.1           0.1        495          49.5          13.72       35.78 Update subpoena tracking chart regarding declaration received from
                                                                                                                                                     Allianz.
04/10/2023   MAM          BL         0.7      495     346.5 132389             0.7           0.7        495         346.5          96.07      250.43 Review subpoena tracking chart and cross-check with virtual file
                                                                                                                                                     folders for Gillian N. Brown.
03/13/2023   BDD          CA         0.2      545       109 132246             0.2           0.2        545           109          30.94       78.06 Review Debtor's 3rd Motion to Extend Debtor's Exclusivity Periods and
                                                                                                                                                     emails G. Brown and B. Anavim re same.
03/27/2023   GNB          CA         0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Prepare for tomorrow’s hearing on Debtor’s third motion for extension
                                                                                                                                                     of exclusivity.
03/28/2023   GNB          CA         0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email PSZJ team regarding today’s hearing on Debtor’s third motion
                                                                                                                                                     for extension of exclusivity.
05/10/2023   BDD          CA         0.2      545       109 132643             0.2           0.2        545           109          26.15       82.85 Review Notice of Presentment of 9th Interim Order Authorizing Debtor
                                                                                                                                                     to Operate Cash Management system (.10) and emails G. Brown, N.
                                                                                                                                                     Brown, and B. Anavim re same (.10).
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  Date       Timekeeper   Task   Hours     Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed         Billed        Billed                                   Narrative
                          Code                                        Hours          Quantity                  Amount         Discount       Total
05/10/2023   GNB           CA        0.1      975      97.5 132643             0.1           0.1         975           97.5          23.39       74.11 Review Debtor’s ninth interim cash management motion; Email Jordan
                                                                                                                                                       Merson and Matt Merson regarding publication of survivor name on
                                                                                                                                                       docket; Email with Shafaq Hasan and Leslie Lieberman regarding
                                                                                                                                                       returned service to Debtor via USPS.
04/12/2023   JWL          CO         1.2     1150      1380 132389             1.2           1.2       1150          1380          382.62       997.38 Review objection to Rockefeller claim (1.2);
05/03/2023   JIS          CO         0.2     1695       339 132643             0.2           0.2       1695           339           81.33      257.67 Call J. Lucas regarding status of Madison issues with Rockefeller U.
                                                                                                                                                      claims.
05/08/2023   MSP          CO         0.1     1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Email exchange with J. Weber, J. Lucas, et al. regarding Summit
                                                                                                                                                      request for administrative expense.
05/10/2023   MSP          CO         1.7     1295    2201.5 132643             1.7           1.7       1295        2201.5          528.14     1673.36 Legal research regarding New York tortfeasor law (1.3); email
                                                                                                                                                      exchange with J. Lucas, J. Weber, et al. regarding same (.40).
05/11/2023   MSP          CO         0.1     1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Email exchange with L. Liberman, et al. regarding resolution of
                                                                                                                                                      Rockefeller claim.
05/12/2023   MSP          CO         0.1     1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Email exchange with L. Liberman, et al. regarding Rockefeller claim
                                                                                                                                                      stipulation.
05/12/2023   GNB          CO         0.1      975      97.5 132643             0.1           0.1        975           97.5          23.39       74.11 Email John W. Lucas regarding next week’s hearing on objection to
                                                                                                                                                      Rockefeller’s claim.
05/15/2023   MSP          CO         0.2     1295       259 132643             0.2           0.2       1295           259           62.13      196.87 Email exchange with J. Lucas, J. Weber, R. Chiu, et al. regarding
                                                                                                                                                      Summit administrative expense.
05/24/2023   BDD          CO         0.2      545       109 132643             0.2           0.2        545           109           26.15       82.85 Review Debtor'sproduced docs relating to Rockefeller(.10); email G.
                                                                                                                                                      Brown re same (.10).
06/08/2023   JWL          CO         1.5     1150      1725 132858             1.5           1.5       1150          1725          416.57     1308.43 Email to J. Weber regarding Summit admin claim (1.5);
03/06/2023   BDD          CP         0.1      545      54.5 132246             0.1           0.1        545           54.5          15.47       39.03 Email G. Brown re next round of fee applications.
03/06/2023   GNB          CP         0.1      975      97.5 132246             0.1           0.1        975           97.5          27.67       69.83 Email Beth D. Dassa regarding second quarterly interim fee
                                                                                                                                                      application; Email with Steven Landgraber regarding fee statements
                                                                                                                                                      with March 8 objection deadlines.
03/06/2023   GNB          CP         0.1      975      97.5 132246             0.1           0.1        975           97.5          27.67       69.83 Email PSZJ team regarding second quarterly interim fee applications.
03/09/2023   GNB          CP         0.1      975      97.5 132246             0.1           0.1        975           97.5          27.67       69.83 Draft certificate of no objection to PSZJ’s seventh monthly fee
                                                                                                                                                      statements.
03/09/2023   GNB          CP         0.4      975       390 132246             0.4           0.4        975           390          110.69      279.31 Draft certificates of no objection to Dundon Advisers LLC’s first
                                                                                                                                                      through fifth monthly fee statements (.15); Draft certificates of no
                                                                                                                                                      objection to Island Capital Advisors LLC’s first through fourth monthly
                                                                                                                                                      fee statements (.15); Email Steven Landgraber, Tabish Rizvi, and
                                                                                                                                                      Michael Whalen regarding same (.1).
03/09/2023   GNB          CP         0.1      975      97.5 132246             0.1           0.1        975           97.5          27.67       69.83 Email Miriam Levi regarding interim fee applications.
03/13/2023   BDD          CP         0.1      545      54.5 132246             0.1           0.1        545           54.5          15.47       39.03 Email G. Brown re PSZJ February fee statement.
03/15/2023   BDD          CP         0.1      545      54.5 132246             0.1           0.1        545           54.5          15.47       39.03 Email G. Brown re PSZJ Feb 2023 fee statement.
03/16/2023   BDD          CP         0.8      545       436 132246             0.8           0.8        545           436          123.74      312.26 Prepare PSZJ Feb monthly fee statement (.70) and email G. Brown re
                                                                                                                                                      same (.10).
03/20/2023   GNB          CP         0.1      975      97.5 132246             0.1           0.1        975           97.5          27.67       69.83 Review and finalize PSZJ’s monthly fee statement for February 2023.
03/20/2023   BDD          CP         0.1      545      54.5 132246             0.1           0.1        545           54.5          15.47       39.03 Email G. Brown and N. de Leon on re PSZJ Feb monthly fee
                                                                                                                                                      statement.
03/20/2023   BDD          CP         0.1      545      54.5 132246             0.1           0.1        545           54.5          15.47       39.03 Email B. Anavim and M. Kulick re PSZJ Feb fee statement
03/28/2023   GNB          CP         0.1      975      97.5 132246             0.1           0.1        975           97.5          27.67       69.83 Email with John Weber and Shafaq Hasan regarding interim quarterly
                                                                                                                                                      fee applications; Email with John W. Lucas regarding same.
03/28/2023   BDD          CP         0.1      545      54.5 132246             0.1           0.1        545           54.5          15.47       39.03 Email G. Brown re PSZJ 2nd quarterly fee application.
04/03/2023   GNB          CP         0.1      975      97.5 132389             0.1           0.1        975           97.5          27.03       70.47 Email Beth D. Dassa regarding PSZJ second interim fee application.
04/05/2023   GNB          CP         0.1      975      97.5 132389             0.1           0.1        975           97.5          27.03       70.47 Draft certificate of no objection for myself regarding PSZJ’s February
                                                                                                                                                      2023 monthly fee statement.
04/07/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email G. Brown re PSZJ exhibits to 2nd quarterly fee application.
04/08/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Call with G. Brown re PSZJ 2nd quarterly fee application.
04/08/2023   GNB          CP         0.1      975      97.5 132389             0.1           0.1        975           97.5          27.03       70.47 Email with Beth D. Dassa regarding PSZJ’s second interim fee
                                                                                                                                                      application.
04/08/2023   GNB          CP         0.1      975      97.5 132389             0.1           0.1        975           97.5          27.03       70.47 Telephone conference with Beth D. Dassa regarding Andrea Schwartz
                                                                                                                                                      request for billing code-specific exhibits to fee application.
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  Date       Timekeeper   Task   Hours     Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed         Billed        Billed                                     Narrative
                          Code                                        Hours          Quantity                  Amount         Discount       Total
04/10/2023   GNB           CP        0.1      975      97.5 132389             0.1           0.1         975           97.5          27.03       70.47 Email with Shafaq Hasan regarding omnibus notice of hearing on
                                                                                                                                                       second interim quarterly fee applications and date for hearing; Email
                                                                                                                                                       with Beth D. Dassa and Valerie Arias regarding PSZJ second interim
                                                                                                                                                       quarterly fee application dollar amounts.
04/10/2023   BDD          CP         0.5      545     272.5 132389             0.5           0.5        545         272.5           75.55       196.95 Confer with N. Brown re PSZJ's edits to exhibits to 2nd quarterly fee
                                                                                                                                                       application (.40) and emails G. Brown re same (.10).
04/10/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11        39.39 Email accounting staff re PSZJ 2nd quarterly fee application.
04/10/2023   BDD          CP         0.8      545       436 132389             0.8           0.8        545           436          120.88      315.12 Continue working on PSZJ 2nd quarterly fee application (.7) and emails
                                                                                                                                                      G. Brown and V. Arias regarding same (.1).
04/10/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Confer with B. Anavim re hearing on first interim fee applications.
04/10/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email G. Brown re fee app expenses.
04/11/2023   BDD          CP         0.2      545       109 132389             0.2           0.2        545           109           30.22       78.78 Emails G. Brown re codings for exhibit to PSZJ 2nd quarterly fee
                                                                                                                                                      application per A. Schwartz request.
04/11/2023   BDD          CP         1.4      545       763 132389             1.4           1.4        545           763          211.55      551.45 Further additions/revisions to PSZJ 2nd quarterly fee application.
04/11/2023   BDD          CP         2.6      545      1417 132389             2.6           2.6        545          1417          392.88     1024.12 Work on fee exhibit re combining BK codes per A. Schwartz request
04/11/2023   GNB          CP         0.1      975      97.5 132389             0.1           0.1        975           97.5          27.03       70.47 Email with Beth D. Dassa regarding reformulated expenses exhibit for
                                                                                                                                                      PSZJ’s fee application, per Andrea Schwartz’s request.
04/12/2023   GNB          CP         1.6      975      1560 132389             1.6           1.6        975          1560          432.52     1127.48 Revise PSZJ’s second interim fee application.
04/12/2023   BDD          CP         0.2      545       109 132389             0.2           0.2        545           109           30.22       78.78 Emails to/calls with N. Brown re PSZJ 2nd quarterly fee application.
04/12/2023   BDD          CP         0.3      545     163.5 132389             0.3           0.3        545         163.5           45.33      118.17 Calls with/emails to G. Brown re PSZJ 2nd quarterly fee application.
04/12/2023   BDD          CP         0.4      545       218 132389             0.4           0.4        545           218           60.44      157.56 Further review/organization of cumulative category descriptions per A.
                                                                                                                                                      Schwartz comments.
04/12/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email R. Rothman and L. Gardziabal re PSZJ 2nd quarterly fee
                                                                                                                                                      application.
04/12/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email G. Brown re PSZJ 2nd quarterly fee applications and exhibits re
                                                                                                                                                      same.
04/12/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email G. Brown re exhibits to PSZJ quarterly fee application.
04/13/2023   BDD          CP         0.2      545       109 132389             0.2           0.2        545           109           30.22       78.78 Revisions to PSZJ 2nd quarterly fee application (.10) and email G.
                                                                                                                                                      Brown re same (.10).
04/13/2023   GNB          CP         0.4      975       390 132389             0.4           0.4        975           390          108.13      281.87 Finalize PSZJ’s second interim fee application.
04/13/2023   GNB          CP         0.2      975       195 132389             0.2           0.2        975           195           54.07      140.93 Review and respond to Shafaq Hasan email regarding second interim
                                                                                                                                                      fee applications.
04/14/2023   GNB          CP         0.1      975      97.5 132389             0.1           0.1        975           97.5          27.03       70.47 Email with staff regarding LEDES information for second interim fee
                                                                                                                                                      application period.
04/14/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email G. Brown re LEDES files for PSZJ 2nd interim fee application.
04/15/2023   GNB          CP         0.1      975      97.5 132389             0.1           0.1        975           97.5          27.03       70.47 Email UST’s office with LEDES format bills relating to PSZJ’s second
                                                                                                                                                      interim fee application.
04/17/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email G. Brown re hearing on interim fee applications.
04/17/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email M. Kulick re hearing on interim fee applications and objection
                                                                                                                                                      deadlines.
04/19/2023   BDD          CP         0.1      545      54.5 132389             0.1           0.1        545           54.5          15.11       39.39 Email G. Brown re PSZJ March fee statement.
04/20/2023   BDD          CP         0.8      545       436 132389             0.8           0.8        545           436          120.88      315.12 Prepare PSZJ March fee statement (.70); emails accounting and G.
                                                                                                                                                      Brown re same (.10)
04/20/2023   GNB          CP         0.1      975      97.5 132389             0.1           0.1        975           97.5          27.03       70.47 Review PSZJ March 2023 fee statements for filing and service.
05/04/2023   MSP          CP         0.1     1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Email exchange with J. Weber, A. Schwartz, et al. regarding Second
                                                                                                                                                      Interim Fee Applications.
05/15/2023   MSP          CP         0.2     1295       259 132643             0.2           0.2       1295           259           62.13      196.87 Email exchange with J. Lucas, G. Brown, T. Tiantian, J. Weber, et al.
                                                                                                                                                      regarding Second Interim Fee Applications.
05/17/2023   GNB          CP         0.1      975      97.5 132643             0.1           0.1        975           97.5          23.39       74.11 Email John W. Lucas regarding preparation for tomorrow’s fee
                                                                                                                                                      application hearing.
05/17/2023   YPD          CP         0.3      545     163.5 132643              0             0           0              0              0           0 Tel conference with B. Dassa re PSZJ May 2023 Fee Statement and
                                                                                                                                                      Court requirements.
05/17/2023   YPD          CP         0.2      545       109 132643              0             0           0              0              0           0 Analysis of April 2023 Monthly Fee Statement and Exhibits thereof and
                                                                                                                                                      objection period for same.
05/17/2023   YPD          CP         0.2      545       109 132643              0             0           0              0              0           0 Research and analysis of Epique Claims Agent Docket and Fee
                                                                                                                                                      Statements.
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                     Narrative
                          Code                                          Hours          Quantity                  Amount        Discount       Total
05/17/2023   YPD           CP        0.4        545       218 132643             0.4           0.4         545           218           52.3       165.7 Preparation of draft of 10th PSZJ Monthly Fee Statement (April 2023)
                                                                                                                                                        and revision to same.
05/17/2023   YPD          CP         1.6        545       872 132643             1.6           1.6        545           872         209.19       662.81 Analysis of email from B. Dassa and review of attachments re April
                                                                                                                                                        2023 Fee Statements (.3); and preparation of April 2023 Fee
                                                                                                                                                        Statements Exhibits thereon (.3).
05/17/2023   BDD          CP         0.6        545       327 132643              0             0           0             0              0            0 Zoom call with/emails to Y. Derac re PSZJ monthly fee statements (.
                                                                                                                                                        50); emails G. Brown re same (.10)
05/17/2023   BDD          CP         0.1        545      54.5 132643              0             0           0             0              0            0 Email Y. Derac re draft April fee statement.
05/18/2023   YPD          CP         0.4        545       218 132643             0.4           0.4        545           218           52.3       165.7 Revision to PSZJ April 2023 Monthly Fee Statement and Exhibits.
05/18/2023   YPD          CP         0.2        545       109 132643             0.2           0.2        545           109          26.15       82.85 Analysis of email and attachments from B. Dassa re Fee Statement and
                                                                                                                                                       respond to email thereto (.1); email to G. Brown on same for approval (.
                                                                                                                                                       1).
05/18/2023   YPD          CP         0.1        545      54.5 132643             0.1           0.1        545          54.5          13.07       41.43 Analysis of email from G. Brown re 10th Fee Statement and finalizing of
                                                                                                                                                       same for filing on 5/19/2023; respond to email on same
05/18/2023   GNB          CP         0.1        975      97.5 132643             0.1           0.1        975          97.5          23.39       74.11 Email with John W. Lucas regarding PSZJ fee application holdback;
                                                                                                                                                       Email with Shafaq Hasan regarding same; Email Matthew Dundon
                                                                                                                                                       regarding fee application hearing.
05/18/2023   GNB          CP         0.1        975      97.5 132643             0.1           0.1        975          97.5          23.39       74.11 Review PSZJ’s April 2023 monthly fee statement.
05/18/2023   GNB          CP         0.1        975      97.5 132643             0.1           0.1        975          97.5          23.39       74.11 Draft my certificate of non objection to PSZJ’s March 2023 monthly fee
                                                                                                                                                       statement.
05/19/2023   YPD          CP         0.4        545       218 132643             0.4           0.4        545           218          52.31      165.69 Analysis of emails from G. Brown re Fee Statement and further
                                                                                                                                                       modifications, filing and service thereof and respond to email thereto (.
                                                                                                                                                       3); review of attachment of CNO for statement (.1).
06/08/2023   GNB          CP         0.1        975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Revise and finalize my certification of no objection to PSZJ's 10th
                                                                                                                                                       monthly fee statement.
06/09/2023   GNB          CP         0.1        975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email Beth D. Dassa regarding interim fee application.
06/19/2023   YPD          CP         0.2        545       109 132858             0.2           0.2        545           109          26.32       82.68 Finalize PSZJ fee statement and draft email to G. Brown re same.
06/19/2023   YPD          CP         0.2        545       109 132858              0             0           0             0              0           0 Analysis of emails from G. Brown and B. Dassa re Fee Statement and
                                                                                                                                                       review of attachment and respond to email thereto.
06/19/2023   YPD          CP         1.2        545       654 132858             1.2           1.2        545           654         157.93      496.07 Draft11th PSZJ monthly fee statement.
06/19/2023   GNB          CP         0.2        975       195 132858             0.2           0.2        975           195          47.09      147.91 Review and finalize PSZJ May 2023 monthly fee statement for filing
                                                                                                                                                       and service.
06/20/2023   YPD          CP         0.2        545       109 132858             0.2           0.2        545           109          26.32       82.68 Review email from G. Brown re May 2023 PSZJ fee statement (.1);
                                                                                                                                                       review reply and respond thereto (.1).
06/20/2023   YPD          CP         0.1        545      54.5 132858             0.1           0.1        545          54.5          13.16       41.34 Review email from N. de Leon re PSZJ May 2023 fee statement.
06/20/2023   YPD          CP         0.2        545       109 132858             0.2           0.2        545           109          26.26       82.74 Review email from G. Brown re PSZJ May 2023 fee statement filing (.
                                                                                                                                                       1); respond to same (.1).
07/19/2023   GNB          CP         0.1        975      97.5 133032             0.1           0.1        975          97.5          25.33       72.17 Email Beth D. Dassa and Yves P. Derac regarding PSZJ June 2023
                                                                                                                                                       monthly fee statement.
07/20/2023   YPD          CP         0.3        545     163.5 133032             0.3           0.3        545         163.5          42.47      121.03 Analysis of documents and preparation of draft June 2023 PSZJ Fee
                                                                                                                                                       Statement.
07/20/2023   YPD          CP         0.1        545      54.5 133032             0.1           0.1        545          54.5          14.08       40.42 Analysis of email from G. Brown re June 2023 Fee Statement; review of
                                                                                                                                                       B. Dassa email on same; respond to G. Brown email same.
07/21/2023   GNB          CP         0.1        975      97.5 133032             0.1           0.1        975          97.5          25.33       72.17 Finalize my certificate of no objection to PSZJ’s May 2023 fee
                                                                                                                                                       statement.
07/21/2023   YPD          CP         0.2        545       109 133032             0.2           0.2        545           109          28.32       80.68 Review of emails from G. Brown re 12th Fee Statement of PSZJ (.1)
                                                                                                                                                       and respond to emails thereto (.1).
07/24/2023   GNB          CP         0.1        975      97.5 133032             0.1           0.1        975          97.5          25.33       72.17 Email with Yves P. Derac regarding PSZJ June 2023 monthly fee
                                                                                                                                                       statement; Email with Mary de Leon regarding filing and service of
                                                                                                                                                       same.
07/24/2023   GNB          CP         0.2        975       195 133032             0.2           0.2        975           195          50.66      144.34 Edit and finalize PSZJ’s June 2023 fee statement for filing and service.
07/24/2023   GNB          CP         0.1        975      97.5 133032             0.1           0.1        975          97.5          25.33       72.17 Email with Shafaq Hasan regarding final fee applications; Email co-
                                                                                                                                                       financial advisors for the Committee regarding same.
07/24/2023   YPD          CP             1      545       545 133032              1             1         545           545         141.58      403.42 Review of documents and preparation of PSZJ 12th Fee Statement
                                                                                                                                                       and CNO for same.
07/24/2023   YPD          CP         0.2        545       109 133032             0.1           0.1        545          54.5          14.16       40.34 Review of emails from G. Brown re PSZJ 12th Fee Statement and
                                                                                                                                                       review of attachments; respond to G. Brown emails thereto.
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  Date       Timekeeper   Task   Hours     Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                    Narrative
                          Code                                        Hours          Quantity                  Amount        Discount       Total
07/24/2023   YPD           CP        0.6      545       327 133032             0.6           0.6         545           327          84.95      242.05 Revision to 12th Fee Statement of PSZJ and review of supporting
                                                                                                                                                      documents for same.
07/24/2023   YPD          CP         0.2      545       109 133032             0.2           0.2        545           109          28.32        80.68 Preparation of documents and email to G. Brown re 12th PSZJ Fee
                                                                                                                                                      Statement and CNO and final backup documents thereto.
07/24/2023   YPD          CP         0.1      545      54.5 133032             0.1           0.1        545          54.5          14.16        40.34 Review of emails from G. Brown re 12th Fee Statement filing and
                                                                                                                                                      service thereof and review of link of attachment of same.
07/31/2023   BDD          CP         0.1      545      54.5 133032             0.1           0.1        545          54.5          14.16        40.34 Email G. Brown re PSZJ final fee application.
08/04/2023   GNB          CP         0.1      975      97.5 133032             0.1           0.1        975          97.5          25.33       72.17 Email with John W. Lucas regarding final fee application.
08/07/2023   BDD          CP         1.3      545     708.5 133032             1.3           1.3        545         708.5         184.05      524.45 Begin working on PSZJ 3rd interim and final fee application (1.1) and
                                                                                                                                                     emails G. Brown (.10) and N. Brown re same (.10).
08/07/2023   BDD          CP         0.1      545      54.5 133032             0.1           0.1        545          54.5          14.16       40.34 Email V. Arias re PSZJ 3rd interim and final fee application.
08/07/2023   BDD          CP         0.1      545      54.5 133032             0.1           0.1        545          54.5          14.16       40.34 Email N. Brown re fee charts re PSZJ 3rd interim and final fee
                                                                                                                                                     application.
08/07/2023   BDD          CP         0.1      545      54.5 133032             0.1           0.1        545          54.5          14.16       40.34 Email G. Brown re deadline to file final fee applications.
08/09/2023   BDD          CP         0.1      545      54.5 133032             0.1           0.1        545          54.5          14.16       40.34 Email G. Brown re PSZJ 3rd and final fee application.
08/12/2023   BDD          CP         3.6      545      1962 133032             3.6           3.6        545          1962         509.69     1452.31 Draft PSZJ 3rd and final fee application (3.50) and email G. Brown re
                                                                                                                                                     same (.10).
08/21/2023   BDD          CP         0.1      545      54.5 133032             0.1           0.1        545          54.5          14.16       40.34 Email G. Brown re PSZJ final fee application.
03/15/2023   GNB          CPO        0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email Tabish Rizvi, Michael Whalen, and Steven Landgraber regarding
                                                                                                                                                     fee payments.
03/17/2023   GNB          CPO        0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email with Steven Landgraber regarding monthly fee statements.
03/21/2023   GNB          CPO        0.1      975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email Oliver Carpio regarding fee statement chart for all professionals.
03/28/2023   GNB          CPO        1.3      975    1267.5 132246             1.3           1.3        975        1267.5         359.74      907.76 Prepare template for Dundon Advisers and Island Capital first quarterly
                                                                                                                                                     fee applications (1.2); Email Steven Landgraber, Tabish Rizvi, and
                                                                                                                                                     Michael Whalen regarding same (.1).
04/10/2023   GNB          CPO        0.1      975      97.5 132389             0.1           0.1        975          97.5          27.03       70.47 Email with Tabish Rizvi, Michael Whalen, and Steven Landgraber
                                                                                                                                                     regarding interim quarterly fee applications.
04/11/2023   GNB          CPO        0.1      975      97.5 132389             0.1           0.1        975          97.5          27.03       70.47 Review Island Capital fee application; Email Steven Landgraber
                                                                                                                                                     regarding same.
04/11/2023   GNB          CPO        0.1      975      97.5 132389             0.1           0.1        975          97.5          27.03       70.47 Review Dundon Advisers’ first interim fee application.
04/12/2023   GNB          CPO        0.4      975       390 132389             0.4           0.4        975           390         108.13      281.87 Telephone conference with Tabish Rizvi regarding Dundon Advisers’
                                                                                                                                                     first interim fee application.
04/13/2023   BDD          CPO        0.6      545       327 132389             0.6           0.6        545           327          90.66      236.34 Review/revise Island Capital quarterly fee application (.40) and
                                                                                                                                                     emails/call with G. Brown re same (.20).
04/13/2023   BDD          CPO        0.1      545      54.5 132389             0.1           0.1        545          54.5          15.11       39.39 Email G. Brown re 4/14 filing of interim fee applications.
04/13/2023   GNB          CPO        0.4      975       390 132389             0.4           0.4        975           390         108.13      281.87 Review Beth D. Dassa’s input to Island Capital fee application and
                                                                                                                                                     telephone conference with Beth D. Dassa regarding same (.2); Email
                                                                                                                                                     Steven Landgraber regarding same (.1); Email Robert Lieber and
                                                                                                                                                     Steven Landgraber regarding same (.1).
04/14/2023   GNB          CPO        0.1      975      97.5 132389             0.1           0.1        975          97.5          27.03       70.47 Telephone conference with Sophia Lee regarding fee application filing
                                                                                                                                                     issue.
04/14/2023   GNB          CPO        0.1      975      97.5 132389             0.1           0.1        975          97.5          27.03       70.47 Finalize Island Capital fee application.
04/14/2023   BDD          CPO        0.1      545      54.5 132389             0.1           0.1        545          54.5          15.11       39.39 Email G. Brown re hearing on interim fee applications.
04/19/2023   LSC          CPO        0.2      545       109 132643              0             0           0             0              0           0 Finalize and file certification of no objection regarding Dundon
                                                                                                                                                     retention application.
05/11/2023   GNB          CPO        0.1      975      97.5 132643             0.1           0.1        975          97.5          23.39       74.11 Email with Tabish Rizvi regarding Dundon fee application; Email with
                                                                                                                                                     Steven Landgraber regarding Island Capital fee application.
05/15/2023   GNB          CPO        0.3      975     292.5 132643             0.3           0.3        975         292.5          70.17      222.33 Emails with John W. Lucas, with John Weber, and with Shafaq Hasan
                                                                                                                                                     regarding May 18 fee application hearing (.1); Review proposed orders
                                                                                                                                                     from Paul Weiss thereon (.2).
05/15/2023   GNB          CPO        0.1      975      97.5 132643             0.1           0.1        975          97.5          23.39       74.11 Email with Tara Tiantian regarding Island Capital and Dundon Advisers
                                                                                                                                                     fee application issues; Email Island Capital and Dundon Advisers
                                                                                                                                                     regarding same.
05/15/2023   GNB          CPO        0.1      975      97.5 132643             0.1           0.1        975          97.5          23.39       74.11 Telephone conference with Steven Landgraber regarding fee
                                                                                                                                                     application hearing on May 18.
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                          Code                                          Hours          Quantity                  Amount         Discount       Total
05/16/2023   GNB          CPO        0.1        975      97.5 132643             0.1           0.1         975           97.5          23.39       74.11 Telephone conference with Shafaq Hasan regarding UST
                                                                                                                                                         communications with Island Capital and Dundon Advisers; Email with
                                                                                                                                                         Shafaq Hasan regarding same.
05/16/2023   GNB          CPO        0.1        975      97.5 132643             0.1           0.1        975           97.5          23.39        74.11 Email with Tara Tiantian regarding Island Capital and Dundon Advisers’
                                                                                                                                                         fee applications: Email Robert Lieber and Steven Landgraber regarding
                                                                                                                                                         same.
05/16/2023   GNB          CPO        0.1        975      97.5 132643             0.1           0.1        975           97.5          23.39        74.11 Email with Matthew Dundon, Tabish Rizvi, and Michael Whalen
                                                                                                                                                         regarding Tara Tiantian’s email regarding Dundon Advisers’ fee
                                                                                                                                                         application.
06/09/2023   BDD          CPO        0.4        545       218 132858             0.4           0.4        545           218           52.64       165.36 Research information re next round of quarterly fee applications (.20);
                                                                                                                                                         emails G. Brown re same (.10); email B. Anavim re same (.10)
07/21/2023   GNB          CPO        0.3        975     292.5 133032             0.3           0.3        975         292.5           75.99       216.51 Finalize Dundon Advisers’ eighth through eleventh monthly fee
                                                                                                                                                         statements, including review of exhibits D thereto for work product.
07/21/2023   GNB          CPO        0.1        975      97.5 133032             0.1           0.1        975           97.5          25.33        72.17 Email Dundon Advisers regarding their eighth through eleventh monthly
                                                                                                                                                         fee statements; Email Beth D. Dassa regarding same.
07/21/2023   BDD          CPO        0.1        545      54.5 133032             0.1           0.1        545           54.5          14.16        40.34 Email B. Anavim and M. Kulick re Dundon's 8-11th monthly fee
                                                                                                                                                         statements.
08/11/2023   GNB          CPO        0.1        975      97.5 133032             0.1           0.1        975           97.5          25.33        72.17 Email with Tabish Rizvi regarding Dundon Advisers’ eighth through
                                                                                                                                                         eleventh monthly fee statements.
08/14/2023   YPD          CPO        0.2        545       109 133032              0             0           0              0              0            0 Review of email from G. Brown and B. Dassa re Dundon Advisers Fee
                                                                                                                                                         Statements and expiration of objection period for CSO (.1); respond to
                                                                                                                                                         email thereto (1.).
08/14/2023   YPD          CPO        0.2        545       109 133032              0             0           0              0              0            0 Review of documents and Dundon Advisers 8th thru 11th 2023 Fee
                                                                                                                                                         Statements.
08/14/2023   YPD          CPO        0.2        545       109 133032              0             0           0              0              0            0 Further revision to CNO re Dundon Advisors fee statements filed and
                                                                                                                                                         served (.2); review of fee statements 8th through 11th (.2).
08/14/2023   YPD          CPO            1      545       545 133032             0.4           0.4        545           218           56.63       161.37 Preparation of draft of CNO for Dundon Advisers 8th through 11th filed
                                                                                                                                                         monthly fee statements(.3); prep email of same to G. Brown (.1).
08/14/2023   GNB          CPO        0.1        975      97.5 133032             0.1           0.1        975           97.5          25.33        72.17 Review and edit my CNO relating to Dundon Advisers’ eighth through
                                                                                                                                                         eleventh monthly fee statements.
04/24/2023   BDD          EC         0.2        545       109 132389             0.2           0.2        545           109           30.22        78.78 Review docket and email B. Anavim re Stip Between Landlorders to
                                                                                                                                                         Extend Time to Assume/Reject Nonresidential Real Property Leases.
06/07/2023   GNB          FN         0.1        975      97.5 132858             0.1           0.1        975           97.5          23.55        73.95 Review Michael Whalen email regarding Debtor’s most recent monthly
                                                                                                                                                         operating report.
08/16/2023   BDD          FN         0.1        545      54.5 133032             0.1           0.1        545           54.5          14.16        40.34 Email B. Anavim and M. Kulick re 11th order on Debtor's operation of
                                                                                                                                                         cash management system.
03/06/2023   JIS          GC         0.8       1695      1356 132246             0.8           0.8       1695          1356          384.85       971.15 Call with Committee regarding plan developments and Rockefeller
                                                                                                                                                         status.
03/07/2023   MSP          GC         0.4       1295       518 132246             0.4           0.4       1295           518          147.02       370.98 Email exchange with G. Brown, J. Lucas regarding Committee
                                                                                                                                                         meeting.
03/08/2023   JIS          GC         0.2       1695       339 132246             0.2           0.2       1695           339           96.21       242.79 Email J. Lucas regarding case status and plan negotiations.
03/09/2023   MSP          GC         0.5       1295     647.5 132246             0.5           0.5       1295         647.5          183.77      463.73 Meeting with T. Rizvi, J. Lucas, et al. regarding review of open issues
                                                                                                                                                        and case status update.
03/09/2023   JWL          GC         0.5       1150       575 132246             0.5           0.5       1150           575          163.19      411.81 Update call with Dundon, Island, M Pagay, and G. Brown regarding
                                                                                                                                                        case status (.5);
04/24/2023   MSP          GC             1     1295      1295 132389              1             1        1295          1295          359.05      935.95 Attend call regarding case update (.90); email exchange with G. Brown,
                                                                                                                                                        J. Lucas regarding same (.10).
04/24/2023   JIS          GC         0.9       1695    1525.5 132389             0.9           0.9       1695        1525.5          422.96     1102.54 Call with Committee to review plan and confirmation issues.
04/24/2023   GNB          GC             1      975       975 132389              1             1         975           975          270.33      704.67 Attend Committee call regarding update on Plan process and related
                                                                                                                                                        issues (.9); Revise minutes of Committee call and email with John W.
                                                                                                                                                        Lucas regarding same (.1).
04/24/2023   JWL          GC         1.3       1150      1495 132389             1.3           1.3       1150          1495           414.5      1080.5 Call with PSZJ and committee regarding case update and plan
                                                                                                                                                        solicitation (.9); follow up call with J. Amala regarding the same (.4);
05/01/2023   MSP          GC         0.1       1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Email exchange with J. Lucas, et al. re; Committee meeting.
05/24/2023   JWL          GC         0.5       1150       575 132643             0.5           0.5       1150           575          137.94      437.06 Review and revise committee meeting minutes.
05/24/2023   JIS          GC         1.3       1695    2203.5 132643             1.3           1.3       1695        2203.5          528.62     1674.88 Attend committee call re sale of property and plan issues.
05/24/2023   GNB          GC         1.3        975    1267.5 132643             1.3           1.3        975        1267.5          304.07      963.43 Attend Committee call regarding open plan-related issues.
05/24/2023   GNB          GC         0.1        975      97.5 132643             0.1           0.1        975           97.5          23.39       74.11 Edit minutes of today’s Committee call.
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                          Code                                          Hours          Quantity                  Amount        Discount       Total
05/30/2023   MSP           GC        1.2       1295      1554 132643             1.2           1.2        1295          1554          372.8      1181.2 Attend Committee meeting.
06/06/2023   JWL          GC         1.3       1150      1495 132858             1.3           1.3       1150          1495         361.03     1133.97 Call with survivor who did not file claim and status of bankruptcy case
                                                                                                                                                       (.6); case update email to committee (.7);
06/16/2023   JWL          GC             1     1150      1150 132858              1             1        1150          1150         277.71      872.29 Prepare and send case update email to committee re Navy Yard sale,
                                                                                                                                                       confirmation hearing, and Rockefeller issues (1.0);
08/07/2023   JWL          GC         0.6       1150       690 133032             0.6           0.6       1150           690         179.25      510.75 Email to R. Liguori re general case update (.6);
08/08/2023   JWL          GC         0.5       1150       575 133032             0.5           0.5       1150           575         149.37      425.63 Call with R. Liguori re case status and settlements inside and outside
                                                                                                                                                       the plan (.5);
08/10/2023   JWL          GC             1     1150      1150 133032              1             1        1150          1150         298.75      851.25 Prepare confirmation order and plan approval press release (1.0);
03/28/2023   GNB           H         0.3        975     292.5 132246             0.3           0.3        975         292.5          83.02      209.48 Attend Zoom hearing on Debtor’s third motion for extension of
                                                                                                                                                       exclusivity.
04/27/2023   MSP           H         1.1       1295    1424.5 132389             1.1           1.1       1295        1424.5         394.95     1029.55 Attend hearing regarding disclosure statement, solicitation procedures
                                                                                                                                                       approval.
04/27/2023   JWL           H         1.1       1150      1265 132389             1.1           1.1       1150          1265         350.73      914.27 Attend hearing regarding conditional approval of disclosure statement
                                                                                                                                                       (1.1);
05/18/2023   JWL           H         1.3       1150      1495 132643             1.3           1.3       1150          1495         358.65     1136.35 Prepare for second interim fee hearing (.5); attend second interim fee
                                                                                                                                                       hearing (including prehearing time) (.8).
07/17/2023   JWL           H         0.5       1150       575 133032             0.5           0.5       1150           575         149.37      425.63 Attend hearing on plan status conference (.5);
07/28/2023   JWL           H         1.5       1150      1725 133032             1.5           1.5       1150          1725         448.12     1276.88 Attend confirmation hearing (virtually) (1.5);
03/01/2023   GNB           IC        0.2        975       195 132246             0.2           0.2        975           195          55.34      139.66 Telephone conference with James I. Stang regarding Madison
                                                                                                                                                       insurance.
03/01/2023   GNB           IC        0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Telephone conference with Iain A.W. Nasatir regarding Madison
                                                                                                                                                       insurance.
03/01/2023   GNB           IC        0.2        975       195 132246             0.2           0.2        975           195          55.34      139.66 Email with paralegals regarding insurance documents.
03/01/2023   GNB           IC        0.4        975       390 132246             0.4           0.4        975           390         110.69      279.31 Telephone conference with Jennifer Freeman regarding insurance.
03/01/2023   GNB           IC        0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email with Iain A.W. Nasatir regarding Madison insurance.
03/01/2023   GNB           IC        0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email to Joseph Jean regarding insurance coverage chart and
                                                                                                                                                       associated documents; Email with Scott Greenspan regarding same.
03/01/2023   IAWN          IC        0.1       1395     139.5 132246             0.1           0.1       1395         139.5          39.59       99.91 Telephone call with G. Brown re insurance archeology
03/01/2023   IAWN          IC        0.3       1395     418.5 132246             0.3           0.3       1395         418.5         118.78      299.72 Emails with G. Brown re Freeman emails and IAG
03/01/2023   IAWN          IC        0.8       1395      1116 132246             0.8           0.8       1395          1116         316.74      799.26 Review file re IAG discussion with Paul Weiss
03/01/2023   JIS           IC        0.2       1695       339 132246             0.2           0.2       1695           339          96.21      242.79 Call G. Brown regarding report on insurance due diligence.
03/02/2023   IAWN          IC        0.7       1395     976.5 132246             0.7           0.7       1395         976.5         277.15      699.35 Telephone calls with Greenspan re retentions
03/02/2023   GNB           IC        0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Review email from Scott Greenspan regarding Madison insurance
                                                                                                                                                       documentation; Email with Jennifer Freeman regarding same.
03/06/2023   GNB           IC        0.2        975       195 132246             0.2           0.2        975           195          55.34      139.66 Email with Stephanie Korchinski at Pillsbury regarding insurance
                                                                                                                                                       policies undergirding insurance coverage chart; Email Beth D. Dassa
                                                                                                                                                       regarding uploading and document tracking of same.
06/19/2023   JIS          ME         0.1       1695     169.5 132858             0.1           0.1       1695         169.5          40.93      128.57 Office conference with J. Lucas regarding mediation stipulation.
06/21/2023   JIS          ME         0.2       1695       339 132858             0.2           0.2       1695           339          81.86      257.14 Call J. Lucas regarding Rockefeller University mediation stipulation.
06/22/2023   BDD          ME         0.3        545     163.5 132858             0.3           0.3        545         163.5          39.48      124.02 Review proposed order appointing mediators and directing mediation
                                                                                                                                                       (.20) and emails G. Brown and B. Anavim re same (.10).
06/22/2023   JIS          ME         0.1       1695     169.5 132858             0.1           0.1       1695         169.5          40.93      128.57 Call J. Lucas regarding Rockefeller University mediation.
06/23/2023   BDD          ME         0.1        545      54.5 132858             0.1           0.1        545          54.5          13.16       41.34 Email G. Brown re Order directing mediation.
06/26/2023   JWL          ME             2     1150      2300 132858              2             2        1150          2300         555.43     1744.57 Attend New York plan mediation session with Madison, Rockefeller,
                                                                                                                                                       Marsh Law, and Herman Law (2.0);
06/26/2023   JIS          ME         0.1       1695     169.5 132858             0.1           0.1       1695         169.5          40.93      128.57 Call with J. Lucas regarding mediation status.
06/26/2023   JIS          ME         0.1       1695     169.5 132858             0.1           0.1       1695         169.5          40.93      128.57 Call J. Lucas re status of mediation.
06/27/2023   JWL          ME             2     1150      2300 132858              2             2        1150          2300         555.43     1744.57 Attend Madison/Rockefeller plan mediation in New York (2.0);
06/28/2023   JWL          ME             5     1150      5750 132858              5             5        1150          5750        1388.56     4361.44 Attend plan mediation regarding Rockefeller (5.0);
06/25/2023   JWL          NT         8.5       1150      9775 132858             8.5           8.5       1150          9775        2360.56     7414.44 Travel from San Francisco to New York for plan mediation with
                                                                                                                                                       Rockefeller (delayed flight at landing)
06/28/2023   JWL          NT             9     1150     10350 132858              9             9        1150        10350         2499.42     7850.58 Travel from New York to San Francisco from plan mediation (traffic
                                                                                                                                                       from NYC to Newark airport and extreme airline delay)
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                          Code                                          Hours          Quantity                     Amount        Discount       Total
06/29/2023   JWL           NT            2     1150      2300 132858              2               2         1150           2300         555.43    1744.57 Continued travel from New York to San Francisco after plan mediation
                                                                                                                                                          (traffic from NYC to Newark airport and extreme airline delay)
07/28/2023   KBD          NT         2.5       1395    3487.5 133032             2.5          2.5           1395        3487.5         905.98     2581.52 Travel to and from confirmation hearing
03/01/2023   IAWN         PD             2     1395      2790 132246              2               2         1395          2790         791.84     1998.16 Review Madison plan re insurance inserts
03/01/2023   MSP          PD         0.1       1295     129.5 132246             0.1          0.1           1295         129.5          36.75       92.75 Telephone call with I. Nasatir regarding comments on Plan.
03/01/2023   MSP          PD         0.4       1295       518 132246             0.3          0.3           1295         388.5         110.26      278.24 Telephone calls with J. Lucas regarding Plan issues.
03/01/2023   MSP          PD         5.7       1295    7381.5 132246             5.7          5.7           1295        7381.5        2094.98     5286.52 Work on Plan and Rockefeller resolution issues, including review of
                                                                                                                                                          insurance company comments on Plan (5.2); email exchange with J.
                                                                                                                                                          Stang, I. Nasatir, G. Brown, R. Liguori, G. Galardi, J. Lucas, J. Weber,
                                                                                                                                                          et al. regarding same (.50).
03/01/2023   MSP          PD         0.4       1295       518 132246             0.4          0.4           1295           518         147.02      370.98 Telephone call with J. Stang and J. Lucas regarding Plan issues.
03/01/2023   JIS          PD         0.4       1695       678 132246             0.4          0.4           1695           678         192.43      485.57 Call M. Pagay and J. Lucas regarding open plan issues and Rockefeller
                                                                                                                                                          University status.
03/01/2023   JIS          PD         0.1       1695     169.5 132246             0.1          0.1           1695         169.5          48.11      121.39 Call P. Finn re status of abuse settlements.
03/01/2023   IAWN         PD         0.2       1395       279 132246             0.2          0.2           1395           279          79.18      199.82 Telephone call (.1) and emails (.1) with M. Pagay re agenda and
                                                                                                                                                          comments on Plan draft.
03/01/2023   JWL          PD             2     1150      2300 132246              2               2         1150          2300         652.77     1647.23 Call with G. Galardi regarding RU settlement (.5); call with M. Pagay
                                                                                                                                                          and J. Stang regarding plan issues (.4); call with M. Pagay regarding
                                                                                                                                                          open plan issues (.3); respond to J. Weber emails regarding open plan
                                                                                                                                                          items (.6); email J. Stang regarding open plan items (.2);
03/02/2023   JWL          PD         0.7       1150       805 132246             0.7          0.7           1150           805         228.47      576.53 Call with A. Raphael regarding client re Rockefeller (.5); call with G.
                                                                                                                                                          Brown regarding Rockefeller claimants (.2);
03/02/2023   JWL          PD         0.6       1150       690 132246             0.6          0.6           1150           690         195.83      494.17 Call with M. Pagay re Rockefeller
03/02/2023   JWL          PD         0.5       1150       575 132246             0.5          0.5           1150           575         163.19      411.81 Calls with M. Pagay re Rockefeller (.3); and re Plan (.2)
03/02/2023   MSP          PD         0.6       1295       777 132246             0.6          0.6           1295           777         220.52      556.48 Telephone call with J. Lucas regarding Plan and Rockefeller issues.
03/02/2023   MSP          PD         6.1       1295    7899.5 132246             6.1          6.1           1295        7899.5           2242      5657.5 Work on Plan and Rockefeller issues, including allocation protocol
                                                                                                                                                          (5.7); email exchange with J. Stang, G. Brown, J. Lucas, R. Liguori, G.
                                                                                                                                                          Galardi, A. Mathieu, A. Raphael, et al. regarding same (.40).
03/02/2023   MSP          PD         3.7       1295    4791.5 132246             3.7          3.7           1295        4791.5         1359.9      3431.6 Attention to Rockefeller potential resolution issues (3.6); email
                                                                                                                                                          exchange with J. Lucas, G. Brown, et al. regarding same (.10).
03/02/2023   GNB          PD         0.3        975     292.5 132246             0.3          0.3            975         292.5          83.02      209.48 Email with PSZJ team regarding Rockefeller University.
03/02/2023   GNB          PD         0.2        975       195 132246             0.2          0.2            975           195          55.34      139.66 Prepare data for Gregg Galardi regarding Rockefeller University claims.
03/02/2023   GNB          PD         2.1        975    2047.5 132246             2.1          2.1            975        2047.5         581.11     1466.39 Analyze information from state court counsel regarding lawsuits again
                                                                                                                                                          Rockefeller University.
03/02/2023   GNB          PD         0.5        975     487.5 132246             0.5          0.5            975         487.5         138.36      349.14 Draft email to state court counsel regarding Rockefeller.
03/02/2023   GNB          PD         0.1        975      97.5 132246             0.2          0.2            975           195          55.34      139.66 Telephone conference with John W. Lucas regarding Rockefeller.
03/03/2023   GNB          PD         0.3        975     292.5 132246             0.3          0.3            975         292.5          83.02      209.48 Email with PSZJ team regarding lawsuits against Rockefeller.
03/03/2023   GNB          PD         0.1        975      97.5 132246             0.1          0.1            975          97.5          27.67       69.83 Review emails from Jason Sandler and Amy Mathieu regarding
                                                                                                                                                          lawsuits against Rockefeller.
03/03/2023   GNB          PD         0.1        975      97.5 132246             0.1          0.1            975          97.5          27.67       69.83 Email Barbara Hart and Gordon Novod regarding lawsuits against
                                                                                                                                                          Rockefeller.
03/03/2023   GNB          PD         1.3        975    1267.5 132246             1.3          1.3            975        1267.5         359.74      907.76 Continue synthesis of information from state court counsel regarding
                                                                                                                                                          lawsuits against Rockefeller University.
03/03/2023   MSP          PD         4.4       1295      5698 132246             4.4          4.4           1295          5698        1617.18     4080.82 Work on Plan and Rockefeller issues (3.9); email exchange with G.
                                                                                                                                                          Brown, J. Lucas, S. Gershowitz, A. Mathieu, M. Lane, J. Sandler, J.
                                                                                                                                                          Weber, S. Hasan, et al. regarding same (.50).
03/03/2023   MSP          PD         2.4       1295      3108 132246             2.4          2.4           1295          3108          882.1      2225.9 Review and analysis of Rockefeller claims (2.2); email exchange with J.
                                                                                                                                                          Lucas, G. Brown regarding same (.20).
03/03/2023   MSP          PD         0.3       1295     388.5 132246             0.3          0.3           1295         388.5         110.26      278.24 Telephone calls (2: .20; .10) with J. Lucas regarding Plan and
                                                                                                                                                          Rockefeller issues.
03/03/2023   MSP          PD         0.5       1295     647.5 132246             0.5          0.5           1295         647.5         183.77      463.73 Telephone conference with J. Weber, M. Levi, J. Lucas, et al. regarding
                                                                                                                                                          Plan status.
03/03/2023   MSP          PD         0.2       1295       259 132246             0.2          0.2           1295           259          73.51      185.49 Telephone calls (2) with J. Lucas regarding Plan and Rockefeller
                                                                                                                                                          issues.
03/03/2023   JIS          PD         0.1       1695     169.5 132246             0.1          0.1           1695         169.5          48.11      121.39 Email J. Lucas regarding Debtor's response to open plan issues.
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                    Narrative
                          Code                                          Hours          Quantity                  Amount        Discount       Total
03/03/2023   JWL           PD        0.5       1150       575 132246             0.5           0.5        1150           575         163.19      411.81 Call with J. Weber, Pillsbury, M. Levi, and M. Pagay regarding plan
                                                                                                                                                        terms (.5);
03/03/2023   JWL          PD         0.5       1150       575 132246             0.5           0.5       1150           575         163.19       411.81 Calls with M. Pagay re Rockefeller (.3); and re Plan (.2).
03/04/2023   MSP          PD             6     1295      7770 132246              6             6        1295          7770        2205.24     5564.76 Work on Plan and Rockefeller issues, including amount of Rockefeller
                                                                                                                                                       claims (5.6); email exchange with S. Gershowitz, G. Brown, J. Amala, J.
                                                                                                                                                       Lucas, et al. regarding same (.40).
03/04/2023   GNB          PD         0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email with PSZJ team regarding Rockefeller analyses.
03/04/2023   GNB          PD         0.8        975       780 132246             0.8           0.8        975           780         221.38      558.62 Further synthesis of information from state court counsel regarding
                                                                                                                                                       lawsuits against Rockefeller University (.4); Email with PSZJ team
                                                                                                                                                       regarding same (.4).
03/05/2023   MSP          PD         3.9       1295    5050.5 132246             3.9           3.9       1295        5050.5        1433.41     3617.09 Work on Plan and Rockefeller issues (3.8); email exchange with J.
                                                                                                                                                       Lucas, et al. regarding same (.10).
03/06/2023   JWL          PD         6.6       1150      7590 132246             6.6           6.6       1150          7590        2154.16     5435.84 Review Rockefeller related claims (.9); call with J. Merson regarding
                                                                                                                                                       Rockefeller (.4); call with Galardi regarding same (.2); calls with M.
                                                                                                                                                       Pagay regarding Rockefeller settlement and claims (.3); call with J.
                                                                                                                                                       Amala regarding Rockefeller settlement (.4) call with G. Novod
                                                                                                                                                       regarding Rockefeller settlement (.2): call with J. Stang and M. Pagay
                                                                                                                                                       regarding Rockefeller (.8); call with state court counsel regarding
                                                                                                                                                       Rockefeller settlement (1.1); another call with J. Stang and M. Pagay
                                                                                                                                                       regarding Rockefeller settlement (.3); call with J. Weber regarding
                                                                                                                                                       status of plan (.3); call with R. Ligouri regarding status of plan (.4);
                                                                                                                                                       review revised plan (1.3);
03/06/2023   MSP          PD         0.3       1295     388.5 132246             0.3           0.3       1295         388.5         110.26      278.24 Multiple calls with J. Lucas regarding Rockefeller issues.
03/06/2023   JIS          PD         1.1       1695    1864.5 132246             1.1           1.1       1695        1864.5         529.17     1335.33 Call with state court counsel regarding Rockefeller University claims.
03/06/2023   JIS          PD         0.3       1695     508.5 132246             0.3           0.3       1695         508.5         144.32      364.18 Call with Malhar Pagay and John Lucas as follow up to state court
                                                                                                                                                       counsel call regarding Rockefeller claims.
03/06/2023   MSP          PD         1.2       1295      1554 132246             1.1           1.1       1295        1424.5         404.29     1020.21 Meeting with counsel with Rockefeller claims before Committee
                                                                                                                                                       meeting.
03/06/2023   JIS          PD         0.8       1695      1356 132246             0.8           0.8       1695          1356         384.85      971.15 Call with Malhar Pagay and John Lucas regarding Plan and
                                                                                                                                                       Rockefeller.
03/06/2023   MSP          PD         0.8       1295      1036 132246             0.8           0.8       1295          1036         294.03      741.97 Meeting with PSZJ regarding Plan, Rockefeller, etc.
03/06/2023   MSP          PD         6.1       1295    7899.5 132246             5.8           5.8       1295          7511        2131.74     5379.26 Work on Plan and Rockefeller issues (4.9); email exchange with J.
                                                                                                                                                       Lucas, J. Weber, B. Baker, G. Galardi, J. Merson, et al. regarding same
                                                                                                                                                       (.60); call with J. Stang and J. Lucas reharding Rockefeller (.3)
03/06/2023   MSP          PD         0.9       1295    1165.5 132246             0.9           0.9       1295        1165.5         330.79      834.71 Review revised solicitation motion and related documents (.8); email
                                                                                                                                                       exchange with J. Lucas, et al. regarding same (.10).
03/06/2023   MSP          PD         0.5       1295     647.5 132246             0.5           0.5       1295         647.5         183.77      463.73 Review proposed Plan timeline (.4); email exchange with J. Lucas, M.
                                                                                                                                                       Levi, et al. regarding same (.10).
03/06/2023   IAWN         PD         0.8       1395      1116 132246             0.8           0.8       1395          1116         316.74      799.26 Telephone call with state court counsel re plan issues
03/06/2023   GNB          PD         0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Telephone conference with John W. Lucas regarding Jordan Merson’s
                                                                                                                                                       clients’ proofs of claims; Review emails between John W. Lucas,
                                                                                                                                                       Jordan Merson, and Gregg Galardi regarding confidentiality.
03/06/2023   GNB          PD         1.2        975      1170 132246             1.2           1.2        975          1170         332.06      837.94 PSZJ call with subset of state court counsel and Jordan Merson
                                                                                                                                                       regarding Rockefeller litigation.
03/07/2023   IAWN         PD         0.2       1395       279 132246             0.2           0.2       1395           279          79.18      199.82 Create and send M. Pagay and J. Lucas individual explanations re
                                                                                                                                                       changes
03/07/2023   GNB          PD         0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Review John W. Lucas’s email regarding yesterday’s discussion with
                                                                                                                                                       Committee concerning Plan.
03/07/2023   MSP          PD         0.9       1295    1165.5 132246             0.9           0.9       1295        1165.5         330.79      834.71 Meeting with G. Galardi, state court counsel, et al. regarding
                                                                                                                                                       Rockefeller issues.
03/07/2023   JIS          PD         0.3       1695     508.5 132246             0.3           0.3       1695         508.5         144.32      364.18 Call J. Lucas regarding plan issues.
03/07/2023   JIS          PD         0.8       1695      1356 132246             0.8           0.8       1695          1356         384.85      971.15 Call with G. Gallardi regarding Rockefeller U settlement.
03/07/2023   IAWN         PD         2.3       1395    3208.5 132246             2.3           2.3       1395        3208.5         910.62     2297.88 Review redline and analyze Plevin letter
03/07/2023   JIS          PD         0.2       1695       339 132246             0.2           0.2       1695           339          96.21      242.79 Call J. Lucas regarding open plan issues.
03/07/2023   JIS          PD         0.2       1695       339 132246             0.2           0.2       1695           339          96.21      242.79 Call J. Lucas regarding plan issues.
03/07/2023   MSP          PD         4.6       1295      5957 132246             4.6           4.6       1295          5957        1690.69     4266.31 Work on Plan and Rockefeller issues, including Compensation Trust
                                                                                                                                                       Agreement (4.5); email exchange with S. Gershowitz, J. Lucas, S.
                                                                                                                                                       Hasan, et al. regarding same (.10).
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  Date       Timekeeper   Task   Hours       Rate     Amount    Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                       Narrative
                          Code                                           Hours          Quantity                  Amount        Discount       Total
03/07/2023   JWL           PD            5     1150      5750 132246              4.9           4.9        1150          5635         1599.3      4035.7 Respond to S. Gershowitz email re plan terms (.6); call with J. Amala re
                                                                                                                                                         plan terms (.3); call with G. Novod regarding plan terms (.2); call with J.
                                                                                                                                                         Scotto regarding plan terms (.5); call with L. Leder regarding plan terms
                                                                                                                                                         (.3); call with D. Ellis regarding plan terms (.3); call with J. Stang
                                                                                                                                                         regarding response to state court counsel re plan terms (.2); call with
                                                                                                                                                         Rockefeller counsel, Madison counsel, and PSZJ regarding plan
                                                                                                                                                         settlement issues (.8); follow up call with J. Stang regarding same (.2);
                                                                                                                                                         call with J. Weber regarding plan settlement issues (.5); review and
                                                                                                                                                         revise plan in response to Paul Weiss and Federal changes (1.0);
03/08/2023   JWL          PD         3.4       1150      3910 132246              3.4           3.4       1150          3910        1109.72     2800.28 Review and revise plan (1.2); attend PSZJ call with counsel to
                                                                                                                                                         committee members regarding Rockefeller settlement (.8); follow up
                                                                                                                                                         call with M. Pagay regarding Rockefeller (.2); call with J. Weber
                                                                                                                                                         regarding plan changes (.3); review questions from J. Weber regarding
                                                                                                                                                         open plan issues (.3); call with J. Weber regarding the same (.2); call
                                                                                                                                                         with J. Stang regarding plan and Rockefeller (.4);
03/08/2023   MSP          PD         8.1       1295    10489.5 132246             8.1           8.1       1295       10489.5        2977.08     7512.42 Work on Plan and Rockefeller issues, including Plan cash projections
                                                                                                                                                         (7.5); email exchange with J. Lucas, M. Levi, J. Freeman, L. Leder, J.
                                                                                                                                                         Weber, S. Gershowitz, G. Novod, D. Ellis, G. Galardi, G. Brown, T.
                                                                                                                                                         Rizvi, S. Landgraber, et al. regarding same (.60).
03/08/2023   MSP          PD         0.2       1295       259 132246              0.2           0.2       1295           259          73.51       185.49 Meeting with J. Lucas regarding Rockefeller call follow up.
03/08/2023   JIS          PD         0.4       1695       678 132246              0.4           0.4       1695           678         192.43      485.57 Call J. Lucas regarding Rockefeller University plan issues.
03/08/2023   JIS          PD         0.2       1695       339 132246              0.2           0.2       1695           339          96.21      242.79 (Partial) attend call with counsel regarding plan issues.
03/08/2023   MSP          PD         0.8       1295      1036 132246              0.8           0.8       1295          1036         294.03      741.97 Meeting with counsel with Rockefeller claims regarding follow-up
                                                                                                                                                        regarding Plan and Rockefeller issues.
03/08/2023   GNB          PD         0.1        975       97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Review Jennifer Freeman email to Pillsbury regarding insurance;
                                                                                                                                                        Review John W. Lucas email to Steven Gershowitz regarding Plan.
03/08/2023   GNB          PD         0.1        975       97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email with PSZJ team regarding Rockefeller University discovery;
                                                                                                                                                        Email with PSZJ team regarding meeting with Rockefeller University.
03/08/2023   GNB          PD         0.7        975      682.5 132246             0.7           0.7        975         682.5          193.7       488.8 (Partial) Zoom meeting with state court counsel regarding Rockefeller
                                                                                                                                                        University.
03/09/2023   GNB          PD         0.4        975       390 132246              0.4           0.4        975           390         110.69      279.31 Telephone conference with Malhar S. Pagay, John W. Lucas, Steven
                                                                                                                                                        Landgraber, Tabish Rizvi, and Michael Whalen regarding Plan.
03/09/2023   GNB          PD         0.2        975       195 132246              0.2           0.2        975           195          55.34      139.66 Email PSZJ team regarding Madison claimants with potential claims
                                                                                                                                                        against Rockefeller; Prepare revisions to chart and email Sophia Lee
                                                                                                                                                        regarding edits to same.
03/09/2023   MSP          PD         2.6       1295      3367 132246              2.6           2.6       1295          3367         955.61     2411.39 Work on Plan and Rockefeller issues, including review of insurance
                                                                                                                                                        company comments (2.5); email exchange with J. Lucas, G. Brown, J.
                                                                                                                                                        Weber, J. Weber, et al. regarding same (.10).
03/09/2023   MSP          PD         0.1       1295      129.5 132246             0.5           0.5       1295         647.5         183.77      463.73 Meeting with T. Rizvi, J. Lucas, S. Landgraber, G. Brown regarding
                                                                                                                                                        cash projections.
03/09/2023   JWL          PD         1.5       1150      1725 132246               2             2        1150          2300         652.77     1647.23 Call with J. Weber regarding open plan issues (.5); prepare email
                                                                                                                                                        memo to state court counsel regarding Rockefeller indirect claim issue
                                                                                                                                                        (1.0); call with PSZJ and financial advisors re Plan (.5)
03/10/2023   MSP          PD         3.7       1295     4791.5 132246             3.7           3.7       1295        4791.5         1359.9      3431.6 Work on Plan and Rockefeller issues, including exclusivity motion,
                                                                                                                                                        review of insurance company comments and Rockefeller-related
                                                                                                                                                        claims (3.3); email exchange with I. Nasatir, J. Lucas, S. Hasan, G.
                                                                                                                                                        Brown, G. Galardi, et al. regarding same (.40).
03/10/2023   GNB          PD         0.6        975       585 132246              0.6           0.6        975           585         166.03      418.97 Review edits to chart regarding Madison claimants with potential
                                                                                                                                                        litigation against Rockefeller; Email Sophia Lee regarding additional
                                                                                                                                                        edits.
03/10/2023   GNB          PD         0.1        975       97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email with PSZJ team regarding chart of claimants for Gregg Galardi
                                                                                                                                                        and Rockefeller.
03/10/2023   GNB          PD         0.2        975       195 132246              0.2           0.2        975           195          55.34      139.66 Review bar date order in relation to confidentiality of abuse claims and
                                                                                                                                                        Rockefeller.
03/12/2023   GNB          PD         0.1        975       97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Email with Jason Amala regarding Rockefeller University Hospital.
03/12/2023   IAWN         PD         0.8       1395      1116 132246              0.8           0.8       1395          1116         316.74      799.26 Review language changes in plan and comments
03/12/2023   MSP          PD         0.9       1295     1165.5 132246             0.9           0.9       1295        1165.5         330.79      834.71 Work on Plan and Rockefeller issues (.7); email exchange with I.
                                                                                                                                                        Nasatir, G. Brown, J. Lucas, et al. regarding same (.20).
03/13/2023   JWL          PD         0.4       1150       460 132246              0.4           0.4       1150           460         130.55      329.45 Plan update call with M. Pagay and G. Brown (.4);
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                   Narrative
                          Code                                          Hours          Quantity                  Amount        Discount       Total
03/13/2023   MSP           PD        0.2       1295       259 132246             0.2           0.2        1295           259          73.51      185.49 Email J. Lucas regarding Plan issues.
03/13/2023   MSP          PD         0.8       1295      1036 132246             0.8           0.8       1295          1036         294.03      741.97 Work on Plan and Rockefeller issues (.7); email exchange with J.
                                                                                                                                                       Lucas, G. Brown, L. Leder, et al. regarding same (.10).
03/13/2023   MSP          PD         0.4       1295       518 132246             0.4           0.4       1295           518         147.02      370.98 Telephone conference with J. Lucas, G. Brown regarding action items
                                                                                                                                                       regarding Plan, etc.
03/13/2023   MSP          PD         0.5       1295     647.5 132246             0.5           0.5       1295         647.5         183.77      463.73 Begin work on compensation trust agreement.
03/13/2023   GNB          PD         0.4        975       390 132246             0.4           0.4        975           390         110.69      279.31 Telephone conference with Malhar S. Pagay and John W. Lucas
                                                                                                                                                       regarding Plan issues
03/13/2023   GNB          PD         0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Review third motion to extend plan and solicitation exclusivity; Email
                                                                                                                                                       PSZJ team regarding same.
03/14/2023   GNB          PD         0.1        975      97.5 132246             0.1           0.1        975          97.5          27.67       69.83 Review comparison of Gregg Galardi chart of claims with PSZJ chart.
03/14/2023   IAWN         PD         0.1       1395     139.5 132246             0.1           0.1       1395         139.5          39.59       99.91 Exchange emails with J. Lucas and M. Pagay re insurance inquiries
03/14/2023   MSP          PD         0.5       1295     647.5 132246             0.5           0.5       1295         647.5         183.77      463.73 Work on compensation trust agreement (.4); email exchange with I.
                                                                                                                                                       Scharf regarding same (.10).
03/14/2023   MSP          PD         1.1       1295    1424.5 132246             1.1           1.1       1295        1424.5         404.29     1020.21 Work on Plan and Rockefeller issues, including insurer comments on
                                                                                                                                                       Plan (.9); email exchange with I. Nasatir, J. Lucas, G. Galardi, J. Weber,
                                                                                                                                                       et al. regarding same (.20).
03/14/2023   JWL          PD         1.8       1150      2070 132246             1.8           1.8       1150          2070          587.5      1482.5 Call with L. Leder and J. Schulman regarding Rockefeller indirect claim
                                                                                                                                                       issue (.3); call with S. Gershowitz regarding same (.3); call with D. Ellis
                                                                                                                                                       regarding same (.3); review plan changes in response to Madison
                                                                                                                                                       comments (.6); call with J. Weber regarding plan issues (.3);
03/15/2023   JWL          PD         1.4       1150      1610 132246             1.4           1.4       1150          1610         456.94     1153.06 Call with J. Weber regarding plan issues (.2); emails with counsel to
                                                                                                                                                       committee members regarding Rockefeller issues (.5); call with J.
                                                                                                                                                       Amala regarding open plan issues (.7);
03/15/2023   MSP          PD         1.4       1295      1813 132246             1.4           1.4       1295          1813         514.56     1298.44 Work on Plan and Rockefeller issues (1.3); email exchange with J.
                                                                                                                                                       Lucas, J. Weber, B. Hart, et al. regarding same (.10).
03/15/2023   MSP          PD         0.5       1295     647.5 132246             0.5           0.5       1295         647.5         183.77      463.73 Work on Compensation Trust Agreement (.4); email exchange with I.
                                                                                                                                                       Scharf, et al. regarding same (.10).
03/16/2023   MSP          PD         0.5       1295     647.5 132246             0.5           0.5       1295         647.5         183.77      463.73 Work on Plan and Rockefeller issues (.4); email exchange with J.
                                                                                                                                                       Weber, et al. re: same (.10).
03/17/2023   MSP          PD         1.9       1295    2460.5 132246             1.9           1.9       1295        2460.5         698.33     1762.17 Work on Plan and Rockefeller issues (1.7); email exchange with L.
                                                                                                                                                       Leder, D. Ellis, S. Gershowitz, B. Hart, G. Mabile, J. Lucas, L.
                                                                                                                                                       Liberman, S. Hasan, J. Weber, et al. re: same (.20).
03/20/2023   MSP          PD         2.2       1295      2849 132246             2.2           2.2       1295          2849         808.59     2040.41 Work on draft of Compensation Trust Agreement.
03/21/2023   MSP          PD         4.2       1295      5439 132246             4.2           4.2       1295          5439        1543.67     3895.33 Work on Plan and Rockefeller issues (4.0); email exchange with J.
                                                                                                                                                       Lucas, J. Stang, T. Zelinger, J. Weber, et al. regarding same (.20).
03/21/2023   JWL          PD             2     1150      2300 132246              2             2        1150          2300         652.77     1647.23 Attend settlement discussion with Rockefeller (.7) and counsel to
                                                                                                                                                       committee members re plan (.3); call with M. Pagay regarding open
                                                                                                                                                       plan issues (.5); call with J. Weber regarding plan issues and
                                                                                                                                                       Rockefeller (.5);
03/21/2023   JIS          PD         0.2       1695       339 132246             0.2           0.2       1695           339          96.21      242.79 Review email from Jason Amala regarding treatment of contingent
                                                                                                                                                       claim.
03/21/2023   MSP          PD             1     1295      1295 132246              1             1        1295          1295         367.54      927.46 Attend Rockefeller presentation (.70) and follow-up meeting with state
                                                                                                                                                       court counsel (.30).
03/21/2023   MSP          PD         2.3       1295    2978.5 132246             2.3           2.3       1295        2978.5         845.34     2133.16 Work on draft of Compensation Trust Agreement.
03/22/2023   MSP          PD         0.1       1295     129.5 132246             0.1           0.1       1295         129.5          36.75       92.75 Email exchange with J. Lucas, et al. regarding Rockefeller potential
                                                                                                                                                       resolution.
03/22/2023   JIS          PD         0.6       1695      1017 132246             0.6           0.6       1695          1017         288.64      728.36 Call with Jason Amala regarding treatment of RU contingent claim.
03/22/2023   JIS          PD         0.3       1695     508.5 132246             0.3           0.3       1695         508.5         144.32      364.18 Call with John Lucas regarding treatment of Rockefeller U. claim under
                                                                                                                                                       plan.
03/22/2023   IAWN         PD         0.3       1395     418.5 132246             0.3           0.3       1395         418.5         118.78      299.72 Exchange emails with J. Lucas re releases
03/22/2023   JWL          PD         1.8       1150      2070 132246             2.1           2.1       1150          2415         685.41     1729.59 Email to T. Rizvi regarding modeling distributions to survivors and
                                                                                                                                                       Rockefeller (1.0); review trust agreement and send emails to I. Nasatir
                                                                                                                                                       regarding the same (8); call with J. Stang regarding Rockefeller claim (.
                                                                                                                                                       3)
03/22/2023   MSP          PD         2.9       1295    3755.5 132246             2.9           2.9       1295        3755.5        1065.87     2689.63 Work on draft of Compensation Trust Agreement (2.8); email exchange
                                                                                                                                                       with I. Nasatir, J. Lucas regarding same (.10).
03/23/2023   JWL          PD         0.4       1150       460 132246             0.4           0.4       1150           460         130.55      329.45 Calls with M. Pagay re Plan issues.
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed        Billed Rate    Billed        Billed        Billed                                   Narrative
                          Code                                          Hours          Quantity                     Amount        Discount       Total
03/23/2023   JWL           PD            1     1150      1150 132246              1               1         1150           1150         326.39      823.61 Work on distribution model for contribution claim under plan (1.0);
03/23/2023   MSP          PD         0.4       1295       518 132246             0.4          0.4           1295           518         147.02      370.98 Telephone calls (2: .20; .20) with J. Lucas regarding Open Plan issues.
03/24/2023   MSP          PD         2.9       1295    3755.5 132246             2.9          2.9           1295        3755.5        1065.87     2689.63 Review and revise Compensation Trust Agreement per comments
                                                                                                                                                          (2.8); email exchange with J. Lucas, I. Nasatir regarding same (.10).
03/24/2023   MSP          PD         1.8       1295      2331 132246             1.8          1.8           1295          2331         661.57     1669.43 Work on Plan and Rockefeller issues, including revised Disclosure
                                                                                                                                                          Statement and Plan review (1.7); email exchange with S. Hasan, J.
                                                                                                                                                          Weber, J. Lucas, et al. regarding same (.10).
03/24/2023   JWL          PD             1     1150      1150 132246              1               1         1150          1150         326.39      823.61 Call with T. Rizvi and M. Whalen regarding plan distributions (.7);
                                                                                                                                                          review the model regarding the same (.3);
03/25/2023   MSP          PD         2.5       1295    3237.5 132246             2.5          2.5           1295        3237.5         918.85     2318.65 Review and revise Compensation Trust Agreement per comments
                                                                                                                                                          (2.4); email exchange with J. Lucas, I. Nasatir regarding same (.10).
03/27/2023   MSP          PD         0.1       1295     129.5 132246             0.1          0.1           1295         129.5          36.75       92.75 Email exchange with L. Liberman, et al. re: Committee support letter
                                                                                                                                                          and Plan documents.
03/28/2023   MSP          PD         0.4       1295       518 132246             0.4          0.4           1295           518         147.02      370.98 Telephone calls (2: .30; .10) with J. Lucas re: Open Plan issues.
03/28/2023   MSP          PD         0.4       1295       518 132246             0.4          0.4           1295           518         147.02      370.98 Email exchange with A. Halperin, J. Lucas, L. Busch, et al. re:
                                                                                                                                                          Compensation Trust Agreement, etc.
03/28/2023   GNB          PD         0.1        975      97.5 132246             0.1          0.1            975          97.5          27.67       69.83 Read email from John W. Lucas to Committee regarding Rockefeller;
                                                                                                                                                          Email John W. Lucas regarding same.
03/28/2023   JWL          PD             3     1150      3450 132246             3.4          3.4           1150          3910        1109.72     2800.28 Call with A. Raphael regarding plan status (.3); review and revise Trust
                                                                                                                                                          Agreement and send to committee and Madison (1.4); draft committee
                                                                                                                                                          support letter (1.3); two calls with M. Pagay regarding Plan (.4).
03/28/2023   MSP          PD         0.8       1295      1036 132246             0.8          0.8           1295          1036         294.03      741.97 Revise Committee plan support letter (.7); email exchange with J.
                                                                                                                                                          Lucas re: same (.10).
03/28/2023   MSP          PD         3.1       1295    4014.5 132246             3.1          3.1           1295        4014.5        1139.38     2875.12 Work on Plan and Rockefeller issues, including finalizing Plan related
                                                                                                                                                          documents, Allocation Protocol, etc. (2.8); email exchange with G.
                                                                                                                                                          Brown, J. Lucas, J. Weber, L. Liberman, state court counsel, et al. re:
                                                                                                                                                          same (.30).
03/29/2023   MSP          PD         2.3       1295    2978.5 132246             2.3          2.3           1295        2978.5         845.34     2133.16 Review revised allocation protocol (2.2); email exchange with J. Lucas,
                                                                                                                                                          et al. re: same (.10).
03/29/2023   MSP          PD         5.6       1295      7252 132246             5.6          5.6           1295          7252        2058.23     5193.77 Work on Plan and Rockefeller issues, including revised Compensation
                                                                                                                                                          Trust Agreement (5.3); email exchange with J. Lucas, G. Brown, I.
                                                                                                                                                          Nasatir, J. Weber, L. Varga, et al. re: same (.30).
03/29/2023   JWL          PD         1.6       1150      1840 132246              2               2         1150          2300         652.77     1647.23 Review proposed changes by Madison to the allocation protocol (.5);
                                                                                                                                                          revise committee support letter (.3); call with Madison's counsel
                                                                                                                                                          regarding discovery, trust agreement (.8); call with J. Stang regarding
                                                                                                                                                          Committee letter to class (.2); call with M. Pagay re edits to Plan (.2)
03/29/2023   MSP          PD         0.8       1295      1036 132246             0.8          0.8           1295          1036         294.03      741.97 Meeting with debtors’ counsel re: Compensation Trust Agreement,
                                                                                                                                                          Allocation Protocol and other Plan issues.
03/29/2023   MSP          PD         0.2       1295       259 132246             0.2          0.2           1295           259          73.51      185.49 Telephone call with J. Lucas re: Open Plan items.
03/29/2023   IAWN         PD         0.2       1395       279 132246             0.2          0.2           1395           279          79.18      199.82 Review and comment on release language
03/29/2023   JIS          PD         0.2       1695       339 132246             0.2          0.2           1695           339          96.21      242.79 Call with J. Lucas regarding committee recommendation letter.
03/30/2023   MSP          PD         0.4       1295       518 132246             0.4          0.4           1295           518         147.02      370.98 Telephone calls (2: .20; .20) with G. Brown regarding Rockefeller
                                                                                                                                                          discovery issues.
03/30/2023   GNB          PD         0.1        975      97.5 132246             0.4          0.4            975           390         110.69      279.31 Telephone conferences with Malhar S. Pagay in advance of
                                                                                                                                                          tomorrow's call with Paul Weiss regarding Rockefeller discovery.
03/30/2023   MSP          PD         4.5       1295    5827.5 132246             4.5          4.5           1295        5827.5        1653.93     4173.57 Work on Rockefeller and Plan issues (4.4); email exchange with G.
                                                                                                                                                          Brown, J. Lucas regarding same (.10).
03/31/2023   MSP          PD         4.9       1295    6345.5 132246             4.9          4.9           1295        6345.5        1800.95     4544.55 Work on Plan and Rockefeller issues (4.8); email exchange with J.
                                                                                                                                                          Lucas, L. Liberman, et al. regarding same (.10).
03/31/2023   MSP          PD         0.5       1295     647.5 132246             0.5          0.5           1295         647.5         183.77      463.73 Attention to potential discovery issues (.4); email exchange with J.
                                                                                                                                                          Lucas, G. Brown, et al. regarding same (.10).
03/31/2023   GNB          PD         0.3        975     292.5 132246             0.3          0.3            975         292.5          83.02      209.48 Telephone conference with Malhar S. Pagay and Paul Weiss team
                                                                                                                                                          regarding Rockefeller discovery relating to Plan confirmation.
03/31/2023   MSP          PD         0.3       1295     388.5 132246             0.3          0.3           1295         388.5         110.26      278.24 Meeting with G. Brown, J. Weber, L. Varga, et al. regarding Rockefeller
                                                                                                                                                          discovery.
04/01/2023   MSP          PD         0.2       1295       259 132389             0.2          0.2           1295           259          71.81      187.19 Communications with J. Lucas re: Plan issues.
04/03/2023   MSP          PD         0.4       1295       518 132389             0.4          0.4           1295           518         143.62      374.38 Communications with J. Lucas re: Plan revisions.
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed         Billed        Billed                                   Narrative
                          Code                                          Hours          Quantity                  Amount         Discount       Total
04/04/2023   GNB           PD        0.1        975      97.5 132389             0.1           0.1         975           97.5          27.03       70.47 Review email from John W. Lucas to Committee regarding Rockefeller;
                                                                                                                                                         Email John W. Lucas regarding stipulation between Debtor and
                                                                                                                                                         Rockefeller concerning documents.
04/04/2023   MSP          PD         0.2       1295       259 132389             0.2           0.2       1295           259           71.81       187.19 Telephone call with J. Lucas re: Plan revisions.
04/04/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5            35.9        93.6 Email exchange with J. Lucas, et al. re: Rockefeller discussions.
04/04/2023   JWL          PD         2.5       1150      2875 132389             2.5           2.5       1150          2875          797.12     2077.88 Call with J. Weber regarding plan changes (.3); call with G. Novod
                                                                                                                                                        regarding 502(j) issues (.4); call with S. Gershowitz regarding 502(j)
                                                                                                                                                        issues (.3); draft 502(j) treatment to counsel to committee members
                                                                                                                                                        (1.5);
04/05/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5            35.9        93.6 Email exchange with I. Nasatir, J. Lucas re: Plan revisions.
04/05/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5            35.9        93.6 Email exchange with J. Weber, J. Lucas, et al. re: Plan status.
04/05/2023   MSP          PD             2     1295      2590 132389              2             2        1295          2590           718.1      1871.9 Work on Plan issues (1.80); email exchange with J. Weber, J. Lucas, I.
                                                                                                                                                        Nasatir, L. Liberman, et al. re: same (.20).
04/06/2023   JWL          PD         1.8       1150      2070 132389             1.8           1.8       1150          2070          573.93     1496.07 Review and revise plan, plan support letter, and allocation protocol (.8);
                                                                                                                                                        call with I. Nasatir and M. Pagay regarding plan changes regarding
                                                                                                                                                        insurance issues (1.0);
04/06/2023   IAWN         PD             1     1395      1395 132389              1             1        1395          1395          386.78     1008.22 Telephone call with Malhar S. Pagay and John W. Lucas re plan
                                                                                                                                                        language
04/06/2023   IAWN         PD         0.2       1395       279 132389             0.2           0.2       1395           279           77.36      201.64 Review John W. Lucas added language and respond with change
04/06/2023   IAWN         PD         1.5       1395    2092.5 132389             1.5           1.5       1395        2092.5          580.16     1512.34 Review plan re insurance issues
04/06/2023   MSP          PD             1     1295      1295 132389              1             1        1295          1295          359.05      935.95 Meeting by phone with J. Lucas, I. Nasatir re: Plan changes.
04/06/2023   MSP          PD         0.4       1295       518 132389             0.4           0.4       1295           518          143.62      374.38 Communications with J. Lucas re: allocation protocol, etc.
04/06/2023   MSP          PD         0.8       1295      1036 132389             0.8           0.8       1295          1036          287.24      748.76 Revise Allocation Protocol (.70); email exchange with J. Lucas, L.
                                                                                                                                                        Liberman, et al. re: same (.10).
04/06/2023   MSP          PD         0.3       1295     388.5 132389             0.3           0.3       1295         388.5          107.71      280.79 Email exchange with L. Liberman, J. Weber, J. Lucas, et al. re:
                                                                                                                                                        Compensation Trust Agreement.
04/06/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5            35.9        93.6 Email exchange with L. Liberman, et al. re: comments on Plan.
04/06/2023   MSP          PD         0.9       1295    1165.5 132389             0.9           0.9       1295        1165.5          323.14      842.36 Work on Plan-related issues (.80); email exchange with J. Lucas, I.
                                                                                                                                                        Nasatir, J. Weber, et al. re: same (.10).
04/07/2023   MSP          PD         1.1       1295    1424.5 132389             1.1           1.1       1295        1424.5          394.95     1029.55 Work on revised Plan matters; email exchange with J. Weber, L.
                                                                                                                                                        Liberman, J. Lucas, et al. regarding same (.10).
04/07/2023   MSP          PD         7.4       1295      9583 132389             7.4           7.4       1295          9583         2656.97     6926.03 Review and comment on revised Compensation Trust Agreement and
                                                                                                                                                        proposed trustee's comments thereon (7.20); telephone call with J.
                                                                                                                                                        Lucas re: same (.10); email exchange with J. Weber et al. re: same (.
                                                                                                                                                        10).
04/07/2023   MSP          PD         0.8       1295      1036 132389             0.8           0.8       1295          1036          287.24      748.76 Meeting with J. Weber, L Liberman, and J. Lucas. re: Rockefeller
                                                                                                                                                        claims.
04/07/2023   MSP          PD         2.9       1295    3755.5 132389             2.9           2.9       1295        3755.5         1041.24     2714.26 Work on operational entity issues (2.80); email exchange with S.
                                                                                                                                                        Golden, L. Forrester, et al. regarding same (.10).
04/07/2023   JWL          PD         1.5       1150      1725 132389             1.5           1.5       1150          1725          478.27     1246.73 Call with J. Weber, L. Leiberman, M. Pagay regarding changes to the
                                                                                                                                                        plan (.8); review trustee's changes to trust agreement (.7);
04/10/2023   HCK          PD         0.2       1550       310 132389             0.2           0.2       1550           310           85.95      224.05 Confer with J. Lucas re grantor trust / QSF trust agreement issues.
04/10/2023   JIS          PD         0.2       1695       339 132389             0.2           0.2       1695           339           93.99      245.01 Call J. Lucas re trust structure.
04/10/2023   MSP          PD         1.3       1295    1683.5 132389             1.3           1.3       1295        1683.5          466.76     1216.74 Meeting with A. Halperin, J. Lucas, et al. regarding Trust documents.
04/10/2023   MSP          PD         3.7       1295    4791.5 132389             3.7           3.7       1295        4791.5         1328.48     3463.02 Revise Compensation Trust Agreement (2.80); email exchange with J.
                                                                                                                                                        Lucas, G. Brown, A. Halperin, et al. regarding same (.90).
04/10/2023   MSP          PD         0.4       1295       518 132389             0.4           0.4       1295           518          143.62      374.38 Telephone calls (4) with J. Lucas regarding Plan issues.
04/10/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5            35.9        93.6 Email exchange with J. Lucas regarding Compensation Trust
                                                                                                                                                        Agreement.
04/10/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5            35.9        93.6 Email exchange with A. Halperin, et al. regarding Plan and Disclosure
                                                                                                                                                        Statement.
04/10/2023   MSP          PD         0.9       1295    1165.5 132389             0.9           0.9       1295        1165.5          323.14      842.36 Work on Plan and trust issues (.70); email exchange with J. Lucas, B.
                                                                                                                                                        Hart, et al. regarding same (.20).
04/10/2023   JWL          PD         2.8       1150      3220 132389             2.8           2.8       1150          3220          892.77     2327.23 Call with M. Pagay and proposed compensation trustee regarding trust
                                                                                                                                                        agreement and allocation protocol (1.3); review Madison changes to
                                                                                                                                                        plan and trust agreement (1.0); email to state court counsel regarding
                                                                                                                                                        the same (.5);
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                          Code                                          Hours          Quantity                  Amount        Discount       Total
04/11/2023   JWL           PD        0.7       1150       805 132389             0.7           0.7        1150           805         223.19      581.81 Call with J. Freeman regarding contribution claim issues under plan (.
                                                                                                                                                        5); call with J. Weber regarding same (.2);
04/11/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5           35.9         93.6 Telephone call with J. Lucas regarding Plan issues.
04/11/2023   MSP          PD             1     1295      1295 132389              1             1        1295          1295         359.05      935.95 Work on Compensation Trust Agreement (.90); email exchange with J.
                                                                                                                                                       Lucas, J. Goldberg, A. Halperin, et al. regarding same (.10).
04/12/2023   MSP          PD         3.7       1295    4791.5 132389             3.7           3.7       1295        4791.5        1328.48     3463.02 Revise Compensation Trust Agreement and address other Plan issues
                                                                                                                                                       (3.10); telephone calls (3: .20; .20; .10) with J. Lucas regarding same (.
                                                                                                                                                       5); email exchange with J. Lucas, L. Liberman, et al. regarding same (.
                                                                                                                                                       10).
04/12/2023   BDD          PD         0.1        545      54.5 132389             0.1           0.1        545          54.5          15.11       39.39 Email G. Brown re hearing to consider conditional approval of
                                                                                                                                                       disclosure statement.
04/12/2023   JWL          PD         3.8       1150      4370 132389             3.8           3.8       1150          4370        1211.62     3158.38 Call with J. Amala regarding contribution issues under plan (.8); review
                                                                                                                                                       changes to trust agreement and allocation protocol (1.2); review final
                                                                                                                                                       changes to plan and disclosure statement (.8); email to committee
                                                                                                                                                       outlining the plan, disclosure statement, and solicitation motion and
                                                                                                                                                       next steps (.5); calls with M. Pagay regarding Plan (.5)
04/13/2023   BDD          PD         0.1        545      54.5 132389             0.1           0.1        545          54.5          15.11       39.39 Review pleading re Debtor's Conditional Approval of Disclosure
                                                                                                                                                       Statement and email B. Anavim re same.
04/13/2023   MSP          PD         0.5       1295     647.5 132389             0.5           0.5       1295         647.5         179.52      467.98 Telephone calls (2: .10; .40) with J. Lucas regarding Plan issues.
04/14/2023   MSP          PD         0.5       1295     647.5 132389             0.5           0.5       1295         647.5         179.52      467.98 Communications with J. Lucas regarding Plan issues.
04/15/2023   JIS          PD         0.2       1695       339 132389             0.2           0.2       1695           339          93.99      245.01 Call J. Lucas regarding status of plan and disclosure statement.
04/15/2023   JIS          PD         0.4       1695       678 132389             0.4           0.4       1695           678         187.98      490.02 Call M. Pagay regarding status of plan and disclosure statement.
04/17/2023   MSP          PD         1.8       1295      2331 132389             1.8           1.8       1295          2331         646.29     1684.71 Work on Plan child safety protocols and Compensation Trust
                                                                                                                                                       Agreement issues regarding proposed trustee comments etc (1.4).;
                                                                                                                                                       Email exchange with J. Lucas, A. Halperin, J. Weber, L. Liberman,
                                                                                                                                                       Committee members, state court counsel, et al. regarding same (.40).
04/17/2023   MSP          PD         0.8       1295      1036 132389             0.8           0.8       1295          1036         287.24      748.76 Review revised Compensation Trust Agreement (.7); email exchange
                                                                                                                                                       with D. Lieberman, A. Halperin, J. Lucas, J. Goldberg regarding same (.
                                                                                                                                                       10).
04/18/2023   MSP          PD             1     1295      1295 132389              1             1        1295          1295         359.05      935.95 Work on Plan-related issues (.9); email exchange with J. Lucas, J.
                                                                                                                                                       Weber, J. Goldberg, et al. regarding same (.10).
04/18/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Telephone call with J. Lucas regarding Plan issues.
04/24/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Email exchange with J. Sapiro, et al. regarding child safety policies.
04/25/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Telephone call with J. Lucas regarding Plan issues.
04/26/2023   JWL          PD         0.5       1150       575 132389             0.5           0.5       1150           575         159.42      415.58 Call with S. Gershowitz and G. Novod regarding confirmation issues (.
                                                                                                                                                       5);
04/26/2023   JIS          PD         0.2       1695       339 132389             0.2           0.2       1695           339          93.99      245.01 Call with J. Lucas regarding Rockefeller University plan objection.
04/26/2023   JIS          PD         0.5       1695     847.5 132389             0.5           0.5       1695         847.5         234.98      612.52 Call J. Lucas regarding communications with state court counsel
                                                                                                                                                       regarding plan conformation.
04/26/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Email exchange with J. Weber, et al. regarding Rockefeller claims.
04/27/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Email exchange with J. Weber, et al. regarding Navy Yard sale.
04/27/2023   MSP          PD         0.5       1295     647.5 132389             0.5           0.5       1295         647.5         179.52      467.98 Meeting with J. Weber, J. Lucas regarding Plan status.
04/27/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Email exchange with D. Kennedy, et al. regarding Youth Protection
                                                                                                                                                       Committee.
04/27/2023   JIS          PD         0.1       1695     169.5 132389             0.1           0.1       1695         169.5             47       122.5 Call J. Lucas regarding outcome of hearing on approval of disclosure
                                                                                                                                                       statement.
04/27/2023   JWL          PD         1.1       1150      1265 132389             1.1           1.1       1150          1265         350.73      914.27 Call with M. Pagay and J. Weber regarding confirmation issues (.5);
                                                                                                                                                       review revised disclosure statement order and ballots in response to
                                                                                                                                                       court changes (.6);
04/28/2023   JWL          PD         1.3       1150      1495 132389             1.3           1.3       1150          1495          414.7      1080.3 Review filed solicitation order (.5); prepare and email to committee and
                                                                                                                                                       counsel regarding solicitation deadlines (.8);
04/28/2023   BDD          PD         0.1        545      54.5 132389             0.1           0.1        545          54.5          15.11       39.39 Email G. Brown re order approving Disclosure Statement.
04/28/2023   MSP          PD         0.1       1295     129.5 132389             0.1           0.1       1295         129.5           35.9        93.6 Email exchange with Y. Zee, J. Lucas, et al. regarding Navy Yard sale.
05/01/2023   JWL          PD         0.5       1150       575 132643             0.5           0.5       1150           575         137.94      437.06 Respond to solicitation questions from counsel to committee members
                                                                                                                                                       (.5).
05/01/2023   BDD          PD         0.3        545     163.5 132643             0.3           0.3        545         163.5          39.22      124.28 Review Notice re Plan & Disclosure Statement (.10) and emails G.
                                                                                                                                                       Brown and B. Anavim re same (.20).
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed         Billed        Billed                                   Narrative
                          Code                                          Hours          Quantity                  Amount         Discount       Total
05/01/2023   BDD           PD        0.1        545      54.5 132643             0.1           0.1         545           54.5          13.07       41.43 Email G. Brown re Notice of Combined Hearing on Ch. 11 Plan & Final
                                                                                                                                                         Approval of Disclosure Statement.
05/01/2023   MSP          PD         0.1       1295     129.5 132643             0.1           0.1       1295         129.5           31.07        98.43 Email exchange with J. Lucas, J. Weber, et al. regarding Plan
                                                                                                                                                         solicitation.
05/02/2023   MSP          PD         0.2       1295       259 132643             0.2           0.2       1295           259           62.13       196.87 Telephone call with J. Lucas regarding Plan status.
05/02/2023   MSP          PD         0.2       1295       259 132643             0.2           0.2       1295           259           62.13      196.87 Email exchange with J. Lucas, J. Weber, et al. regarding Rockefeller
                                                                                                                                                        stipulation, Plan supplement, etc.
05/02/2023   JWL          PD             2     1150      2300 132643              2             2        1150          2300          551.77     1748.23 Review and comment on compensation note (.5); review and comment
                                                                                                                                                        on plan supplement (1.0); review Rockefeller claim stipulation regarding
                                                                                                                                                        voting and expungement and send summary to committee (.5).
05/03/2023   MSP          PD         0.1       1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Telephone call with J. Lucas regarding Plan status.
05/03/2023   MSP          PD         0.1       1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Email exchange with J. Lucas, B. Hart, D. Ellis, et al. regarding
                                                                                                                                                        Rockefeller issues.
05/03/2023   JWL          PD         2.1       1150      2415 132643             2.1           2.1       1150          2415          579.36     1835.64 Call with S. Gershowitz and J. Freeman regarding Rockefeller issues
                                                                                                                                                        under the plan (1.0); review proposed Rockefeller release re plan (.9);
                                                                                                                                                        call with J. Stang regarding Rockefeller plan issues (.2).
05/03/2023   JIS          PD         0.2       1695       339 132643             0.2           0.2       1695           339           81.33      257.67 Call J. Lucas regarding Madison confirmation issues.
05/04/2023   JWL          PD         2.3       1150      2645 132643             2.3           2.3       1150          2645          634.53     2010.47 Call with S. Gershowitz regarding plan and Rockefeller (.5); call with
                                                                                                                                                        state court counsel regarding plan and Rockefeller (1.4); call with J.
                                                                                                                                                        Weber regarding same (.4).
05/04/2023   MSP          PD         0.1       1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Email exchange with S. Gershowitz, G. Brown, et al. regarding
                                                                                                                                                        Rockefeller discussion.
05/05/2023   MSP          PD         0.5       1295     647.5 132643             0.5           0.5       1295         647.5          155.34      492.16 Email exchange with L. Liberman, J. Lucas, et al. regarding case law
                                                                                                                                                        relevant to potential Plan resolution (.10) and begin review of same (.
                                                                                                                                                        40).
05/08/2023   MSP          PD         0.5       1295     647.5 132643             0.5           0.5       1295         647.5          155.34      492.16 Catch-up meeting with J. Lucas and debtor's counsel regarding Plan
                                                                                                                                                        status.
05/08/2023   JWL          PD             3     1150      3450 132643              3             3        1150          3450          827.65     2622.35 Review Rockefeller discovery protective order and respond to Paul
                                                                                                                                                        Weiss re same (.5); review New York case law regarding contribution
                                                                                                                                                        and limits thereto (2.0); call with J. Weber and M. Pagay regarding
                                                                                                                                                        open plan issues (.5).
05/08/2023   MSP          PD         0.4       1295       518 132643             0.4           0.4       1295           518          124.27      393.73 Telephone calls (2: .20; .20) with J. Lucas regarding Plan status.
05/10/2023   MSP          PD         0.5       1295     647.5 132643             0.5           0.5       1295         647.5          155.34      492.16 Telephone calls (2: .30; .20) with J. Lucas regarding Rockefeller
                                                                                                                                                        issues.
05/10/2023   JWL          PD         2.7       1150      3105 132643             2.7           2.7       1150          3105          744.89     2360.11 Call with J. Weber regarding plan and Rockefeller issues (.3); review
                                                                                                                                                        supplemental disclosure notice (.5); review plan regarding distributions
                                                                                                                                                        under trust (.5); review applicable New York law regarding settling co-
                                                                                                                                                        tortfeasors (1.4).
05/10/2023   GNB          PD         0.1        975      97.5 132643             0.1           0.1        975           97.5          23.39       74.11 Email with Shafaq Hasan and Lauren Varga regarding Debtor
                                                                                                                                                        document production in response to Rockefeller request; Email Beth D.
                                                                                                                                                        Dassa regarding same.
05/11/2023   JWL          PD         1.8       1150      2070 132643             1.8           1.8       1150          2070          496.59     1573.41 Call with A. Levine and S. Gershowitz re plan and Rockfeller issues
                                                                                                                                                        (1.0); call with J. Weber regarding Rockefeller issues and balloting (.3);
                                                                                                                                                        emails with counsel to committee members regarding receipt of and
                                                                                                                                                        missing ballots (.5).
05/11/2023   MSP          PD         0.1       1295     129.5 132643             0.1           0.1       1295         129.5           31.07       98.43 Telephone call with J. Lucas regarding Plan status.
05/11/2023   MSP          PD         0.5       1295     647.5 132643             0.5           0.5       1295         647.5          155.34      492.16 Email exchange with J. Lucas, I. Nasatir, L. Leder, S. Gershowitz, J.
                                                                                                                                                        Weber, S. Kjontvedt, et al. regarding Resolution of Plan issues, voting,
                                                                                                                                                        etc.
05/12/2023   MSP          PD         0.2       1295       259 132643             0.2           0.2       1295           259           62.13      196.87 Email exchange with S. Kjontvedt, J. Freeman, B. Hart, et al. regarding
                                                                                                                                                        voting issues.
05/12/2023   JWL          PD         1.5       1150      1725 132643             1.5           1.5       1150          1725          413.83     1311.17 Emails with Marsh, Eisenhoffer, and Levy law firms regarding new
                                                                                                                                                        ballots and questions regarding solicitation (1.2); emails with Epiq re
                                                                                                                                                        same (.3).

05/15/2023   JIS          PD         0.4       1695       678 132643             0.4           0.4       1695           678          162.65      515.35 Call J. Lucas regarding plan issues, including Rockefeller negotiations.
05/15/2023   GNB          PD         0.3        975     292.5 132643             0.3           0.3        975         292.5           70.17      222.33 Review documents produced by Debtor to Data Site with regard to
                                                                                                                                                        Navy Yard.
05/15/2023   JWL          PD         0.4       1150       460 132643             0.4           0.4       1150           460          110.35      349.65 Call with J. Weber regarding open plan issues (.4).
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                          Code                                          Hours          Quantity                  Amount        Discount       Total
05/15/2023   MSP           PD        0.1       1295     129.5 132643             0.1           0.1        1295         129.5          31.07       98.43 Email exchange with L. Liberman, et al. regarding Disclosure
                                                                                                                                                        Statement supplement.
05/16/2023   JWL          PD         2.3       1150      2645 132643             2.3           2.3       1150          2645         634.53     2010.47 Email to counsel to committee members regarding Rockefeller
                                                                                                                                                        contribution claim issue and plan distributions (1.5); email with J.
                                                                                                                                                        Scotto regarding solicitation issues (.2); email with Levy Konigsberg
                                                                                                                                                        counsel regarding solicitation and ballots (.6).
05/16/2023   GNB          PD         0.1        975      97.5 132643             0.1           0.1        975          97.5          23.39        74.11 Email with Lauren Varga regarding Navy Yard-related documentation in
                                                                                                                                                        Empire DataSite; Email Sophia L. Lee regarding retrieval of same.
05/18/2023   JWL          PD         1.2       1150      1380 132643             1.2           1.2       1150          1380         331.06     1048.94 Review solicitation procedures order and Bankruptcy Rules in
                                                                                                                                                        response to question from committee re voting issues (.6); email to
                                                                                                                                                        committee re same (.6).
05/19/2023   JWL          PD         4.3       1150      4945 132643             4.3           4.3       1150          4945         1186.3       3758.7 Prepare for (.2) and attend call with Paul Weiss, S. Landgraber, and
                                                                                                                                                        Cushman Wakefield regarding sale of Navy Yard (.5); follow up call with
                                                                                                                                                        S. Landgraber re same (.2); call with A. Raphael regarding plan and
                                                                                                                                                        Rockefeller issues (.5) and review release re same (.3); email with J.
                                                                                                                                                        Freeman regarding solicitation issues (.2); review revised plan and
                                                                                                                                                        allocation protocol (.8); call with J. Weber re same (.3); draft summary
                                                                                                                                                        of Navy Yard issues for committee (.4); draft summary of proposed
                                                                                                                                                        plan chages for committee (.9).
05/24/2023   JWL          PD         1.7       1150      1955 132643             1.7           1.7       1150          1955            469         1486 Call with committee and counsel regarding Navy Yard, Rockefeller plan
                                                                                                                                                        impact, and voting (1.3); email to Madison counsel regarding
                                                                                                                                                        Rockefeller treatment (.4).
05/25/2023   GNB          PD         0.1        975      97.5 132643             0.1           0.1        975          97.5          23.39        74.11 Communications with John W. Lucas regarding ballots.
05/25/2023   JWL          PD         7.3       1150      8395 132643             7.3           7.3       1150          8395        2013.96     6381.04 Call with S. Gershowitz re plan issues and voting (.5); call with J. Stang
                                                                                                                                                       re Gershowitz and plan issues (.2); call with S. Gershowitz and Survivor
                                                                                                                                                       client re plan and voting (1.0); call with J. Weber and PW team, M.
                                                                                                                                                       Pagay re plan and voting issues (.6); call with G. Novod regarding plan
                                                                                                                                                       and voting (.5); call with A. Raphael regarding plan and voting issues (.
                                                                                                                                                       6); call with L. Leder regarding plan and voting issues (.5); call with J.
                                                                                                                                                       Amala regarding plan and voting issues (.7); call with J. Stang
                                                                                                                                                       regarding plan and voting issues (.3); call with J. Merson regarding plan
                                                                                                                                                       and voting issues (.4); review voting summary (.3); email with J. Weber
                                                                                                                                                       and L. Lieberman regarding voting issues (.2); call with R. Liguori re
                                                                                                                                                       plan and voting issues (.5); draft email to committee regarding pending
                                                                                                                                                       voting and plan confirmation issues (1.0).
05/25/2023   MSP          PD         0.2       1295       259 132643             0.2           0.2       1295           259          62.13      196.87 Telephone call with J. Lucas regarding Plan status.
05/25/2023   MSP          PD         0.6       1295       777 132643             0.6           0.6       1295           777          186.4       590.6 Meeting with debtor’s counsel regarding status update.
05/26/2023   JWL          PD         1.9       1150      2185 132643             1.9           1.9       1150          2185         524.18     1660.82 Call with J. Weber re voting issues (.3); call with D. Ellis re voting issues
                                                                                                                                                       (.3); review revised plan supplement prior to filing (1.0); emails with R.
                                                                                                                                                       Liguori regarding plan voting issues (.3).
05/30/2023   JWL          PD             2     1150      2300 132643              2             2        1150          2300         551.77     1748.23 Emails with committee re meeting over voting issues and Navy Yard
                                                                                                                                                       update (.2); prepare for committee call re voting (.5); call with
                                                                                                                                                       committee re voting (1.3).
05/31/2023   JWL          PD         0.5       1150       575 132643             0.5           0.5       1150           575         137.94      437.06 Emails with Committee re voting issues under the plan (.5).
06/02/2023   MSP          PD         0.1       1295     129.5 132858             0.1           0.1       1295         129.5          31.27       98.23 Email exchange with F. Hatcher, et al. regarding Navy Yard sale
                                                                                                                                                       process.
06/02/2023   JIS          PD         0.1       1695     169.5 132858             0.1           0.1       1695         169.5          40.93      128.57 Call with J. Lucas regarding voting status and creditor calls.
06/05/2023   MSP          PD         0.2       1295       259 132858             0.2           0.2       1295           259          62.55      196.45 Email exchange with J. Lucas, L. Liberman, et al. regarding Plan
                                                                                                                                                       voting.
06/05/2023   JIS          PD         0.1       1695     169.5 132858             0.1           0.1       1695         169.5          40.93      128.57 Call with J. Lucas re status of voting.
06/05/2023   JWL          PD         1.1       1150      1265 132858             1.1           1.1       1150          1265         305.48      959.52 Call with A. Raphael and client re voting issues and terms of plan (.9);
                                                                                                                                                       call with J.Weber re voting (.2);
06/06/2023   GNB          PD         0.1        975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email John W. Lucas regarding ballots and Committee member email
                                                                                                                                                       regarding same.
06/06/2023   GNB          PD         0.1        975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email Malhar S. Pagay and John W. Lucas regarding post-confirmation
                                                                                                                                                       transition to Settlement Trustee.
06/06/2023   JWL          PD         1.5       1150      1725 132858             1.5           1.5       1150          1725         416.57     1308.43 Emails with counsel to survivors regarding voting issues and follow up
                                                                                                                                                       with Epiq re same (1.5);
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                          Code                                        Hours          Quantity                  Amount        Discount       Total
06/06/2023   MSP           PD        0.2     1295       259 132858             0.2           0.2        1295           259          62.55      196.45 Email exchange with J. Weber, J. Lucas, F. Hatcher, et al. regarding
                                                                                                                                                      Navy Yard sale.
06/06/2023   MSP          PD         0.2     1295       259 132858             0.2           0.2       1295           259          62.55       196.45 Email exchange with J. Lucas, A. Raphael, J. Weber, et al. regarding
                                                                                                                                                      Plan voting.
06/07/2023   MSP          PD         0.3     1295     388.5 132858             0.3           0.3       1295         388.5          93.82       294.68 Telephone call with J. Lucas regarding Plan and Rockefeller issues.
06/07/2023   MSP          PD         0.2     1295       259 132858             0.2           0.2       1295           259          62.55      196.45 Email exchange with J. Lucas, J. Weber, et al. regarding Plan revisions.
06/07/2023   MSP          PD         0.3     1295     388.5 132858             0.3           0.3       1295         388.5          93.82      294.68 Email exchange with J. Weber, J. Lucas, et al. regarding Plan and
                                                                                                                                                     Rockefeller issues.
06/07/2023   JWL          PD         1.1     1150      1265 132858             1.1           1.1       1150          1265         305.48      959.52 Review Madison changes to plan and compensation trust (.6); call with
                                                                                                                                                     J. Weber regarding plan issues (.5);
06/08/2023   GNB          PD         0.1      975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email to internal PSZJ team regarding newly produced documents on
                                                                                                                                                     Debtor’s DataSite.
06/08/2023   JWL          PD         5.2     1150      5980 132858             5.2           5.2       1150          5980        1444.11     4535.89 Work on compensation trust form of release (1.5); review revised plan
                                                                                                                                                     and compensation trust agreement changes re Rockefeller (.7); call
                                                                                                                                                     with J. Weber re open plan issues (.2); review confirmation order (1.4);
                                                                                                                                                     review M. Plevin comments to confirmation order (.4); review
                                                                                                                                                     Madison's responses to M. Plevin comments to confirmation order (.5);
                                                                                                                                                     draft voting update to committee (.5);
06/08/2023   BDD          PD         0.3      545     163.5 132858             0.3           0.3        545         163.5          39.48      124.02 Confer with Everlaw re database maintenance (.20) and email G. Brown
                                                                                                                                                     re same (.10).
06/08/2023   MSP          PD         0.2     1295       259 132858             0.2           0.2       1295           259          62.55      196.45 Telephone call with J. Lucas regarding Plan and Rockefeller issues.
06/08/2023   MSP          PD         0.2     1295       259 132858             0.2           0.2       1295           259          62.55      196.45 Email exchange with J. Weber, J. Lucas, et al. regarding Rockefeller
                                                                                                                                                     and Plan issues.
06/08/2023   MSP          PD         0.1     1295     129.5 132858             0.1           0.1       1295         129.5          31.27       98.23 Email exchange with J. Lucas, D. Meyers, et al. regarding voting
                                                                                                                                                     tabulation.
06/09/2023   JIS          PD         0.2     1695       339 132858             0.2           0.2       1695           339          81.86      257.14 Review emails regarding request by M. Plevin to have plan address
                                                                                                                                                     retention of counsel.
06/09/2023   IAWN         PD         0.2     1395       279 132858             0.2           0.2       1395           279          67.38      211.62 Exchange emails with J. Lucas and J. Stang re plan language.
06/09/2023   MSP          PD         0.3     1295     388.5 132858             0.3           0.3       1295         388.5          93.82      294.68 Email exchange with J. Weber, J. Lucas, I. Nasatir, J. Stang, G. Brown,
                                                                                                                                                     et al. regarding proposed Plan revisions, insurance issues, document
                                                                                                                                                     access, Plan Trust Agreement draft, etc.
06/09/2023   BDD          PD         0.2      545       109 132858             0.2           0.2        545           109          26.32       82.68 Emails G. Brown and S. Lee re additions to Everlaw database.
06/09/2023   JWL          PD         1.3     1150      1495 132858             1.3           1.3       1150          1495         361.03     1133.97 Call with J. Weber re plan issues (.3); call with J. Amala regarding plan
                                                                                                                                                     issues (.7); call with G. Galardi re plan issues (.3);
06/09/2023   GNB          PD         0.1      975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email with Beth D. Dassa regarding transfer of information to
                                                                                                                                                     Settlement Trustee post-Effective Date.
06/09/2023   GNB          PD         0.3      975     292.5 132858             0.3           0.3        975         292.5          70.64      221.86 Email with Sophia Lee regarding DataSite documents folder 15 (.2);
                                                                                                                                                     Email with Beth D. Dassa regarding same and email with Lauren Varga
                                                                                                                                                     regarding download of documents (.1).
06/09/2023   GNB          PD         0.3      975     292.5 132858             0.3           0.3        975         292.5          70.64      221.86 Email with John W. Lucas regarding transfer of information to
                                                                                                                                                     Settlement Trustee post-Effective Date (.2); Telephone conference with
                                                                                                                                                     John W. Lucas regarding same (.1).
06/10/2023   JIS          PD         0.3     1695     508.5 132858             0.3           0.3       1695         508.5          122.8       385.7 Review email exchanges regarding insurance and Rockefeller U.
06/11/2023   JWL          PD         1.2     1150      1380 132858             1.2           1.2       1150          1380         333.26     1046.74 Call with Paul Weiss team, Ropes Gray team re confirmation issues
                                                                                                                                                     (1.2);
06/11/2023   MSP          PD         0.1     1295     129.5 132858             0.1           0.1       1295         129.5          31.27       98.23 Email exchange with J. Weber, J. Lucas, et al. regarding Plan status
                                                                                                                                                     discussion.
06/12/2023   IAWN         PD         0.1     1395     139.5 132858             0.1           0.1       1395         139.5          33.69      105.81 Exchange emails with John W. Lucas re plan language.
06/12/2023   IAWN         PD         0.4     1395       558 132858             0.4           0.4       1395           558         134.75      423.25 Telephone call with Greenspad at PMS re plan language.
06/12/2023   JIS          PD         0.4     1695       678 132858             0.4           0.4       1695           678         163.73      514.27 Review Rockefeller plan objection.
06/12/2023   JIS          PD         0.4     1695       678 132858             0.4           0.4       1695           678         163.73      514.27 Review plan/trust agreement modifications to plan.
06/12/2023   JIS          PD         0.3     1695     508.5 132858             0.3           0.3       1695         508.5          122.8       385.7 Review plan objection from community group.
06/12/2023   JIS          PD         0.5     1695     847.5 132858             0.5           0.5       1695         847.5         204.66      642.84 Call J. Lucas regarding plan issues related to Rockefeller objection.
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                          Code                                        Hours          Quantity                  Amount        Discount       Total
06/12/2023   JWL           PD        6.2     1150      7130 132858             6.2           6.2        1150          7130        1721.82    5408.18 Call with J. Stang regarding Rockefeller plan objection issues (.5);
                                                                                                                                                      emails with counsel and Epiq regarding confirmation of ballots
                                                                                                                                                      received (.7); review NYC limited objection to the plan (.2); review ad
                                                                                                                                                      hoc informal group objection to plan re Navy Yard (.7); review
                                                                                                                                                      proposed plan changes by insurers (.7); email to committee member
                                                                                                                                                      counsel re same (.5); review final voting report and email to the
                                                                                                                                                      committee (.4); review Rockefeller plan objection (1.5); research
                                                                                                                                                      regarding the same (.6); email to Madison counsel re same (.4);
06/12/2023   GNB          PD         0.1      975      97.5 132858             0.1           0.1        975          97.5          23.55        73.95 Review objection from neighborhood association; Email with John W.
                                                                                                                                                      Lucas regarding same.
06/12/2023   GNB          PD         0.1      975      97.5 132858             0.1           0.1        975          97.5          23.55        73.95 Review plan vote tallies; Email internal PSZJ team regarding same.
06/12/2023   GNB          PD         0.1      975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email PSZJ team regarding insurance response to Plan and regarding
                                                                                                                                                     Rockefeller University response to Plan.
06/13/2023   JWL          PD         3.3     1150      3795 132858             3.3           3.3       1150          3795         916.45     2878.55 Review changes to plan by I. Nasatir and email to Madison for
                                                                                                                                                     discussion with carrier (.7); call with Madison and council for Federal re
                                                                                                                                                     plan issues (.9); call with D. Ellis and J. Herman regarding plan issues (.
                                                                                                                                                     3); email to PSZJ re Herman Law call re plan issues (.3); call with J.
                                                                                                                                                     Weber re open plan issues (.3); further review of Rockefeller objection (.
                                                                                                                                                     8);
06/13/2023   JIS          PD         0.4     1695       678 132858             0.4           0.4       1695           678         163.73      514.27 Call J. Lucas regarding Rockefeller U. plan objection.
06/13/2023   JIS          PD         0.2     1695       339 132858             0.2           0.2       1695           339          81.86      257.14 Call J. Lucas regarding plan confirmation issues.
06/13/2023   GNB          PD         0.1      975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email John Weber, Leslie Lieberman, and Lauren Varga regarding
                                                                                                                                                     DataSite access for Settlement Trustee post-Effective Date.
06/13/2023   GNB          PD         0.1      975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Research regarding Rockefeller University claim.
06/13/2023   IAWN         PD         0.5     1395     697.5 132858             0.5           0.5       1395         697.5         168.44      529.06 Review Rockefeller University objection.
06/13/2023   IAWN         PD         0.8     1395      1116 132858             0.8           0.8       1395          1116          269.5       846.5 Review and comment upon new additions to plan.
06/13/2023   BDD          PD         0.8      545       436 132858             0.8           0.8        545           436         105.29      330.71 Communications with Everlaw re closing database (.70); email G.
                                                                                                                                                     Brown re same (.10).
06/13/2023   BDD          PD         0.1      545      54.5 132858             0.1           0.1        545          54.5          13.16       41.34 Email G. Brown re maintenance of database in Everlaw.
06/13/2023   BDD          PD         0.2      545       109 132858             0.2           0.2        545           109          26.32       82.68 Emails G. Brown and S. Lee re Datasite and Everlaw database.
06/13/2023   MSP          PD         1.9     1295    2460.5 132858             1.9           1.9       1295        2460.5         594.18     1866.32 Attention to Plan issues (1.60); email exchange with J. Weber, G.
                                                                                                                                                     Brown, J. Lucas, et al. regarding same (.30).
06/13/2023   MSP          PD         0.5     1295     647.5 132858             0.5           0.5       1295         647.5         156.36      491.14 Email exchange with J. Lucas regarding insurance-related suggested
                                                                                                                                                     Plan revisions (.20); email exchange with J. Stang, I. Nasatir, J. Lucas,
                                                                                                                                                     et al. regarding same (.30).
06/14/2023   MSP          PD         0.3     1295     388.5 132858             0.3           0.3       1295         388.5          93.82      294.68 Email exchange with J. Weber, M. Plevin, J. Lucas, et al. regarding
                                                                                                                                                     comments on Plan.
06/14/2023   PJJ          PD         0.2      545       109 132858             0.2           0.2        545           109          26.32       82.68 Download document production from Debtor and circulate.
06/14/2023   GNB          PD         0.4      975       390 132858             0.4           0.4        975           390          94.18      295.82 Review documents produced by Debtor for SCC.
06/14/2023   GNB          PD         0.1      975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Telephone conference with Beth D. Dassa regarding DataSite
                                                                                                                                                     documents relating to Rockefeller University.
06/14/2023   IAWN         PD         0.3     1395     418.5 132858             0.5           0.5       1395         697.5         168.44      529.06 Telephone call with M. Plevin, Klein and John W. Lucas re changes to
                                                                                                                                                     plan (.4); telephone call with John W. Lucas re same (.1).
06/14/2023   JWL          PD         4.9     1150      5635 132858             4.9           4.9       1150          5635        1360.79     4274.21 Call with M. Plevin and I. Nasatir re plan issues and carrier rights (.4);
                                                                                                                                                     follow up call with I. Nasatir re same (.1); attend chambers conference
                                                                                                                                                     re open plan issues with Rockefeller (1.4); call with J. Stang re
                                                                                                                                                     Rockefeller plan issues (.2); call with J. Weber re same (.2); call with A.
                                                                                                                                                     Halprin re trust issues (.9); email to Pillsbury re plan and insurance
                                                                                                                                                     issues (.2); review Chubb changes to plan, revise the same and email
                                                                                                                                                     to I. Nasatir regarding proposed response (1.5);
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                      Narrative
                          Code                                          Hours          Quantity                  Amount        Discount       Total
06/15/2023   JWL           PD        5.9       1150      6785 132858             5.9           5.9        1150          6785        1638.51    5146.49 Call with J. Amala regarding Rockefeller and plan issues (.5); call with
                                                                                                                                                        D. Ellis regarding Rockefeller and plan issues (.5); review and revise
                                                                                                                                                        plan in response to Chubb comments (.7); call with I. Nasatir re same (.
                                                                                                                                                        3); call with Paul Weiss, Cushman, PSZJ, and Island re sale of Navy
                                                                                                                                                        Yard (.5); call with J. Weber re open Plan issues (.3); review Rockefeller
                                                                                                                                                        mediation stipulation (.3); call with G. Galardi regarding plan issues (.3);
                                                                                                                                                        review of Chubb second round of plan changes and respond to the
                                                                                                                                                        same (.8); revise Rockefeller mediation stipulation (.7); review Madison
                                                                                                                                                        confirmation brief (1.0);
06/15/2023   IAWN         PD         0.2       1395       279 132858             0.2           0.2       1395           279          67.38       211.62 Telephone conferences with John W. Lucas re plan.
06/15/2023   IAWN         PD         0.8       1395      1116 132858             0.8           0.8       1395          1116          269.5       846.5 Review M. Plevin and John W. Lucas comments to plan.
06/15/2023   MSP          PD         0.3       1295     388.5 132858             0.3           0.3       1295         388.5          93.82      294.68 Email exchanges with J. Weber, M. Plevin, J. Lucas, L. Liberman, et al.
                                                                                                                                                       regarding Insurer comments on Plan, Confirmation Brief, revised Plan
                                                                                                                                                       and other Plan issues.
06/15/2023   MSP          PD         0.7       1295     906.5 132858             0.7           0.7       1295         906.5         218.91      687.59 Meeting with J. Weber, S. Landgraber, J. Lucas, et al. regarding Navy
                                                                                                                                                       Yard transaction (.50); email exchange with S. Landgraber, J. Weber,
                                                                                                                                                       D. O’Brien, et al. regarding same (.20).
06/16/2023   GNB          PD         0.1        975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Review John W. Lucas email regarding Navy Yard sale and
                                                                                                                                                       confirmation hearing; Email PSZJ team regarding confirmation hearing.
06/16/2023   JWL          PD         1.6       1150      1840 132858             1.6           1.6       1150          1840         444.34     1395.66 Further review of Madison confirmation brief (1.1); review revised
                                                                                                                                                       Rockefeller mediation stipulation (.5);
06/18/2023   MSP          PD         0.1       1295     129.5 132858             0.1           0.1       1295         129.5          31.27       98.23 Email exchange with J. Lucas, L. Liberman, et al. regarding
                                                                                                                                                       Confirmation Order.
06/18/2023   MSP          PD         0.1       1295     129.5 132858             0.1           0.1       1295         129.5          31.27       98.23 Email exchange with J. Lucas, L. Liberman, et al. regarding
                                                                                                                                                       Confirmation Order.
06/18/2023   JWL          PD             1     1150      1150 132858              1             1        1150          1150         277.71      872.29 Review revised confirmation order (1.0);
06/19/2023   JWL          PD         2.1       1150      2415 132858             2.1           2.1       1150          2415          583.2      1831.8 Call with G. Galardi re plan mediation (.5); call with D. Ellis re same (.5);
                                                                                                                                                       call with J. Freeman re plan and claim mediation (.5); review and revise
                                                                                                                                                       mediation stipulation (.6);
06/20/2023   BDD          PD         0.3        545     163.5 132858             0.3           0.3        545         163.5          39.48      124.02 Emails J. Lucas, G. Brown and B. Anavim re plan confirmation hearing.
06/20/2023   GNB          PD         0.1        975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email with Beth D. Dassa re confirmation hearing; Review email from
                                                                                                                                                       John W. Lucas regarding same.
06/20/2023   JWL          PD         1.2       1150      1380 132858             1.2           1.2       1150          1380         333.26     1046.74 Review and revise Rockefeller mediation stipulation (.6); call with J.
                                                                                                                                                       Freeman re changes to plan mediation stipulation (.4); revise mediation
                                                                                                                                                       stipulation (.2);
06/21/2023   JWL          PD         1.8       1150      2070 132858             1.8           1.8       1150          2070         499.88     1570.12 Emails with D. Ellis re plan mediation stipulation (.3); call with J.
                                                                                                                                                       Freeman re same (.2); review revised mediation stipulation in response
                                                                                                                                                       to comments from Mediators (.3); call with J. Eisen re the same (.5); call
                                                                                                                                                       with J. Herman regarding plan mediation issues (.5);
06/21/2023   MSP          PD         0.7       1295     906.5 132858             0.7           0.7       1295         906.5         218.91      687.59 Telephone calls (2: .50; .20) with J. Lucas regarding Plan and
                                                                                                                                                       Rockefeller issues.
06/21/2023   MSP          PD         0.1       1295     129.5 132858             0.1           0.1       1295         129.5          31.27       98.23 Email exchange with D. Egan, J. Lucas, et al. regarding mediation
                                                                                                                                                       order regarding Rockefeller.
06/22/2023   BDD          PD         0.2        545       109 132858             0.2           0.2        545           109          26.32       82.68 Review Debtor's motion re filing under seal certain portions of D.
                                                                                                                                                       O'Brien declaration in support of Amended Ch. 11 Plan (.10); emails G.
                                                                                                                                                       Brown and B. Anavim re same (.10).
06/22/2023   MSP          PD         0.2       1295       259 132858             0.2           0.2       1295           259          62.55      196.45 Email exchange with D. Egan, J. Lucas, et al. regarding mediation
                                                                                                                                                       order regarding Rockefeller.
06/22/2023   MSP          PD         0.1       1295     129.5 132858             0.1           0.1       1295         129.5          31.27       98.23 Email exchange with L. Liberman, J. Lucas, et al. regarding unredacted
                                                                                                                                                       declarations in support of confirmation.
06/22/2023   JWL          PD         1.6       1150      1840 132858             1.6           1.6       1150          1840         444.34     1395.66 Call with S. Chapman and J. Eisen (mediators) re Rockefeller
                                                                                                                                                       settlement issues (.6); draft substantive email to committee and
                                                                                                                                                       counsel re plan mediation with Rockefeller (1.0);
06/23/2023   JWL          PD         1.5       1150      1725 132858             1.5           1.5       1150          1725         416.57     1308.43 Calls with J. Amala, J. Freeman re mediation and plan issues (1.5);
06/26/2023   GNB          PD         0.1        975      97.5 132858             0.1           0.1        975          97.5          23.55       73.95 Email Sophia Lee regarding Empire DataBase documents received last
                                                                                                                                                       Saturday via email; Email John W. Lucas regarding same.
06/29/2023   JWL          PD         1.6       1150      1840 132858             1.6           1.6       1150          1840         444.34     1395.66 Review changes to plan re post effective date covered party process (.
                                                                                                                                                       8); draft and send email to Committee re plan changes and status of
                                                                                                                                                       Rockefeller mediation (.8);
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                     Narrative
                          Code                                          Hours          Quantity                  Amount        Discount       Total
06/30/2023   JWL           PD        0.5       1150       575 132858             0.5           0.5        1150           575         138.86      436.14 Call with G. Galardi re plan settlement issues (.5);
07/06/2023   JIS          PD         0.2       1695       339 133032             0.2           0.2       1695           339          88.07      250.93 Call J. Lucas re status of settlements with Rockefeller University.
07/06/2023   JWL          PD         3.2       1150      3680 133032             3.2           3.2       1150          3680         955.99     2724.01 Attend mediation call with mediators, Paul Weiss re results of
                                                                                                                                                       mediation (.5); email to Rockefeller re same (.2); call with Rockefeller,
                                                                                                                                                       Madison re Rockefeller settlement (.5); call with S. Landgraber, Paul
                                                                                                                                                       Weiss, and Cushman re status of Navy Yard sale (.5); email to
                                                                                                                                                       Committee re same and follow up emails in response to questions (.7);
                                                                                                                                                       call with J. Freeman regarding plan issues (8);
07/07/2023   JWL          PD         2.4       1150      2760 133032             2.4           2.4       1150          2760         716.99     2043.01 Call with J. Chapman regarding Rockefeller plan updates (.4); review
                                                                                                                                                       Rockefeller issues with J. Amala (.9); another call with J. Chapman
                                                                                                                                                       regarding Rockefeller duty to warn issues (.5); review claim re pro se
                                                                                                                                                       claimant and Rockefeller issues (.6);
07/07/2023   JIS          PD         0.2       1695       339 133032             0.2           0.2       1695           339          88.07      250.93 Call J. Lucas regarding settlement status with Rockefeller University.
07/09/2023   JWL          PD         1.3       1150      1495 133032             1.3           1.3       1150          1495         388.37     1106.63 Call with. R. Liguori re Rockefeller duty to warn claim (.4); draft email to
                                                                                                                                                       Committee regarding settlement offer and recommendation for
                                                                                                                                                       Rockefeller duty to warn claim (.9);
07/10/2023   JWL          PD         1.9       1150      2185 133032             1.9           1.9       1150          2185         567.62     1617.38 Call with J. Weber re Rockefeller settlements (.2); call with J. Chapman
                                                                                                                                                       re same (.3); emails with committee re settlement (.5); call with J.
                                                                                                                                                       Amala re open Rockefeller issues (.5); call with D. Ellis regarding open
                                                                                                                                                       Rockefeller claims (.4);
07/10/2023   MSP          PD         0.4       1295       518 133032             0.4           0.4       1295           518         134.57      383.43 Telephone call with J. Lucas regarding Plan and Rockefeller claim
                                                                                                                                                       status (.30); email exchange with J. Lucas regarding same (.10).
07/11/2023   JWL          PD         2.2       1150      2530 133032             2.2           2.2       1150          2530         657.24     1872.76 Calls with J. Chapman re Rockefeller settlement (.6); review
                                                                                                                                                       counteroffer from Rockefeller and respond to mediator (.3); calls with J.
                                                                                                                                                       Weber re same (.5); calls with G. Galardi re same (.8);
07/12/2023   JWL          PD         2.7       1150      3105 133032             2.7           2.7       1150          3105         806.62     2298.38 Call with Paul Weiss, Ropes re plan and Rockefeller issues (.6); call
                                                                                                                                                       with R. Liguori re Rockefeller settlement (.5); email to Committee re
                                                                                                                                                       same (1.0); calls with J. Chapman regarding open items and ultimate
                                                                                                                                                       settlement re plan and Rockefeller (.6);
07/12/2023   MSP          PD         0.6       1295       777 133032             0.6           0.6       1295           777         201.85      575.15 All hands meeting regarding Plan status.
07/13/2023   JWL          PD             1     1150      1150 133032              1             1        1150          1150         298.75      851.25 Review and revise Rockefeller 9019 motion re plan settlement (1.0);
07/14/2023   JWL          PD         1.9       1150      2185 133032             1.9           1.9       1150          2185         567.62     1617.38 Call with J. Weber re sale of Navy Yard under the Plan (.2); review and
                                                                                                                                                       revise Rockefeller settlement agreement (.9); call with A. Devore
                                                                                                                                                       regarding Rockefeller plan settlement (.2); review revised Rockefeller
                                                                                                                                                       9019 motion (.3); review revised Madison changes to 9019 (.3);
07/17/2023   JWL          PD         2.2       1150      2530 133032             2.2           2.2       1150          2530         657.24     1872.76 Review final changes to plan and Rockfeller 9019 motion (.8); review
                                                                                                                                                       Navy Yard sale update from Madison (.6); prepare summary of revised
                                                                                                                                                       offers for Navy Yard and send to Committee (.8):
07/18/2023   JWL          PD         1.2       1150      1380 133032             1.2           1.2       1150          1380          358.5      1021.5 Call with J. Scotto re Rockefeller settlement status (.4); review revised
                                                                                                                                                       plan, confirmation order, and allocation protocol for filing (.8);
07/19/2023   MSP          PD         0.3       1295     388.5 133032             0.3           0.3       1295         388.5         100.92      287.58 Telephone calls (2: .10; .20) with J. Lucas regarding outstanding
                                                                                                                                                       confirmation issues, etc.
07/19/2023   JWL          PD         0.2       1150       230 133032             0.2           0.2       1150           230          59.75      170.25 Review additional changes to plan, confirmation order, and allocation
                                                                                                                                                       protocol (.2);
07/20/2023   JWL          PD         1.5       1150      1725 133032             1.5           1.5       1150          1725         448.12     1276.88 Review effective date documents (.1); call with compensation trustee
                                                                                                                                                       and M. Pagay re plan status and effective date (1.0); call with M. Pagay
                                                                                                                                                       re same (.4)
07/20/2023   BDD          PD         0.2        545       109 133032             0.2           0.2        545           109          28.32       80.68 Review motion for order approving settlement agreement between
                                                                                                                                                       debtor and Rockefeller University (.10); email B. Anavim re same (.10).
07/20/2023   MSP          PD         1.4       1295      1813 133032             1.4           1.4       1295          1813         470.98     1342.02 Telephone conference with A. Halperin, J. Lucas et al. regarding
                                                                                                                                                       Effective Date preparation (1.00); telephone call with J. Lucas
                                                                                                                                                       regarding same (.40).
07/21/2023   MSP          PD         0.4       1295       518 133032             0.4           0.4       1295           518         134.57      383.43 Meeting with A. Halperin, J. Lucas, J. Weber, J. Orsini, et al. regarding
                                                                                                                                                       Effective Date preparation.
07/21/2023   MSP          PD         0.2       1295       259 133032             0.2           0.2       1295           259          67.28      191.72 Meeting with A. Halperin, J. Lucas regarding Effective Date transition
                                                                                                                                                       issues.
07/21/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Telephone call with J. Lucas regarding Plan issues.
07/21/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Email exchange with J. Lucas, G. Brown et al. regarding Confirmation
                                                                                                                                                       hearing.
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  Date       Timekeeper   Task   Hours     Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed         Billed        Billed                                 Narrative
                          Code                                        Hours          Quantity                  Amount         Discount       Total
07/21/2023   GNB           PD        0.1      975      97.5 133032             0.1           0.1         975           97.5          25.33       72.17 Email Malhar S. Pagay and John W. Lucas regarding plan confirmation
                                                                                                                                                       hearing.
07/21/2023   GNB          PD         0.1      975      97.5 133032             0.1           0.1        975           97.5          25.33        72.17 Review John W. Lucas email regarding potential Plan effective date;
                                                                                                                                                       Respond to same.
07/21/2023   LSC          PD         0.1      545      54.5 133032             0.1           0.1        545           54.5          14.16        40.34 Correspondence with attorneys regarding upcoming confirmation
                                                                                                                                                       hearing.
07/21/2023   KBD          PD         0.2     1395       279 133032             0.2           0.2       1395           279           72.48       206.52 Analyze correspondence relating to confirmation hearing preparation.
07/21/2023   JWL          PD         1.9     1150      2185 133032             1.9           1.9       1150          2185          567.62     1617.38 Call with Madison, trustee, M. Pagay regarding effective transfer issues
                                                                                                                                                      (.4); follow up call with M. Pagay and Trustee re same (.2); email to
                                                                                                                                                      Committee member counsel regarding effective date issues (.2); call
                                                                                                                                                      with M. Pagay re same (.1) email to Committee members regarding
                                                                                                                                                      confirmation hearing and effective date issues (1.0);
07/23/2023   MSP          PD         0.1     1295     129.5 133032             0.1           0.1       1295         129.5           33.64       95.86 Email exchange with J. Lucas regarding Committee questions
                                                                                                                                                      regarding confirmation.
07/24/2023   GNB          PD         0.1      975      97.5 133032             0.1           0.1        975           97.5          25.33       72.17 Email with Sophia Lee regarding coordination of hearing attendance at
                                                                                                                                                      plan confirmation hearing.
07/24/2023   GNB          PD         0.1      975      97.5 133032             0.1           0.1        975           97.5          25.33       72.17 Email with Beth D. Dassa regarding Everlaw database.
07/24/2023   GNB          PD         0.2      975       195 133032             0.2           0.2        975           195           50.66      144.34 Email Committee members and state court counsel regarding
                                                                                                                                                      Settlement Trust.
07/24/2023   KBD          PD         0.5     1395     697.5 133032             0.5           0.5       1395         697.5           181.2       516.3 Analyze 9019 motion and related correspondence in preparation for
                                                                                                                                                      confirmation hearing
07/24/2023   BDD          PD         0.1      545      54.5 133032             0.1           0.1        545           54.5          14.16       40.34 Email G. Brown re closing down Everlaw.
07/25/2023   MSP          PD         0.2     1295       259 133032             0.2           0.2       1295           259           67.28      191.72 Telephone call with J. Weber regarding Navy Yard issue.
07/26/2023   MSP          PD         3.1     1295    4014.5 133032             3.1           3.1       1295        4014.5         1042.88     2971.62 Attention to Navy Yard and Plan confirmation hearing issues (1.4);
                                                                                                                                                      email exchange with J. Lucas, J. Weber, K. Dine, Committee members
                                                                                                                                                      (1.70), et al. regarding same.
07/26/2023   MSP          PD         0.5     1295     647.5 133032             0.5           0.5       1295         647.5          168.21      479.29 Telephone calls (2: .20; .30) with J. Weber regarding Navy Yard issue.
07/26/2023   MSP          PD         0.6     1295       777 133032             0.6           0.6       1295           777          201.85      575.15 Telephone calls (3: .20; .30; .10) with J. Lucas regarding Navy Yard
                                                                                                                                                      issue.
07/26/2023   GNB          PD         0.1      975      97.5 133032             0.1           0.1        975           97.5          25.33       72.17 Email with Beth D. Dassa regarding transfer of document productions
                                                                                                                                                      from Everlaw and preparation for provision of portions thereof to
                                                                                                                                                      Settlement Trustee.
07/26/2023   GNB          PD         0.1      975      97.5 133032             0.1           0.1        975           97.5          25.33       72.17 Email with Sophia Lee regarding plan confirmation hearing attendance
                                                                                                                                                      issues.
07/26/2023   JIS          PD         0.3     1695     508.5 133032             0.3           0.3       1695         508.5           132.1       376.4 Call J. Lucas regarding deed issues and confirmation.
07/27/2023   GNB          PD         0.1      975      97.5 133032             0.1           0.1        975           97.5          25.33       72.17 Review contract from Everlaw regarding offloading of data from
                                                                                                                                                      document review platform; Email with Beth D. Dassa regarding
                                                                                                                                                      approval of offloading of data from Everlaw document review platform.
07/27/2023   GNB          PD         0.1      975      97.5 133032             0.1           0.1        975           97.5          25.33       72.17 Email Malhar S. Pagay and John W. Lucas regarding offloading of data
                                                                                                                                                      from Everlaw document review platform.
07/27/2023   GNB          PD         0.1      975      97.5 133032             0.1           0.1        975           97.5          25.33       72.17 Review email from Malhar S. Pagay regarding Navy Yard sale issues
                                                                                                                                                      for plan confirmation.
07/27/2023   JWL          PD         1.3     1150      1495 133032             1.3           1.3       1150          1495          388.37     1106.63 Call with R. Vespi regarding Navy Yard sale (.2); call with R. Liguori re
                                                                                                                                                      Navy Yard sale (.8); review and revise email to Committee and counsel
                                                                                                                                                      re Navy Yard sale (.3);
07/27/2023   KBD          PD         0.3     1395     418.5 133032             0.3           0.3       1395         418.5          108.72      309.78 Analyze correspondence regarding confirmation hearing
07/27/2023   KBD          PD         0.5     1395     697.5 133032             0.5           0.5       1395         697.5           181.2       516.3 Prepare for confirmation hearing with J. Lucas and M. Pagay
07/27/2023   KBD          PD         0.7     1395     976.5 133032             0.7           0.7       1395         976.5          253.67      722.83 Review pleadings related to plan confirmation in preparation for
                                                                                                                                                      hearing
07/27/2023   MSP          PD         0.5     1295     647.5 133032             0.5           0.5       1295         647.5          168.21      479.29 Telephone conference with J. Lucas, K. Dine regarding Plan
                                                                                                                                                      confirmation hearing.
07/27/2023   MSP          PD         0.2     1295       259 133032             0.2           0.2       1295           259           67.28      191.72 Telephone call with J. Lucas regarding Plan confirmation hearing, Navy
                                                                                                                                                      Yard issue.
07/27/2023   MSP          PD         0.2     1295       259 133032             0.2           0.2       1295           259           67.28      191.72 Telephone call with J. Weber regarding Navy Yard issue.
07/27/2023   MSP          PD         0.8     1295      1036 133032             0.8           0.8       1295          1036          269.13      766.87 Prepare for Plan confirmation hearing (.7); email exchange with J.
                                                                                                                                                      Lucas, K. Dine, A. Halperin, et al. regarding same (.1).
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  Date       Timekeeper   Task   Hours       Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                    Narrative
                          Code                                          Hours          Quantity                  Amount        Discount       Total
07/28/2023   MSP           PD        2.4       1295      3108 133032             2.4           2.4        1295          3108         807.39    2300.61 Attend Plan confirmation hearing (1.3); telephone calls with J. Lucas, K.
                                                                                                                                                        Dine, J. Stang, A. Halperin, et al. regarding same (.30); calls with J.
                                                                                                                                                        Lucas re confirmation order (.8)
07/28/2023   JWL          PD         1.2       1150      1380 133032             1.2           1.2       1150          1380          358.5       1021.5 Calls with M. Pagay re confirmation order re Navy Yard sale provisions
                                                                                                                                                        (.8); calls with J. Weber re same (.4);
07/28/2023   KBD          PD         2.7       1395    3766.5 133032             2.7           2.7       1395        3766.5         978.46     2788.04 Prepare for (.6) and attend confirmation hearing (2.1).
07/28/2023   GNB          PD         0.1        975      97.5 133032             0.1           0.1        975          97.5          25.33       72.17 Review email from Malhar S. Pagay regarding today’s plan
                                                                                                                                                       confirmation hearing; Email with PSZJ team regarding media inquiries
                                                                                                                                                       relating to same.
07/28/2023   JIS          PD         0.1       1695     169.5 133032             0.1           0.1       1695         169.5          44.03      125.47 Review email regarding confirmation hearing.
07/31/2023   MSP          PD         0.3       1295     388.5 133032             0.3           0.3       1295         388.5         100.92      287.58 Email exchange with J. Lucas regarding post-confirmation hearing
                                                                                                                                                       matters.
08/01/2023   MSP          PD         0.6       1295       777 133032             0.6           0.6       1295           777         201.85      575.15 Analyze outstanding confirmation order issues and pre- Effective Date
                                                                                                                                                       matters, including release (.50); email exchange with J. Lucas, A.
                                                                                                                                                       Halperin, J. Weber, N. Haynes, et al. regarding same (.10).
08/02/2023   MSP          PD         0.5       1295     647.5 133032             0.5           0.5       1295         647.5         168.21      479.29 Consider outstanding confirmation order issues and pre- Effective Date
                                                                                                                                                       matters (.40); email exchange with J. Lucas, J. Stang, L. Liberman, A.
                                                                                                                                                       Halperin et al. regarding same (.10).
08/03/2023   JWL          PD         1.2       1150      1380 133032             1.2           1.2       1150          1380          358.5      1021.5 Review and revise compensation trust release (.7); call with B. Harrick
                                                                                                                                                       re confirmation and timing of distributions (.5);
08/03/2023   MSP          PD         0.2       1295       259 133032             0.2           0.2       1295           259          67.28      191.72 Email exchange with L. Liberman, J. Lucas, et al. regarding pre-
                                                                                                                                                       Effective Date matters.
08/04/2023   MSP          PD         0.2       1295       259 133032             0.2           0.2       1295           259          67.28      191.72 Consider pre-Effective Date matters (.1); email exchange with A.
                                                                                                                                                       Halperin, R. Liguori, J. Lucas, et al. regarding same (.1).
08/04/2023   JWL          PD             1     1150      1150 133032              1             1        1150          1150         298.75      851.25 Call with J. Amala regarding Rockefeller settlement and condition to
                                                                                                                                                       entry of confirmation order (.4); email to A. Raphael re next steps after
                                                                                                                                                       plan confirmation (.2); email to S. Gershowitz re allocation protocol
                                                                                                                                                       issues (.4);
08/07/2023   JWL          PD         0.3       1150       345 133032             0.3           0.3       1150           345          89.62      255.38 Email to R. Liguori counsel regarding status of Rockefeller settlement (.
                                                                                                                                                       2) and email back to Madison re same (.1);
08/09/2023   MSP          PD         0.2       1295       259 133032             0.2           0.2       1295           259          67.28      191.72 Email exchange with A. Halperin, J. Weber, L. Liberman, et al.
                                                                                                                                                       regarding status of pre-Effective Date matters, etc.
08/10/2023   GNB          PD         0.2        975       195 133032             0.2           0.2        975           195          50.66      144.34 Revise press release Plan confirmation.
08/10/2023   JIS          PD         0.1       1695     169.5 133032             0.1           0.1       1695         169.5          44.03      125.47 Call J. Lucas regarding status of plan confirmation order.
08/10/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Email exchange with J. Lucas, G. Brown, R. Liguori et al. regarding
                                                                                                                                                       confirmation press release.
08/14/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Email exchange with J. Weber, J. Lucas, et al. regarding Navy Yard
                                                                                                                                                       transaction status.
08/16/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Email exchange with L. Liberman, J. Lucas, et al. regarding Effective
                                                                                                                                                       Date delay, transaction documents.
08/17/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Email exchange with A. Halperin, J. Lucas, et al. regarding Effective
                                                                                                                                                       Date delay, transaction documents.
08/18/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Email exchange with A. Halperin, J. Lucas, et al. regarding initial
                                                                                                                                                       distributions and reserves.
08/18/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Email exchange with J. Lucas, Committee members, et al. regarding
                                                                                                                                                       confirmation order, etc.
08/18/2023   JWL          PD         2.3       1150      2645 133032             2.3           2.3       1150          2645         687.12     1957.88 Respond to email from A. Halperin re outlines of plan distribution
                                                                                                                                                       process and limits (1.0); closing email to Committee re entry of
                                                                                                                                                       confirmation order and next steps (1.3);
08/20/2023   MSP          PD         0.4       1295       518 133032             0.4           0.4       1295           518         134.57      383.43 Analyze Effective Date action items and administrative matters (.30);
                                                                                                                                                       email exchange with L. Liberman, J. Lucas, G. Brown, et al. regarding
                                                                                                                                                       same (.10)
08/20/2023   GNB          PD         0.1        975      97.5 133032             0.1           0.1        975          97.5          25.33       72.17 Email with John W. Lucas regarding post-confirmation issues for PSZJ
                                                                                                                                                       relating to Settlement Trustee and final fee applications; Email PSZJ
                                                                                                                                                       team regarding same.
08/21/2023   GNB          PD         0.1        975      97.5 133032             0.1           0.1        975          97.5          25.33       72.17 Review notice of entry of confirmation order; Email with Beth D. Dassa
                                                                                                                                                       regarding same; Email with John W. Lucas regarding same.
08/21/2023   MSP          PD         0.1       1295     129.5 133032             0.1           0.1       1295         129.5          33.64       95.86 Email exchange with L. Liberman, A. Halperin, J. Lucas, et al. regarding
                                                                                                                                                       Effective Date transactions.
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  Date       Timekeeper   Task   Hours     Rate     Amount   Bill     Billed          Billed     Billed Rate    Billed        Billed        Billed                                   Narrative
                          Code                                        Hours          Quantity                  Amount        Discount       Total
08/21/2023   BDD           PD        0.3      545     163.5 133032             0.3           0.3         545         163.5          42.47      121.03 Review Order re deadlines in connection with Plan Effective Date (.10)
                                                                                                                                                      and email G. Brown re same (.10); email B. Anavim & M. Kulick re
                                                                                                                                                      administrative claims bar date and deadline for professionals to file
                                                                                                                                                      final fee claims (.10).
06/01/2023   BDD          RP         0.1      545      54.5 132858             0.1           0.1        545          54.5          13.16        41.34 Email B. Anavim re Debtor's Application to Retain Triple RTS as
                                                                                                                                                      financial advisor.
05/26/2023   GNB          RPO        0.1      975      97.5 132643             0.1           0.1        975          97.5          23.39        74.11 Review Debtor’s motion to retain Portage Point; Email PSZJ team
                                                                                                                                                      regarding same.
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                     EXHIBIT F
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                                                  EXlllBITF

                                           Invoice for the Period
                                     (July l, 2023 -August 21, 202338




                                                               -------

30 The period July 1, 2023 - August 21, 2023 has not been the subject of a prior monthly fee statement.




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                                PRQWKO\IHHVWDWHPHQWVLQFOXGLQJUHYLHZRIH[KLELWV
                                'WKHUHWRIRUZRUNSURGXFW
    *1%     &32       (PDLO'XQGRQ$GYLVHUVUHJDUGLQJWKHLUHLJKWK                             
                                WKURXJKHOHYHQWKPRQWKO\IHHVWDWHPHQWV(PDLO
                                %HWK''DVVDUHJDUGLQJVDPH
    %''     &32       (PDLO%$QDYLPDQG0.XOLFNUH'XQGRQ VWK                         
                                PRQWKO\IHHVWDWHPHQWV
    *1%     &32       (PDLOZLWK7DELVK5L]YLUHJDUGLQJ'XQGRQ$GYLVHUV                        
                                HLJKWKWKURXJKHOHYHQWKPRQWKO\IHHVWDWHPHQWV
    *1%     &32       5HYLHZDQGHGLWP\&12UHODWLQJWR'XQGRQ                                
                                $GYLVHUV HLJKWKWKURXJKHOHYHQWKPRQWKO\IHH
                                VWDWHPHQWV
    <3'     &32       3UHSDUDWLRQRIGUDIWRI&12IRU'XQGRQ$GYLVHUV                         
                                WKWKURXJKWKILOHGPRQWKO\IHHVWDWHPHQWV  
                                SUHSHPDLORIVDPHWR*%URZQ  

                                                                                                               

  )LQDQFLQJ>%@
    %''     )1        (PDLO%$QDYLPDQG0.XOLFNUHWKRUGHURQ                           
                                'HEWRU VRSHUDWLRQRIFDVKPDQDJHPHQWV\VWHP

                                                                                                                

  *HQHUDO&UHGLWRUV&RPP>%@
    -:/     *&        (PDLOWR5/LJXRULUHJHQHUDOFDVHXSGDWH                          
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                3DJH     
0DGLVRQ6TXDUH%*&2&&                                                                        ,QYRLFH 
                                                                                      $XJXVW


                                                                                         +RXUV           5DWH      $PRXQW
    -:/     *&        &DOOZLWK5/LJXRULUHFDVHVWDWXVDQGVHWWOHPHQWV                     
                                LQVLGHDQGRXWVLGHWKHSODQ  
    -:/     *&        3UHSDUHFRQILUPDWLRQRUGHUDQGSODQDSSURYDOSUHVV                     
                                UHOHDVH  

                                                                                                               

  +HDULQJV
    -:/     +         $WWHQGKHDULQJRQSODQVWDWXVFRQIHUHQFH                             
    -:/     +         $WWHQGFRQILUPDWLRQKHDULQJ YLUWXDOO\                             

                                                                                                               

  1RQ:RUNLQJ7UDYHO
    .%'     17        7UDYHOWRDQGIURPFRQILUPDWLRQKHDULQJ                                 

                                                                                                               

  3ODQ 'LVFORVXUH6WPW>%@
    -,6     3'        &DOO-/XFDVUHVWDWXVRIVHWWOHPHQWVZLWK                             
                                5RFNHIHOOHU8QLYHUVLW\
    -:/     3'        $WWHQGPHGLDWLRQFDOOZLWKPHGLDWRUV3DXO:HLVVUH                    
                                UHVXOWVRIPHGLDWLRQ  HPDLOWR5RFNHIHOOHUUH
                                VDPH  FDOOZLWK5RFNHIHOOHU0DGLVRQUH
                                5RFNHIHOOHUVHWWOHPHQW  FDOOZLWK6/DQGJUDEHU
                                3DXO:HLVVDQG&XVKPDQUHVWDWXVRI1DY\<DUG
                                VDOH  HPDLOWR&RPPLWWHHUHVDPHDQGIROORZXS
                                HPDLOVLQUHVSRQVHWRTXHVWLRQV  FDOOZLWK-
                                )UHHPDQUHJDUGLQJSODQLVVXHV  
    -,6     3'        &DOO-/XFDVUHJDUGLQJVHWWOHPHQWVWDWXVZLWK                          
                                5RFNHIHOOHU8QLYHUVLW\
    -:/     3'        &DOOZLWK-&KDSPDQUHJDUGLQJ5RFNHIHOOHUSODQ                        
                                XSGDWHV  UHYLHZ5RFNHIHOOHULVVXHVZLWK-
                                $PDOD  DQRWKHUFDOOZLWK-&KDSPDQUHJDUGLQJ
                                5RFNHIHOOHUGXW\WRZDUQLVVXHV  UHYLHZFODLPUH
                                SURVHFODLPDQWDQG5RFNHIHOOHULVVXHV  
    -:/     3'        &DOOZLWK5/LJXRULUH5RFNHIHOOHUGXW\WRZDUQ                      
                                FODLP  GUDIWHPDLOWR&RPPLWWHHUHJDUGLQJ
                                VHWWOHPHQWRIIHUDQGUHFRPPHQGDWLRQIRU
                                5RFNHIHOOHUGXW\WRZDUQFODLP  
    063     3'        7HOHSKRQHFDOOZLWK-/XFDVUHJDUGLQJ3ODQDQG                         
                                5RFNHIHOOHUFODLPVWDWXV  HPDLOH[FKDQJHZLWK
                                -/XFDVUHJDUGLQJVDPH  
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH     
0DGLVRQ6TXDUH%*&2&&                                                                         ,QYRLFH 
                                                                                       $XJXVW


                                                                                          +RXUV           5DWH      $PRXQW
    -:/     3'        &DOOZLWK-:HEHUUH5RFNHIHOOHUVHWWOHPHQWV                       
                                FDOOZLWK-&KDSPDQUHVDPH  HPDLOVZLWK
                                FRPPLWWHHUHVHWWOHPHQW  FDOOZLWK-$PDODUH
                                RSHQ5RFNHIHOOHULVVXHV  FDOOZLWK'(OOLV
                                UHJDUGLQJRSHQ5RFNHIHOOHUFODLPV  
    -:/     3'        &DOOVZLWK-&KDSPDQUH5RFNHIHOOHUVHWWOHPHQW                         
                                  UHYLHZFRXQWHURIIHUIURP5RFNHIHOOHUDQG
                                UHVSRQGWRPHGLDWRU  FDOOVZLWK-:HEHUUHVDPH
                                  FDOOVZLWK**DODUGLUHVDPH  
    063     3'        $OOKDQGVPHHWLQJUHJDUGLQJ3ODQVWDWXV                                  
    -:/     3'        &DOOZLWK3DXO:HLVV5RSHVUHSODQDQG5RFNHIHOOHU                     
                                LVVXHV  FDOOZLWK5/LJXRULUH5RFNHIHOOHU
                                VHWWOHPHQW  HPDLOWR&RPPLWWHHUHVDPH  
                                FDOOVZLWK-&KDSPDQUHJDUGLQJRSHQLWHPVDQG
                                XOWLPDWHVHWWOHPHQWUHSODQDQG5RFNHIHOOHU  
    -:/     3'        5HYLHZDQGUHYLVH5RFNHIHOOHUPRWLRQUHSODQ                       
                                VHWWOHPHQW  
    -:/     3'        &DOOZLWK-:HEHUUHVDOHRI1DY\<DUGXQGHUWKH                       
                                3ODQ  UHYLHZDQGUHYLVH5RFNHIHOOHUVHWWOHPHQW
                                DJUHHPHQW  FDOOZLWK$'HYRUHUHJDUGLQJ
                                5RFNHIHOOHUSODQVHWWOHPHQW  UHYLHZUHYLVHG
                                5RFNHIHOOHUPRWLRQ  UHYLHZUHYLVHG
                                0DGLVRQFKDQJHVWR  
    -:/     3'        5HYLHZILQDOFKDQJHVWRSODQDQG5RFNIHOOHU                        
                                PRWLRQ  UHYLHZ1DY\<DUGVDOHXSGDWHIURP
                                0DGLVRQ  SUHSDUHVXPPDU\RIUHYLVHGRIIHUVIRU
                                1DY\<DUGDQGVHQGWR&RPPLWWHH  
    -:/     3'        &DOOZLWK-6FRWWRUH5RFNHIHOOHUVHWWOHPHQWVWDWXV                    
                                  UHYLHZUHYLVHGSODQFRQILUPDWLRQRUGHUDQG
                                DOORFDWLRQSURWRFROIRUILOLQJ  
    063     3'        7HOHSKRQHFDOOV  ZLWK-/XFDVUHJDUGLQJ                   
                                RXWVWDQGLQJFRQILUPDWLRQLVVXHVHWF
    -:/     3'        5HYLHZDGGLWLRQDOFKDQJHVWRSODQFRQILUPDWLRQ                          
                                RUGHUDQGDOORFDWLRQSURWRFRO  
    063     3'        7HOHSKRQHFRQIHUHQFHZLWK$+DOSHULQ-/XFDVHW                      
                                DOUHJDUGLQJ(IIHFWLYH'DWHSUHSDUDWLRQ  
                                WHOHSKRQHFDOOZLWK-/XFDVUHJDUGLQJVDPH  
    %''     3'        5HYLHZPRWLRQIRURUGHUDSSURYLQJVHWWOHPHQW                              
                                DJUHHPHQWEHWZHHQGHEWRUDQG5RFNHIHOOHU
                                8QLYHUVLW\  HPDLO%$QDYLPUHVDPH  
    -:/     3'        5HYLHZHIIHFWLYHGDWHGRFXPHQWV  FDOOZLWK                         
                                FRPSHQVDWLRQWUXVWHHDQG03DJD\UHSODQVWDWXV
                                DQGHIIHFWLYHGDWH  FDOOZLWK03DJD\UHVDPH
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH     
0DGLVRQ6TXDUH%*&2&&                                                                         ,QYRLFH 
                                                                                       $XJXVW


                                                                                          +RXUV           5DWH      $PRXQW
                                    
    *1%     3'        (PDLO0DOKDU63DJD\DQG-RKQ:/XFDVUHJDUGLQJ                          
                                SODQFRQILUPDWLRQKHDULQJ
    *1%     3'        5HYLHZ-RKQ:/XFDVHPDLOUHJDUGLQJSRWHQWLDO                             
                                3ODQHIIHFWLYHGDWH5HVSRQGWRVDPH
    063     3'        0HHWLQJZLWK$+DOSHULQ-/XFDV-:HEHU-                         
                                2UVLQLHWDOUHJDUGLQJ(IIHFWLYH'DWHSUHSDUDWLRQ
    063     3'        0HHWLQJZLWK$+DOSHULQ-/XFDVUHJDUGLQJ                             
                                (IIHFWLYH'DWHWUDQVLWLRQLVVXHV
    063     3'        7HOHSKRQHFDOOZLWK-/XFDVUHJDUGLQJ3ODQLVVXHV                       
    063     3'        (PDLOH[FKDQJHZLWK-/XFDV*%URZQHWDO                            
                                UHJDUGLQJ&RQILUPDWLRQKHDULQJ
    -:/     3'        &DOOZLWK0DGLVRQWUXVWHH03DJD\UHJDUGLQJ                          
                                HIIHFWLYHWUDQVIHULVVXHV  IROORZXSFDOOZLWK0
                                3DJD\DQG7UXVWHHUHVDPH  HPDLOWR&RPPLWWHH
                                PHPEHUFRXQVHOUHJDUGLQJHIIHFWLYHGDWHLVVXHV  
                                FDOOZLWK03DJD\UHVDPH  HPDLOWR&RPPLWWHH
                                PHPEHUVUHJDUGLQJFRQILUPDWLRQKHDULQJDQG
                                HIIHFWLYHGDWHLVVXHV  
    /6&     3'        &RUUHVSRQGHQFHZLWKDWWRUQH\VUHJDUGLQJXSFRPLQJ                           
                                FRQILUPDWLRQKHDULQJ
    .%'     3'        $QDO\]HFRUUHVSRQGHQFHUHODWLQJWRFRQILUPDWLRQ                          
                                KHDULQJSUHSDUDWLRQ
    063     3'        (PDLOH[FKDQJHZLWK-/XFDVUHJDUGLQJ&RPPLWWHH                         
                                TXHVWLRQVUHJDUGLQJFRQILUPDWLRQ
    *1%     3'        (PDLOZLWK6RSKLD/HHUHJDUGLQJFRRUGLQDWLRQRI                            
                                KHDULQJDWWHQGDQFHDWSODQFRQILUPDWLRQKHDULQJ
    *1%     3'        (PDLOZLWK%HWK''DVVDUHJDUGLQJ(YHUODZ                                 
                                GDWDEDVH
    *1%     3'        (PDLO&RPPLWWHHPHPEHUVDQGVWDWHFRXUWFRXQVHO                           
                                UHJDUGLQJ6HWWOHPHQW7UXVW
    %''     3'        (PDLO*%URZQUHFORVLQJGRZQ(YHUODZ                                     
    .%'     3'        $QDO\]HPRWLRQDQGUHODWHGFRUUHVSRQGHQFHLQ                        
                                SUHSDUDWLRQIRUFRQILUPDWLRQKHDULQJ
    063     3'        7HOHSKRQHFDOOZLWK-:HEHUUHJDUGLQJ1DY\<DUG                         
                                LVVXH
    *1%     3'        (PDLOZLWK%HWK''DVVDUHJDUGLQJWUDQVIHURI                             
                                GRFXPHQWSURGXFWLRQVIURP(YHUODZDQGSUHSDUDWLRQ
                                IRUSURYLVLRQRISRUWLRQVWKHUHRIWR6HWWOHPHQW
                                7UXVWHH
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
0DGLVRQ6TXDUH%*&2&&                                                                       ,QYRLFH 
                                                                                     $XJXVW


                                                                                        +RXUV           5DWH      $PRXQW
    *1%     3'        (PDLOZLWK6RSKLD/HHUHJDUGLQJSODQFRQILUPDWLRQ                        
                                KHDULQJDWWHQGDQFHLVVXHV
    -,6     3'        &DOO-/XFDVUHJDUGLQJGHHGLVVXHVDQG                                
                                FRQILUPDWLRQ
    063     3'        7HOHSKRQHFDOOV  ZLWK-:HEHU                           
                                UHJDUGLQJ1DY\<DUGLVVXH
    063     3'        7HOHSKRQHFDOOV  ZLWK-/XFDV                      
                                UHJDUGLQJ1DY\<DUGLVVXH
    063     3'        $WWHQWLRQWR1DY\<DUGDQG3ODQFRQILUPDWLRQ                          
                                KHDULQJLVVXHV  HPDLOH[FKDQJHZLWK-/XFDV
                                -:HEHU.'LQH&RPPLWWHHPHPEHUV  HW
                                DOUHJDUGLQJVDPH
    *1%     3'        5HYLHZFRQWUDFWIURP(YHUODZUHJDUGLQJRIIORDGLQJ                        
                                RIGDWDIURPGRFXPHQWUHYLHZSODWIRUP(PDLOZLWK
                                %HWK''DVVDUHJDUGLQJDSSURYDORIRIIORDGLQJRI
                                GDWDIURP(YHUODZGRFXPHQWUHYLHZSODWIRUP
    *1%     3'        (PDLO0DOKDU63DJD\DQG-RKQ:/XFDVUHJDUGLQJ                        
                                RIIORDGLQJRIGDWDIURP(YHUODZGRFXPHQWUHYLHZ
                                SODWIRUP
    *1%     3'        5HYLHZHPDLOIURP0DOKDU63DJD\UHJDUGLQJ1DY\                         
                                <DUGVDOHLVVXHVIRUSODQFRQILUPDWLRQ
    063     3'        7HOHSKRQHFRQIHUHQFHZLWK-/XFDV.'LQH                            
                                UHJDUGLQJ3ODQFRQILUPDWLRQKHDULQJ
    063     3'        7HOHSKRQHFDOOZLWK-/XFDVUHJDUGLQJ3ODQ                            
                                FRQILUPDWLRQKHDULQJ1DY\<DUGLVVXH
    063     3'        7HOHSKRQHFDOOZLWK-:HEHUUHJDUGLQJ1DY\<DUG                       
                                LVVXH
    063     3'        3UHSDUHIRU3ODQFRQILUPDWLRQKHDULQJ  HPDLO                     
                                H[FKDQJHZLWK-/XFDV.'LQH$+DOSHULQHWDO
                                UHJDUGLQJVDPH  
    -:/     3'        &DOOZLWK59HVSLUHJDUGLQJ1DY\<DUGVDOH                       
                                FDOOZLWK5/LJXRULUH1DY\<DUGVDOH  UHYLHZ
                                DQGUHYLVHHPDLOWR&RPPLWWHHDQGFRXQVHOUH1DY\
                                <DUGVDOH  
    .%'     3'        $QDO\]HFRUUHVSRQGHQFHUHJDUGLQJFRQILUPDWLRQ                          
                                KHDULQJ
    .%'     3'        3UHSDUHIRUFRQILUPDWLRQKHDULQJZLWK-/XFDVDQG                     
                                03DJD\
    .%'     3'        5HYLHZSOHDGLQJVUHODWHGWRSODQFRQILUPDWLRQLQ                       
                                SUHSDUDWLRQIRUKHDULQJ
    *1%     3'        5HYLHZHPDLOIURP0DOKDU63DJD\UHJDUGLQJ                              
      22-10910-shl       Doc 637       Filed 10/05/23 Entered 10/05/23 17:06:49                    Main Document
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH    
0DGLVRQ6TXDUH%*&2&&                                                                          ,QYRLFH 
                                                                                        $XJXVW


                                                                                           +RXUV           5DWH      $PRXQW
                                WRGD\ VSODQFRQILUPDWLRQKHDULQJ(PDLOZLWK36=-
                                WHDPUHJDUGLQJPHGLDLQTXLULHVUHODWLQJWRVDPH
    -,6     3'        5HYLHZHPDLOUHJDUGLQJFRQILUPDWLRQKHDULQJ                               
    063     3'        $WWHQG3ODQFRQILUPDWLRQKHDULQJ  WHOHSKRQH                        
                                FDOOVZLWK-/XFDV.'LQH-6WDQJ$+DOSHULQHW
                                DOUHJDUGLQJVDPH  FDOOVZLWK-/XFDVUH
                                FRQILUPDWLRQRUGHU 
    -:/     3'        &DOOVZLWK03DJD\UHFRQILUPDWLRQRUGHUUH1DY\                        
                                <DUGVDOHSURYLVLRQV  FDOOVZLWK-:HEHUUHVDPH
                                  
    .%'     3'        3UHSDUHIRU  DQGDWWHQGFRQILUPDWLRQKHDULQJ                         
                                  
    063     3'        (PDLOH[FKDQJHZLWK-/XFDVUHJDUGLQJ                                    
                                SRVWFRQILUPDWLRQKHDULQJPDWWHUV
    063     3'        $QDO\]HRXWVWDQGLQJFRQILUPDWLRQRUGHULVVXHVDQG                         
                                SUH(IIHFWLYH'DWHPDWWHUVLQFOXGLQJUHOHDVH  
                                HPDLOH[FKDQJHZLWK-/XFDV$+DOSHULQ-:HEHU
                                1+D\QHVHWDOUHJDUGLQJVDPH  
    063     3'        &RQVLGHURXWVWDQGLQJFRQILUPDWLRQRUGHULVVXHVDQG                        
                                SUH(IIHFWLYH'DWHPDWWHUV  HPDLOH[FKDQJH
                                ZLWK-/XFDV-6WDQJ//LEHUPDQ$+DOSHULQHW
                                DOUHJDUGLQJVDPH  
    063     3'        (PDLOH[FKDQJHZLWK//LEHUPDQ-/XFDVHWDO                         
                                UHJDUGLQJSUH(IIHFWLYH'DWHPDWWHUV
    -:/     3'        5HYLHZDQGUHYLVHFRPSHQVDWLRQWUXVWUHOHDVH                         
                                FDOOZLWK%+DUULFNUHFRQILUPDWLRQDQGWLPLQJRI
                                GLVWULEXWLRQV  
    063     3'        &RQVLGHUSUH(IIHFWLYH'DWHPDWWHUV  HPDLO                           
                                H[FKDQJHZLWK$+DOSHULQ5/LJXRUL-/XFDVHW
                                DOUHJDUGLQJVDPH  
    -:/     3'        &DOOZLWK-$PDODUHJDUGLQJ5RFNHIHOOHUVHWWOHPHQW                      
                                DQGFRQGLWLRQWRHQWU\RIFRQILUPDWLRQRUGHU  
                                HPDLOWR$5DSKDHOUHQH[WVWHSVDIWHUSODQ
                                FRQILUPDWLRQ  HPDLOWR6*HUVKRZLW]UH
                                DOORFDWLRQSURWRFROLVVXHV  
    -:/     3'        (PDLOWR5/LJXRULFRXQVHOUHJDUGLQJVWDWXVRI                           
                                5RFNHIHOOHUVHWWOHPHQW  DQGHPDLOEDFNWR
                                0DGLVRQUHVDPH  
    063     3'        (PDLOH[FKDQJHZLWK$+DOSHULQ-:HEHU/                             
                                /LEHUPDQHWDOUHJDUGLQJVWDWXVRISUH(IIHFWLYH
                                'DWHPDWWHUVHWF
    *1%     3'        5HYLVHSUHVVUHOHDVH3ODQFRQILUPDWLRQ                                     
      22-10910-shl       Doc 637      Filed 10/05/23 Entered 10/05/23 17:06:49                  Main Document
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
0DGLVRQ6TXDUH%*&2&&                                                                       ,QYRLFH 
                                                                                     $XJXVW


                                                                                        +RXUV           5DWH       $PRXQW
    -,6     3'        &DOO-/XFDVUHJDUGLQJVWDWXVRISODQFRQILUPDWLRQ                     
                                RUGHU
    063     3'        (PDLOH[FKDQJHZLWK-/XFDV*%URZQ5/LJXRUL                      
                                HWDOUHJDUGLQJFRQILUPDWLRQSUHVVUHOHDVH
    063     3'        (PDLOH[FKDQJHZLWK-:HEHU-/XFDVHWDO                          
                                UHJDUGLQJ1DY\<DUGWUDQVDFWLRQVWDWXV
    063     3'        (PDLOH[FKDQJHZLWK//LEHUPDQ-/XFDVHWDO                       
                                UHJDUGLQJ(IIHFWLYH'DWHGHOD\WUDQVDFWLRQ
                                GRFXPHQWV
    063     3'        (PDLOH[FKDQJHZLWK$+DOSHULQ-/XFDVHWDO                       
                                UHJDUGLQJ(IIHFWLYH'DWHGHOD\WUDQVDFWLRQ
                                GRFXPHQWV
    063     3'        (PDLOH[FKDQJHZLWK$+DOSHULQ-/XFDVHWDO                       
                                UHJDUGLQJLQLWLDOGLVWULEXWLRQVDQGUHVHUYHV
    063     3'        (PDLOH[FKDQJHZLWK-/XFDV&RPPLWWHHPHPEHUV                        
                                HWDOUHJDUGLQJFRQILUPDWLRQRUGHUHWF
    -:/     3'        5HVSRQGWRHPDLOIURP$+DOSHULQUHRXWOLQHVRI                      
                                SODQGLVWULEXWLRQSURFHVVDQGOLPLWV  FORVLQJ
                                HPDLOWR&RPPLWWHHUHHQWU\RIFRQILUPDWLRQRUGHU
                                DQGQH[WVWHSV  
    *1%     3'        (PDLOZLWK-RKQ:/XFDVUHJDUGLQJ                                        
                                SRVWFRQILUPDWLRQLVVXHVIRU36=-UHODWLQJWR
                                6HWWOHPHQW7UXVWHHDQGILQDOIHHDSSOLFDWLRQV(PDLO
                                36=-WHDPUHJDUGLQJVDPH
    063     3'        $QDO\]H(IIHFWLYH'DWHDFWLRQLWHPVDQG                                 
                                DGPLQLVWUDWLYHPDWWHUV  HPDLOH[FKDQJHZLWK/
                                /LEHUPDQ-/XFDV*%URZQHWDOUHJDUGLQJVDPH
                                 
    *1%     3'        5HYLHZQRWLFHRIHQWU\RIFRQILUPDWLRQRUGHU(PDLO                       
                                ZLWK%HWK''DVVDUHJDUGLQJVDPH(PDLOZLWK-RKQ
                                :/XFDVUHJDUGLQJVDPH
    063     3'        (PDLOH[FKDQJHZLWK//LEHUPDQ$+DOSHULQ-                        
                                /XFDVHWDOUHJDUGLQJ(IIHFWLYH'DWHWUDQVDFWLRQV
    %''     3'        5HYLHZ2UGHUUHGHDGOLQHVLQFRQQHFWLRQZLWK3ODQ                        
                                (IIHFWLYH'DWH  DQGHPDLO*%URZQUHVDPH
                                  HPDLO%$QDYLP 0.XOLFNUH
                                DGPLQLVWUDWLYHFODLPVEDUGDWHDQGGHDGOLQHIRU
                                SURIHVVLRQDOVWRILOHILQDOIHHFODLPV  

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  727$/6(59,&(6)257+,60$77(5                                                                              
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                     3DJH    
0DGLVRQ6TXDUH%*&2&&                                                             ,QYRLFH 
                                                                           $XJXVW



 ([SHQVHV

    $7        $XWR7UDYHO([SHQVH>(@8EHU7UDQVSRUWDWLRQ6HUYLFH         
                        -:/


    $)        $LU)DUH>(@8QLWHG$LUOLQHV7NW         
                        )URP6)2(:56)2-:/WRIRUPHGLDWLRQ
                        ZLWKGHEWRUDQG5RFNHIHOOHU


    $7        $XWR7UDYHO([SHQVH>(@8EHU7UDQVSRUWDWLRQ6HUYLFH         
                        -:/


    +7        +RWHO([SHQVH>(@/RWWH1HZ<RUN3DODFHQLJKWV-:/      
                        IRUPHGLDWLRQ


    $7        $XWR7UDYHO([SHQVH>(@1HZDUN7D[L6HUYLFH-:/             


    %0        %XVLQHVV0HDO>(@/RWWH1HZ<RUN3DODFHZRUNLQJPHDO        
                        -:/


    %0        %XVLQHVV0HDO>(@/RWWH1HZ<RUN3DODFHZRUNLQJPHDO       
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    $7        $XWR7UDYHO([SHQVH>(@8EHU7UDQVSRUWDWLRQ6HUYLFH        
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    $7        $XWR7UDYHO([SHQVH>(@8EHU7UDQVSRUWDWLRQ6HUYLFH         
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    %0        %XVLQHVV0HDO>(@)RUQR0DJLFR5HVWDXUDQWZRUNLQJ           
                        PHDO-:/


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    26        (YHUODZ,QY0DGLVRQGDWDEDVHIRUWKHPRQWKRI        
                        -XQH
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                     3DJH    
0DGLVRQ6TXDUH%*&2&&                                                             ,QYRLFH 
                                                                           $XJXVW



    75        7UDQVFULSW>(@9HULWH[W,QY/6&                    


    32        /$3RVWDJH                                                         


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    26        (YHUODZ,QF,QYGDWDEDVHIRUWKHPRQWKRI-XO\        
                        


    3$&       3DFHU&RXUW5HVHDUFK                                            
   7RWDO([SHQVHVIRUWKLV0DWWHU                                                   
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3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                         3DJH    
0DGLVRQ6TXDUH%*&2&&                                                                 ,QYRLFH 
                                                                               $XJXVW


                                                5(0,77$1&($'9,&(

                                    3OHDVHLQOFXGHWKLV5HPLWWDQFHZLWK\RXUSD\PHQW

)RUFXUUHQWVHUYLFHVUHQGHUHGWKURXJK        

7RWDO)HHV                                                                                             

7RWDO([SHQVHV                                                                                              

/HVV&RXUWHV\'LVFRXQW                                                                                 

7RWDO'XHRQ&XUUHQW,QYRLFH                                                                           

  2XWVWDQGLQJ%DODQFHIURPSULRULQYRLFHVDVRI                  0D\QRWLQFOXGHUHFHQWSD\PHQWV

$5%LOO1XPEHU           ,QYRLFH'DWH              )HHV%LOOHG         ([SHQVHV%LOOHG             %DODQFH'XH
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             7RWDO$PRXQW'XHRQ&XUUHQWDQG3ULRU,QYRLFHV                                         
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                     EXHIBIT G
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                                           EXHIBITG

                             Invoice for the Post Effective Date Period
                                (August 22, 2023 - October 4, 2023)




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                                                                     10100 Santa Monica Blvd.
                                                                     13th Floor
                                                                     Los Angeles, CA 90067




Madison Square BGC O.C.C.                                            October 4, 2023
Madison Square Boys & Girls Club, Inc.                               Invoice 133720
                                                                     Client 54162.00005




RE: Post Effective Date



           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/04/2023

               FEES                                                   $20,057.00
               TOTAL CURRENT CHARGES                                  $20,057.00
               TOTAL BALANCE DUE                                      $20,057.00
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Summary of Services by Professional
ID       Name                               Title                     Rate     Hours              Amount
GNB      Brown, Gillian N.                  Counsel                 975.00      7.10         $6,922.50
BDD      Dassa, Beth D.                     Paralegal               545.00     24.10        $13,134.50
                                                                     31.20                  $20,057.00
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Summary of Services by Task Code
Task Code       Description                                             Hours                       Amount
CP              PSZJ Compensation                                        25.40                $16,337.00
CPO             Other Professional Compensation                           5.80                 $3,720.00
                                                                         31.20                $20,057.00
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                                                                                Hours       Rate           Amount

PSZJ Compensation
08/22/2023 GNB       CP      Email with PSZJ team regarding final bill;          0.20    975.00            $195.00
                             Email with Beth D. Dassa regarding final bill
                             and final fee applications.
08/22/2023 GNB       CP      Telephone conference with Beth D. Dassa             0.10    975.00             $97.50
                             regarding final fee applications.
08/23/2023 GNB       CP      Telephone conference with John W. Lucas             0.10    975.00             $97.50
                             regarding final fee application; Email Beth D.
                             Dassa regarding same.

08/24/2023 GNB       CP      Edit PSZJ final fee application and associated      0.20    975.00            $195.00
                             papers.

08/24/2023 GNB       CP      Email with Beth D. Dassa regarding template         0.10    975.00             $97.50
                             of final fee application papers for financial
                             advisors.
08/28/2023 BDD       CP      Call with G. Brown re final fee applications of     0.10    545.00             $54.50
                             PSZJ and other professionals.
08/28/2023 BDD       CP      Email B. Anavim and M. Kulick re hearing on         0.10    545.00             $54.50
                             final fee applications and objection deadline re
                             same

08/29/2023 BDD       CP      Work on PSZJ final fee application (1.5);           1.60    545.00            $872.00
                             email G. Brown re same (.10)
08/31/2023 BDD       CP      Continue drafting PSZJ final fee application        3.90    545.00       $2,125.50
                             (3.8); email G. Brown re same (.10)
09/01/2023 BDD       CP      Continue drafting PSZJ final fee application        0.50    545.00            $272.50
                             and emails G. Brown and J. Lucas re same.
09/01/2023 GNB       CP      Email with J. Lucas and B. Dassa regarding          0.10    975.00             $97.50
                             final fee application.
09/04/2023 GNB       CP      Email with B. Dassa regarding final fee app         0.10    975.00             $97.50
                             exhibits.
09/05/2023 GNB       CP      Email with B. Dassa regarding exhibits for          0.10    975.00             $97.50
                             final fee application.
09/11/2023 BDD       CP      Call with G. Brown re PSZJ final fee                0.10    545.00             $54.50
                             application
09/12/2023 BDD       CP      Email L Gardziabal re PSZJ final fee                0.10    545.00             $54.50
                             application
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                                                                               Hours       Rate           Amount
09/12/2023 BDD       CP      Email G. Brown re exhibits to PSZJ final fee       0.10    545.00             $54.50
                             application

09/12/2023 GNB       CP      Email with B. Dassa regarding exhibits for         0.20    975.00            $195.00
                             final fee app and LEDES (.1); Review
                             exemplar of exhibit organized by billing code
                             (.1).
09/14/2023 BDD       CP      Continue working on PSZJ final fee                 1.50    545.00            $817.50
                             application (1.3) and emails accounting re
                             same (.20)
09/18/2023 BDD       CP      Draft on PSZJ final fee application (.60);         0.80    545.00            $436.00
                             emails G. Brown and L. Canty re same (.20)
09/20/2023 BDD       CP      Emails J. Lucas re PSZJ final fee applications     0.10    545.00             $54.50
09/21/2023 BDD       CP      Continue working on PSZJ final fee                 3.80    545.00       $2,071.00
                             application
09/21/2023 BDD       CP      Email J. Lucas re PSZJ final fee application       0.10    545.00             $54.50
09/21/2023 GNB       CP      Email J. Lucas and B. Dassa regarding PSZJ         0.10    975.00             $97.50
                             final fee application.
09/22/2023 GNB       CP      Telephone conference with B. Dassa regarding       0.10    975.00             $97.50
                             final fee application.
09/27/2023 BDD       CP      Continue drafting on PSZJ final fee                1.80    545.00            $981.00
                             application (1.60) and emails to/call with G.
                             Brown re same (.20)
09/27/2023 GNB       CP      Call with B. Dassa regarding PSZJ's final fee      0.20    975.00            $195.00
                             application.
09/27/2023 GNB       CP      Email B. Dassa regarding notice of hearing         0.10    975.00             $97.50
                             regarding final fee applications.
10/02/2023 BDD       CP      Calls with G. Brown re PSZJ final fee              0.20    545.00            $109.00
                             application
10/02/2023 BDD       CP      Continue darfting and finalizing PSZJ final fee    3.20    545.00       $1,744.00
                             application (3.10) and emails G. Downing re
                             same (.10)

10/02/2023 GNB       CP      Edit PSZJ third interim and final fee              1.60    975.00       $1,560.00
                             application.

10/03/2023 BDD       CP      Emails to (.10) and call with G. Brown re          0.20    545.00            $109.00
                             PSZJ final fee application (.1)
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                                                                                Hours       Rate           Amount
10/03/2023 BDD       CP      Review final fee application and assemble           0.50    545.00            $272.50
                             exhibits re same (.40); emails S. Lee re same
                             (.10)
10/03/2023 BDD       CP      Email C. Curts re LEDES file (PSZJ final fee        0.10    545.00             $54.50
                             application)
10/03/2023 GNB       CP      Revise PSZJ's third interim and final fee           1.90    975.00       $1,852.50
                             application.
10/03/2023 GNB       CP      Email with B. Dassa regarding PSZJ final fee        0.20    975.00            $195.00
                             application(.1); call with B. Dassa regarding
                             same (.1).

10/04/2023 BDD       CP      Email Debtor's counsel re fee amounts for           0.10    545.00             $54.50
                             notice (re PSZJ, Dundon & Island)

10/04/2023 BDD       CP      Email C. Curts re invoices for LEDES file           0.10    545.00             $54.50
                             (PSZJ final fee application)

10/04/2023 BDD       CP      Finalize PSZJ final fee application                 0.60    545.00            $327.00
10/04/2023 GNB       CP      Email with S. Hasan regarding final fee             0.10    975.00             $97.50
                             applications and data for notice of hearing
                             thereon.
10/04/2023 GNB       CP      Communications with B. Dassa regarding              0.30    975.00            $292.50
                             finalization of final fee application.
                                                                                25.40                $16,337.00

Other Professional Compensation
08/24/2023 GNB       CPO     Revise template for financial advisors' final       0.70    975.00            $682.50
                             fee applications and email them regarding
                             same.
09/20/2023 BDD       CPO     Review and make multiple revisions to               2.00    545.00       $1,090.00
                             Dundon's final fee application (1.8); emails G.
                             Brown and J. Lucas re same (.20)
09/20/2023 GNB       CPO     Telephone conference with B. Dassa and email        0.30    975.00            $292.50
                             with B. Dassa regarding financial advisors'
                             final fee applications (.2); email with J. Lucas
                             and B. Dassa regarding same (.1).
09/21/2023 BDD       CPO     Emails J. Lucas and G. Brown re Island &            0.20    545.00            $109.00
                             Dundon final fee applications
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                                                                            Hours       Rate           Amount
09/21/2023 GNB       CPO     Email B. Dassa regarding Dundon Advisers'       0.10    975.00             $97.50
                             final fee application; Telephone conference
                             with B. Dassa regarding same; Email with J.
                             Lucas and B. Dassa regarding same.
09/22/2023 BDD       CPO     Revisions to Dundon's final fee application     1.70    545.00            $926.50
                             and emails T. Rizvi and G. Brown re same
09/26/2023 GNB       CPO     Review M. Dundon email regarding final fee      0.10    975.00             $97.50
                             application; Email J. Lucas and B. Dassa
                             regarding same.
09/27/2023 BDD       CPO     Email G. Brown re Dundon & Island final fee     0.10    545.00             $54.50
                             applications
10/02/2023 BDD       CPO     Emails G. Brown re PSZJ, Island & Dundon        0.10    545.00             $54.50
                             final fee applications
10/02/2023 GNB       CPO     Email financial advisors regarding deadline     0.10    975.00             $97.50
                             for final fee application; email J. Lucas
                             regarding same.

10/03/2023 BDD       CPO     Emails N. Brown re Island & Dundon final fee    0.10    545.00             $54.50
                             application

10/04/2023 BDD       CPO     Final review of Island & Dundon final fee       0.20    545.00            $109.00
                             applications and emails N. Brown re same
10/04/2023 BDD       CPO     Email S. Landgraber re Island's final fee       0.10    545.00             $54.50
                             application
                                                                             5.80                   $3,720.00

   TOTAL SERVICES FOR THIS MATTER:                                                             $20,057.00
